Review your print out for checklist items.




                                                                             109

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SCHEDULE 1
                                  Additional Income and Adjustments to Income
                                                                                                                                        OMB No. 1545-0074
(Form 1040)
Department of the Treasury
                                                 a Attach to Form 1040, 1040-SR, or 1040-NR.                                             2020
                                                                                                                                        Attachment
                                   a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                                Sequence No. 01
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                            Your social security number
Candy & Scott Williams                                                                                                             -9938
 Part I        Additional Income
  1      Taxable refunds, credits, or offsets of state and local income taxes . . . . . . .                                        1                      0.
  2a Alimony received . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        2a
    b Date of original divorce or separation agreement (see instructions) a
  3      Business income or (loss). Attach Schedule C                . . . . . . . . . . . . . . .                                 3          -24,478.
  4      Other gains or (losses). Attach Form 4797 . . . . . . . . . . . . . . . . .                                               4
  5      Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E                               5
  6      Farm income or (loss). Attach Schedule F . . . . . . . . . . . . . . . . .                                                6
  7      Unemployment compensation . . . . . . . . . . . . . . . . . . . . . .                                                     7
  8      Other income. List type and amount a
                                                                                                                                   8
  9      Combine lines 1 through 8. Enter here and on Form 1040, 1040-SR, or 1040-NR,
         line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    9          -24,478.
 Part II Adjustments to Income
10       Educator expenses . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     10
11       Certain business expenses of reservists, performing artists, and fee-basis government
         officials. Attach Form 2106 . . . . . . . . . . . . . . . . . . . . . . .                                                 11
12       Health savings account deduction. Attach Form 8889 . . . . . . . . . . . .                                                12
13       Moving expenses for members of the Armed Forces. Attach Form 3903 . . . . .                                               13
14       Deductible part of self-employment tax. Attach Schedule SE                     . . . . . . . . .                          14
15       Self-employed SEP, SIMPLE, and qualified plans . . . . . . . . . . . . . .                                                15
16       Self-employed health insurance deduction . . . . . . . . . . . . . . . . .                                                16
17       Penalty on early withdrawal of savings             . . . . . . . . . . . . . . . . . .                                    17
18a Alimony paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        18a
    b Recipient’s SSN            . . . . . . . . . . . . . . . . . . . . a
    c Date of original divorce or separation agreement (see instructions) a
19       IRA deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     19
20       Student loan interest deduction . . . . . . . . . . . . . . . . . . . . .                                                 20
21       Tuition and fees deduction. Attach Form 8917 . . . . . . . . . . . . . . .                                                21
22       Add lines 10 through 21. These are your adjustments to income. Enter here and
         on Form 1040, 1040-SR, or 1040-NR, line 10a . . . . . . . . . . . . . . .                                                 22
For Paperwork Reduction Act Notice, see your tax return instructions.      BAA             REV 09/17/21 Intuit.cg.cfp.sp         Schedule 1 (Form 1040) 2020




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SCHEDULE 3
                                            Additional Credits and Payments
                                                                                                                                        OMB No. 1545-0074
(Form 1040)
Department of the Treasury
                                                 a Attach to Form 1040, 1040-SR, or 1040-NR.                                             2020
                                                                                                                                        Attachment
                                   a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                                Sequence No. 03
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                            Your social security number
 Candy & Scott Williams                                                                                                             -9938
 Part I        Nonrefundable Credits
  1      Foreign tax credit. Attach Form 1116 if required               . . . . . . . . . . . . . .                                1
  2      Credit for child and dependent care expenses. Attach Form 2441                        . . . . . . .                       2
  3      Education credits from Form 8863, line 19 . . . . . . . . . . . . . . . . .                                               3
  4      Retirement savings contributions credit. Attach Form 8880 . . . . . . . . . .                                             4                117.
  5      Residential energy credits. Attach Form 5695                . . . . . . . . . . . . . . .                                 5
  6      Other credits from Form:           a     3800       b     8801      c                                                     6
  7      Add lines 1 through 6. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 20                                          7                117.
 Part II Other Payments and Refundable Credits
  8      Net premium tax credit. Attach Form 8962 . . . . . . . . . . . . . . . . .                                                8
  9      Amount paid with request for extension to file (see instructions) . . . . . . . .                                         9
10       Excess social security and tier 1 RRTA tax withheld . . . . . . . . . . . . .                                             10
11       Credit for federal tax on fuels. Attach Form 4136 . . . . . . . . . . . . . .                                             11
12       Other payments or refundable credits:
    a Form 2439 . . . . . . . . . . . . . . . . . . . . . 12a
    b Qualified sick and family leave credits from Schedule(s) H and
      Form(s) 7202 . . . . . . . . . . . . . . . . . . . . 12b
    c Health coverage tax credit from Form 8885                   . . . . . . . .            12c
    d Other:                                                                                 12d
    e Deferral for certain Schedule H or SE filers (see instructions)                   .    12e
    f Add lines 12a through 12e . . . . . . . . . . . . . . . . . . . . . . .                                                     12f
13       Add lines 8 through 12f. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 31                                        13
For Paperwork Reduction Act Notice, see your tax return instructions.         BAA              REV 09/17/21 Intuit.cg.cfp.sp     Schedule 3 (Form 1040) 2020




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SCHEDULE C                                               Profit or Loss From Business                                                                                        OMB No. 1545-0074

                                                                                                                                                                                 2020
(Form 1040)                                                                 (Sole Proprietorship)
                                            a Go to www.irs.gov/ScheduleC for instructions and the latest information.
Department of the Treasury                                                                                                                                                   Attachment
Internal Revenue Service (99) a Attach to Form 1040, 1040-SR, 1040-NR, or 1041; partnerships generally must file Form 1065.                                                  Sequence No. 09
Name of proprietor                                                                                                                                     Social security number (SSN)
Candy Williams                                                                                                                                                          -9938
A         Principal business or profession, including product or service (see instructions)                                                            B Enter code from instructions
          Consulting                                                                                                                                                a    5 4 1 6 0 0
C         Business name. If no separate business name, leave blank.                                                                                    D Employer ID number (EIN) (see instr.)
          Viking Investment
E         Business address (including suite or room no.) a        11423 Spotted Fawn Ln
          City, town or post office, state, and ZIP code        Bigfork, MT 59911-7335
F         Accounting method:       (1)      Cash      (2)     Accrual      (3)     Other (specify) a
G         Did you “materially participate” in the operation of this business during 2020? If “No,” see instructions for limit on losses                                      .     Yes         No
H         If you started or acquired this business during 2020, check here . . . . . . . . . . . . . . . . .                                                                 a

I         Did you make any payments in 2020 that would require you to file Form(s) 1099? See instructions .                                    .   .    .       .   .    .   .     Yes         No
J         If “Yes,” did you or will you file required Form(s) 1099? . . . . . . . . . . . . . .                                                .   .    .       .   .    .   .     Yes         No
    Part I    Income
     1    Gross receipts or sales. See instructions for line 1 and check the box if this income was reported to you on
          Form W-2 and the “Statutory employee” box on that form was checked . . . . . . . . . a                                                            1                             275.
     2    Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . .                                                                          2
     3    Subtract line 2 from line 1 . . . . . . . . . . . . . . . . . . . . . . . .                                                                       3                             275.
     4    Cost of goods sold (from line 42) . . . . . . . . . . . . . . . . . . . . . .                                                                     4
     5    Gross profit. Subtract line 4 from line 3 . . . . . . . . . . . . . . . . .                                                      .   . .          5                             275.
     6    Other income, including federal and state gasoline or fuel tax credit or refund (see instructions) .                             .   . .          6
     7    Gross income. Add lines 5 and 6 . . . . . . . . . . . . . . . . . . .                                                            .   . a          7                             275.
 Part II      Expenses. Enter expenses for business use of your home only on line 30.
     8    Advertising .     .   .   .   .       8                                     18       Office expense (see instructions)                            18                            282.
     9    Car and truck expenses (see                                                 19       Pension and profit-sharing plans .                           19
          instructions) . . . . .               9                      4,016.         20       Rent or lease (see instructions):
    10    Commissions and fees .                10                                         a   Vehicles, machinery, and equipment                        20a
    11    Contract labor (see instructions)     11                                         b   Other business property . . .                             20b
    12    Depletion . . . . .                   12                                    21       Repairs and maintenance . . .                                21                            836.
    13    Depreciation and section 179                                                22       Supplies (not included in Part III) .                        22                            327.
          expense      deduction   (not
          included in Part III) (see                                                  23       Taxes and licenses . . . . .                                 23
          instructions) . . . . .               13                                    24       Travel and meals:
    14    Employee benefit programs                                                        a   Travel . . . .                    .     .   .   .   .     24a                         14,760.
          (other than on line 19) . .           14                                         b   Deductible meals (see
    15    Insurance (other than health)         15                                             instructions) . . . . . . .                               24b                             761.
    16    Interest (see instructions):                                                25       Utilities . . . . . . . .                                  25                           3,771.
      a   Mortgage (paid to banks, etc.)       16a                                    26       Wages (less employment credits) .                          26
      b   Other . . . . . .           16b                                27a Other expenses (from line 48) . .                                           27a
    17    Legal and professional services
                                       17                                  b Reserved for future use . . .                                               27b
    28    Total expenses before expenses for business use of home. Add lines 8 through 27a . . . . . . a                                                  28                        24,753.
    29    Tentative profit or (loss). Subtract line 28 from line 7 .    .     .   .   .    .   .   .   .    .      .      .      .     .   .   .   .        29                     -24,478.
    30    Expenses for business use of your home. Do not report these expenses elsewhere. Attach Form 8829
          unless using the simplified method. See instructions.
          Simplified method filers only: Enter the total square footage of (a) your home:           3196
          and (b) the part of your home used for business:                                             280 . Use the Simplified
          Method Worksheet in the instructions to figure the amount to enter on line 30                .    .      .      .      .     .   .   .   .        30




                                                                                                                                               }
    31    Net profit or (loss). Subtract line 30 from line 29.
          • If a profit, enter on both Schedule 1 (Form 1040), line 3, and on Schedule SE, line 2. (If you
          checked the box on line 1, see instructions). Estates and trusts, enter on Form 1041, line 3.                                                     31                     -24,478.
          • If a loss, you must go to line 32.




                                                                                                                                               }
    32    If you have a loss, check the box that describes your investment in this activity. See instructions.
          • If you checked 32a, enter the loss on both Schedule 1 (Form 1040), line 3, and on Schedule
          SE, line 2. (If you checked the box on line 1, see the line 31 instructions). Estates and trusts, enter on                                     32a            All investment is at risk.
          Form 1041, line 3.                                                                                                                             32b            Some investment is not
                                                                                                                                                                        at risk.
          • If you checked 32b, you must attach Form 6198. Your loss may be limited.
For Paperwork Reduction Act Notice, see the separate instructions.                         BAA             REV 09/17/21 Intuit.cg.cfp.sp                            Schedule C (Form 1040) 2020
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Schedule C (Form 1040) 2020                                                                                                                                               Page 2
Part III      Cost of Goods Sold (see instructions)

 33     Method(s) used to
        value closing inventory:              a           Cost             b           Lower of cost or market             c           Other (attach explanation)
 34     Was there any change in determining quantities, costs, or valuations between opening and closing inventory?
        If “Yes,” attach explanation . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    .       Yes     No


 35     Inventory at beginning of year. If different from last year’s closing inventory, attach explanation .                            .   .       35


 36     Purchases less cost of items withdrawn for personal use                        .   .   .   .   .   .   .   .   .   .   .   .     .   .       36


 37     Cost of labor. Do not include any amounts paid to yourself .                       .   .   .   .   .   .   .   .   .   .   .     .   .       37

 38     Materials and supplies        .   .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       38


 39     Other costs .   .     .   .   .   .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       39


 40     Add lines 35 through 39 .         .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       40

 41     Inventory at end of year .        .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       41

 42     Cost of goods sold. Subtract line 41 from line 40. Enter the result here and on line 4 .                           .   .   .     .   .       42
Part IV       Information on Your Vehicle. Complete this part only if you are claiming car or truck expenses on line 9
              and are not required to file Form 4562 for this business. See the instructions for line 13 to find out if you must
              file Form 4562.

 43     When did you place your vehicle in service for business purposes? (month/day/year)                                 a   01/01/2016

 44     Of the total number of miles you drove your vehicle during 2020, enter the number of miles you used your vehicle for:


    a   Business                          6,985               b Commuting (see instructions)                                                 c Other                           0

 45     Was your vehicle available for personal use during off-duty hours?                         .   .   .   .   .   .   .   .   .     .   .   .   .    .   .   Yes     No


 46     Do you (or your spouse) have another vehicle available for personal use?.                          .   .   .   .   .   .   .     .   .   .   .    .   .     Yes   No


 47a    Do you have evidence to support your deduction?                        .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .    .   .     Yes   No


    b   If “Yes,” is the evidence written?            .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .    .   .     Yes   No
 Part V       Other Expenses. List below business expenses not included on lines 8–26 or line 30.




 48     Total other expenses. Enter here and on line 27a .                         .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       48
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                                                    REV 09/17/21 Intuit.cg.cfp.sp
Form   8880                   Credit for Qualified Retirement Savings Contributions                                                                      OMB No. 1545-0074

                                                                                                                                                          2020
                                                    a Attach to Form 1040, 1040-SR, or 1040-NR.
Department of the Treasury                                                                                                                    Attachment
Internal Revenue Service                     a Go to www.irs.gov/Form8880 for the latest information.                                         Sequence No. 54
Name(s) shown on return                                                                                                             Your social security number
Candy & Scott Williams                                                                                                                                   -9938
        You cannot take this credit if either of the following applies.

F
CAUTION
               • The amount on Form 1040, 1040-SR, or 1040-NR, line 11, is more than $32,500 ($48,750 if head of household; $65,000 if
               married filing jointly).
               • The person(s) who made the qualified contribution or elective deferral (a) was born after January 1, 2003; (b) is claimed as a
               dependent on someone else’s 2020 tax return; or (c) was a student (see instructions).
                                                                                                                              (a) You                     (b) Your spouse
  1      Traditional and Roth IRA contributions, and ABLE account contributions by the
         designated beneficiary for 2020. Do not include rollover contributions . . . . .                      1
  2      Elective deferrals to a 401(k) or other qualified employer plan, voluntary employee
         contributions, and 501(c)(18)(D) plan contributions for 2020 (see instructions) . .                   2                    1,167.
  3      Add lines 1 and 2 . . . . . . . . . . . . . . . . . . . . . .                                         3                    1,167.
  4      Certain distributions received after 2017 and before the due date (including
         extensions) of your 2020 tax return (see instructions). If married filing jointly, include
         both spouses’ amounts in both columns. See instructions for an exception . . .                      4
  5      Subtract line 4 from line 3. If zero or less, enter -0- . . . . .          .   .   .    .   .   .   5       1,167.
  6      In each column, enter the smaller of line 5 or $2,000 . . . .              .   .   .    .   .   .   6       1,167.
  7      Add the amounts on line 6. If zero, stop; you can’t take this credit       .   .   .    .   .   . . . . . . .   7                                        1,167.
  8      Enter the amount from Form 1040, 1040-SR, or 1040-NR, line 11*             .   .   .    .       8      53,301.
  9      Enter the applicable decimal amount from the table below.

                   If line 8 is—                                And your filing status is—
                                                  Married                Head of                Single, Married filing
                              But not
              Over—                            filing jointly           household                  separately, or
                              over—
                                                          Enter on line 9—                      Qualifying widow(er)
               ---          $19,500                0.5                    0.5                0.5
             $19,500        $21,250                0.5                    0.5                0.2
             $21,250        $29,250                0.5                    0.5                0.1                                                     9          x0    .1
             $29,250        $31,875                0.5                    0.2                0.1
             $31,875        $32,500                0.5                    0.1                0.1
             $32,500        $39,000                0.5                    0.1                0.0
             $39,000        $42,500                0.2                    0.1                0.0
             $42,500        $48,750                0.1                    0.1                0.0
             $48,750        $65,000                0.1                    0.0                0.0
             $65,000           ---                  0.0                   0.0                0.0
                                 Note: If line 9 is zero, stop; you can’t take this credit.
 10      Multiply line 7 by line 9 . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           10                 117.
 11      Limitation based on tax liability. Enter the amount from the Credit Limit Worksheet in the instructions                                 11               3,028.
 12      Credit for qualified retirement savings contributions. Enter the smaller of line 10 or line 11 here
         and on Schedule 3 (Form 1040), line 4 . . . . . . . . . . . . . . . . . . . . .                                                         12                  117.

         * See Pub. 590-A for the amount to enter if you claim any exclusion or deduction for foreign earned income, foreign housing, or income from
           Puerto Rico or for bona fide residents of American Samoa.
For Paperwork Reduction Act Notice, see your tax return instructions.                                                REV 09/17/21 Intu t.cg.cfp.sp          Form 8880 (2020)
                                                                                            BAA




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Form    8995                              Qualified Business Income Deduction
                                                  Simplified Computation
                                                                                                                                               OMB No. 1545-2294



                                                              a Attach to your tax return.
                                                                                                                                                2020
Department of the Treasury                                                                                                                     Attachment
Internal Revenue Service           a Go to www.irs.gov/Form8995 for instructions and the latest information.                                   Sequence No. 55

Name(s) shown on return                                                                                                       Your taxpayer identification number
 Candy & Scott Williams                                                                                                                   -9938
Note. You can claim the qualified business income deduction only if you have qualified business income from a qualified trade or
business, real estate investment trust dividends, publicly traded partnership income, or a domestic production activities deduction
passed through from an agricultural or horticultural cooperative. See instructions.
Use this form if your taxable income, before your qualified business income deduction, is at or below $163,300 ($326,600 if married
filing jointly), and you aren’t a patron of an agricultural or horticultural cooperative.

  1                                (a) Trade, business, or aggregation name                                           (b) Taxpayer          (c) Qualified business
                                                                                                                  identification number        income or (loss)



    i     Viking Investment                                                                                                  -9938               -24,478.

   ii

  iii

  iv

   v

  2     Total qualified business income or (loss). Combine lines 1i through 1v,
        column (c)     . . . . . . . . . . . . . . . . . . . . . .                            2       -24,478.
  3     Qualified business net (loss) carryforward from the prior year . . . . . . .          3 (      25,997. )
  4     Total qualified business income. Combine lines 2 and 3. If zero or less, enter -0-    4                0.
  5     Qualified business income component. Multiply line 4 by 20% (0.20) . . . . . . . . . . .                                           5                     0.
  6     Qualified REIT dividends and publicly traded partnership (PTP) income or (loss)
        (see instructions) . . . . . . . . . . . . . . . . . . . .                            6
  7     Qualified REIT dividends and qualified PTP (loss) carryforward from the prior
        year . . . . . . . . . . . . . . . . . . . . . . . . .                                7 (                 )
  8     Total qualified REIT dividends and PTP income. Combine lines 6 and 7. If zero
        or less, enter -0- . . . . . . . . . . . . . . . . . . . .                            8
  9     REIT and PTP component. Multiply line 8 by 20% (0.20) . . . . . . . . . . . . . . .                                                9
 10     Qualified business income deduction before the income limitation. Add lines 5 and 9 . . . . . .                                   10                     0.
 11     Taxable income before qualified business income deduction . . . . . .                11         28,501.
 12     Net capital gain (see instructions) . . . . . . . . . . . . . . .                    12                0.
 13     Subtract line 12 from line 11. If zero or less, enter -0- . . . . . . . .            13         28,501.
 14     Income limitation. Multiply line 13 by 20% (0.20) . . . . . . . . . . . . . . . . . .                                             14             5,700.
 15     Qualified business income deduction. Enter the lesser of line 10 or line 14. Also enter this amount on
        the applicable line of your return . . . . . . . . . . . . . . . . . . . . . . a                                                  15                0.
 16     Total qualified business (loss) carryforward. Combine lines 2 and 3. If greater than zero, enter -0- . .                          16 (        50,475. )
 17     Total qualified REIT dividends and PTP (loss) carryforward. Combine lines 6 and 7. If greater than
        zero, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         17 (                  0. )
For Privacy Act and Paperwork Reduction Act Notice, see instructions.                        REV 09/17/21 Intuit.cg.cfp.sp                        Form 8995 (2020)




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                                      Tax History Report                                   2020
                                        G Keep for your records


Name(s) Shown on Return
Candy & Scott Williams

                                                   Five Year Tax History:

                           2016            2017             2018              2019              2020

Filing status                                                           MFS               MFJ

Total income                                                                35,103.          53,551.

Adjustments to income                                                                              250.

Adjusted gross income                                                       35,103.          53,301.

Tax expense                                                                   3,448.            4,013.

Interest expense                                                                 109.           7,258.

Contributions                                                                    480.              484.

Misc. deductions

Other itemized ded’ns

Total itemized/
standard deduction                                                          12,200.          24,800.

Exemption amount                                                                     0.                0.

QBI deduction                                                                        0.                0.

Taxable income                                                              22,903.          28,501.

Tax                                                                           2,557.            3,028.

Alternative min tax

Total credits                                                                                      117.

Other taxes

Payments                                                                      2,426.            3,743.

Form 2210 penalty

Amount owed                                                                      131.

Applied to next
year’s estimated tax

Refund                                                                                             832.

Effective tax rate %                                                             7.28              5.46

**Tax bracket %                                                                  12.0              12.0

                              **Tax bracket % is based on Taxable income.
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IMPORTANT DISCLOSURES

If you are owed a federal tax refund, you have a right to choose how you will receive the refund. There
are several options available to you. Some options cost money and some options are free. Please read
about these options below.

You can file your federal tax return electronically or by paper and obtain your federal tax refund directly
from the Internal Revenue Service ("IRS") for free. If you file your tax return electronically, you can
receive a refund check directly from the IRS through the U.S. Postal Service in 21 to 28 days
from the time you file your tax return or the IRS can deposit your refund directly into your
bank account in less than 21 days from the time you file your tax return unless there are
delays by the IRS. If you file a paper return through the U.S. Postal Service, you can receive
a refund check directly from the IRS through the U.S. Postal Service in 6 to 8 weeks from the
time the IRS receives your return or the IRS can deposit your refund directly into your bank
account in 6 to 8 weeks from the time the IRS receives your return. However, if your return
contains Earned Income Tax Credit or Additional Child Tax Credit, the IRS will issue your
refund no earlier than February 15, 2021.

You can file your tax return electronically, select the Refund Processing Service ("RPS") for an additional fee
of $40.00 (the "RPS fee"), and have your federal income tax refund processed through a processor using banking
services of a financial institution. The RPS allows your refund to be deposited into a bank account intended for
one-time use at Civista Bank ("Bank") and deducts your TurboTax fees and other fees you authorize from your
refund. The balance is delivered to you via the disbursement method you select. If you file your tax return
electronically and select the RPS, the IRS will deposit your refund with Bank. Upon Bank's receipt of your refund,
Santa Barbara Tax Products Group, LLC, a processor, will deduct and pay from your refund the RPS fee, any fees
charged by TurboTax for the preparation and filing of your tax return and any other amounts authorized by you and
disburse the balance of your refund proceeds to you. Unless there are delays by the IRS, refunds are received in
less than 21 days from the time you file your tax return electronically. However, if your return contains
Earned Income Tax Credit or Additional Child Tax Credit, the IRS will issue your refund no earlier than
February 15, 2021.

The RPS is not necessary to obtain your refund. If you have an existing bank account, you do not need to
use the RPS, which requires the payment of a fee, in order to receive a direct deposit from the IRS. You
may consult the IRS website (IRS.gov) for information about tax refund processing.

If you select the RPS, no prior debt you may owe to Bank will be deducted from your refund.

You can change your income tax withholdings which might result in you receiving additional funds
throughout the year rather than waiting to receive these funds potentially in an income tax refund next
year. Please consult your employer or tax advisor for additional details.

This Agreement requires all disputes to be resolved by way of binding arbitration.
The terms of the arbitration provision appear in Section 11.

Information regarding low-cost deposit accounts may be available at www.mymoney.gov .

The chart below shows the options for filing your tax return (e-file or paper return), the RPS product,
refund disbursement options, estimated timing for obtaining your tax refund proceeds, and costs
associated with the various options.




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    WHAT TYPE                 WHAT ARE YOUR                 WHAT IS THE                WHAT COSTS DO YOU
    OF FILING                 DISBURSEMENT               ESTIMATED TIME TO              INCUR IN ADDITION
    METHOD?                     OPTIONS?                 RECEIVE REFUND?               TO TAX PREPARATION
                                                                                              FEES?

  PAPER RETURN               IRS direct deposit to           Approximately               No additional cost.
                              your personal bank             6 to 8 weeks 2
No Refund Processing               account.
      Service
                             Check mailed by IRS             Approximately
                              to address on tax              6 to 8 weeks 2
                                   return.

   ELECTRONIC                IRS direct deposit to            Usually within             No additional cost.
      FILING                  your personal bank                21 days 2
     (E-FILE)                      account.

No Refund Processing         Check mailed by IRS             Approximately
      Service                 to address on tax              21 to 28 days 2
                                   return.

   ELECTRONIC               (a) Direct deposit to             Usually within              $ 40.00 3
      FILING                  your personal bank                21 days 2
     (E-FILE)                    account, or

 Refund Processing          (b) Load to your
      Service                    debit card 1.




  1You may incur additional charges from the issuer of the debit card if you select to have your tax refund

   loaded on a debit card. Bank is not affiliated with the issuer of the debit card.

  2However, if your return contains Earned Income Tax Credit or Additional Child Tax Credit, the IRS will

   issue your refund no earlier than February 15, 2021.

  3This fee consists of an RPS Fee, a TurboTax fee and any fees for additional products and services purchased.

   See Section 4 of the Refund Processing Service Agreement for more details.




                                      Questions? Call 877-908-7228




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                            FORM 1040 or FORM 1040-SR WORKSHEET                                                 2020
                         NOTE: Form 1040, 1040-SR and Schedules 1 - 3 are fully calculated.

    Use this worksheet to enter all data which will flow to the Form 1040 or Form 1040SR and Schedules 1- 3.
            Use these QuickZooms to jump to the entry sections for Schedules 1- 3 on this Worksheet:
                      Form 1040 or Form 1040SR Worksheet Navigation QuickZooms
QuickZoom to Schedule 1 ' Additional Income and Adjustments to Income
QuickZoom to Schedule 2 ' Additional Taxes
QuickZoom to Schedule 3 ' Additional Credits and Payments

Form 1040 or Form 1040-SR ' Personal Info, Filing Status, Dependent Info

                             For the year January 1 - December 31, 2020, or other tax year
                              beginning             , 2020, ending            , 20       .



Your First Name                        MI      Last Name                                 Your Social Security No.
Candy                                          Williams                                             -9938
If Joint Return, Spouse’s First Name   MI      Last Name                                 Spouse’s Social Security No.
Scott                                          Williams                                             -0922
Home Address (No. and Street). If You Have a P.O. Box, See Instructions.                 Apt. No.
11423 Spotted Fawn Ln
City, Town or Post Office. If you have a foreign address, also complete below.   State   ZIP Code
Bigfork                                                                          MT      59911-7335
Foreign country name                                    Foreign province/state/county    Foreign postal code



QuickZoom to explanation statement for overseas extension

Presidential Election Campaign

Check here if you, or your spouse if filing jointly, want $3 to go to this fund.
Checking a box will not change your tax or refund                                                   You         Spouse

At any time during 2020, did you receive, sell, send, exchange, or otherwise acquire any financial interest
in any virtual currency?                                                                     Yes      X No

Filing Status Check only one box.
All entries for filing status and dependents should be made on the Federal Information Worksheet.

        Single
   X    Married filing jointly (even if only one had income)
        Married filing separately. Enter spouse’s SSN above and full name here.

        Head of household (with qualifying person). (See instr.) If the qualifying person is a child but
        not your dependent, enter the child’s name here.
        Qualifying widow(er) (See instructions)

Dependents If more than four dependents, see instructions and check here

   (1) First name             Last name                (2) Social             (3)                         (4)
                                                        security          Relationship           b if qualifies for:
                                                        number              to you       under age 17       Credit for
                                                                                          qualifying          other
                                                                                            for child      dependents
                                                                                           tax credit




   QuickZoom to the Federal Information Worksheet
   QuickZoom to the Dependent and Nondependent Information Worksheet
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Candy & Scott Williams                                                                          -9938   Page 2

Standard Deduction

           Someone can claim you as a dependent
           Someone can claim your spouse as a dependent

 a Check if:            You were born before January 2, 1956,                Blind.
                        Spouse was born before January 2, 1956,              Blind.
                        Total boxes checked                                   a
 b If your spouse itemizes on a separate return or you were a
   dual-status alien, check here                                              b




 Form 1040 or Form 1040-SR, Lines 1 - 7

  1     Wages, salaries, tips, etc. Attach Form(s) W-2                                      1        78,029.
  2a    Tax-exempt interest                                       2a
    b   Taxable interest                                                                2b
  3a    Qualified dividends                                       3a
    b   Ordinary dividends                                                              3b
  4a    IRA distributions                                         4a
    b   Taxable amount                                                                  4b
  5a    Pensions and annuities                                    5a
    b   Taxable amount                                                                  5b
  6a    Social security benefits                                  6a
    b   Taxable amount                                                                  6b
  7     Capital gain or (loss). Attach Schedule D if required.
        If not required, check here                                                         7

        QuickZoom to Schedule 1 ' Additional Income and Adjustments to Income

 Form 1040 or Form 1040-SR, Lines 8 - 11

  8   Other income from Schedule 1, line 9                                              8           -24,478.
  9   Add lines 1, 2b, 3b, 4b, 5b, 6b, 7, and 8. This is your total income              9            53,551.
 10   Adjustments to income:
    a From Schedule 1, line 22                                      10 a
      Enter the smaller of these cash contributions made
      or $300 ($150 if married filing separately) on
       line10b below if you take the standard
      deduction                                            250.
    b Charitable contributions if you take the
      standard deduction                                            10 b      250.
    c Add lines 10a and 10b. These are your total adjustments to income                10 c             250.
 11   Subtract line 10c from line 9. This is your adjusted gross income.               11            53,301.
      AGI including excludable Puerto Rico Income                                                    53,301.


 Form 1040 or Form 1040-SR, Line 12 ' Standard or Itemized Deduction

 12   Standard deduction or itemized deductions (from Schedule A)
      Standard Deduction for '
      @ People who checked blind or over 65 or who can be claimed
         as a dependent, see instructions.
      @ All others:
         ? Single or Married filing separately: $12,400
         ? Married filing jointly or Qualifying widow(er): $24,800
         ? Head of household: $18,650
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 QuickZoom to the   Standard Deduction WorksheetDoc#: 35-27 Filed: 11/15/23           Page 14 of 166
 Itemized deductions (from Schedule A) or your standard
 deduction, see above                                                                     12          24,800.
 Subtract itemized or standard deduction from adjusted gross income amount                            28,501.


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 Form 1040 or Form 1040-SR, Lines 13 - 18

 13       Qualified business income deduction. Attach Form 8995 or Form 8995-A            13               0.
 14       Add lines 12 and 13                                                             14          24,800.
 15       Taxable income. Subtract line 14 from line 11. If zero
          or less, enter -0-                                                              15          28,501.


 16       Tax. Check if any from:
          1      Form(s) 8814
          2      Form 4972
          3
                                                                                                         3,028.

 17   Amount from Schedule 2, line 3                                                      17
 18   Add lines 16 and 17                                                                 18             3,028.
 QuickZoom to Schedule 2 - Additional Tax section



 Form 1040 or Form 1040-SR, Line 19 - 24

 19       Child tax credit/credit for other dependents                                    19
 20       Amount from Schedule 3, line 7                                                  20               117.
 21       Add lines 19 and 20                                                             21               117.
 22       Subtract line 21 from line 18. If zero or less, enter -0-                       22             2,911.
 23       Other taxes, including self-employment tax, from Schedule 2, line 10            23                 0.
 24       Add lines 22 and 23. This is your total tax                                     24             2,911.

          QuickZoom to Schedule 3 ' Additional Credits and Payments

 Form 1040 or Form 1040-SR, Lines 25 - 33

 25       Federal income tax withheld from:
      a   Form(s) W-2                                        25 a                1,943.
      b   Form(s) 1099                                       25 b
      c   Other forms                                        25 c
      d   Add lines 25a through 25c                                                       25 d           1,943.
 26       2020 estimated tax payments and
          amount applied from 2019 return                                                 26
 27       Other payments and refundable credits:
          Earned income
          credit (EIC)                                       No
          Nontaxable combat pay election
 28       Additional child tax credit.
          Attach Schedule 8812
 29       American opportunity credit from Form 8863, line 8
 30       Recovery rebate credit                                                 1,800.
 31       Amount from Schedule 3, line 13
 32       Add lines 27 through 31.
          These are your other payments and refundable credits                            32             1,800.
 33       Add Lines 25d, 26, and 32.
          These are your total payments                                                   33             3,743.

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         QuickZoom to Schedule EIC Worksheet, pg. 2 if credit is not calculated
         QuickZoom to "due diligence checklist" substitute for Form 8867
         QuickZoom to Schedule 3 ' Additional Credits and Payments


Candy & Scott Williams                                                                            -9938     Page 4

 Form 1040 or Form 1040-SR, Lines 34 - 36

 Refund:
 34    If total Payments is more than total tax, subtract total tax from payments
       This is the amount you overpaid                                                   34                 832.
 35 a Amount of overpayment you want refunded to you.
       If Form 8888 is attached, check here                                              35                 832.
 Direct deposit?
 G b Routing number               324377516
 G c Type:
         X Checking
               Savings
 G d Account number                            6141
 36    Amount of overpayment on line 34 you want
       applied to your 2021 estimated tax                          36

 Form 1040 or Form 1040SR, Lines 37 and 38

 Amount You Owe:
 37      Subtract total payments from total tax                                          37
         Note: Schedule H and Schedule E SE filers, line 37 may not represent
         all of the taxes you owe for 2020. See Schedule 3, line 12e, and its
         instructions for details.
 38      Estimated tax penalty                                    38

 QuickZoom to Late Penalties and Interest Worksheet                                 QuickZoom




Schedule 1 ' Additional Income and Adjustments to Income

Part I         Additional Income

 1     Taxable refunds, credits, or offsets of state and local income taxes                   1                0.

                                       Alimony Received Smart Worksheet

          Taxpayer              Spouse          Date of divorce/sep          *
  A
  B
       * Check the box if the pre-2019 decree was modified after 2018 to treat the payments as nontaxable

 2a    Alimony received            Taxpayer                       Spouse                      2a
   b   Date of original divorce or separation agreement
 3     Business income or (loss). Attach Schedule C                                           3        -24,478.
 4     Other gains or (losses). Attach Form 4797                                              4
 5     Rental real estate, royalties, partnerships, S corporations, trusts, etc.
       Attach Schedule E                                                                      5
 6     Farm income or (loss). Attach Schedule F                                               6
 7     Unemployment compensation                                                              7
 8     Other income. List type and amount:
           G
                                                                                              8
 9     Combine lines 1 through 8.
       Enter here and on Form 1040 or 1040-SR, line 8                                         9        -24,478.
                   9:23-ap-09001-BPH
       Total Income.  Combine Form 1040 linesDoc#:
                                              1- 7 and35-27            Filed: 11/15/23 Page 16 of 166
        Schedule 1, line 9 , enter on Form 1040, line 9                             53,551.

        Quickzoom to 1040 Worksheet, line 9 ' Total Income                            QuickZoom


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Part II        Adjustments to Income

10      Educator expenses                                                                     10
11      Certain business expenses of reservists, performing artists, and fee-basis
        government officials. Attach Form 2106                                                11
12      Health savings account deduction. Attach Form 8889                                    12
13      Moving expenses for members of the Armed Forces.
        Attach Form 3903                                                                      13
14      Deductible part of self-employment tax. Attach Schedule SE                            14
15      Self-employed SEP, SIMPLE, and qualified plans                                        15
16      Self-employed health insurance deduction                                              16
17      Penalty on early withdrawal of savings                                                17

                                           Alimony Paid Smart Worksheet

              Recipient’s name             Recipient’s SSN    Date of divorce/sep             *        Alimony paid
  A
  B
       * Check the box if the pre-2019 decree was modified after 2018 to treat the payments as nondeductible

18 a    Alimony paid                                                                          18 a
   b    Recipient’s SSN
   c    Date of original divorce or separation agreement
19      IRA deduction                                                                         19
20      Student loan interest deduction                                                       20
21      Tuition and fees deduction. Attach Form 8917                                          21
22      Add lines 10 through 21
        These are your adjustments to income. Enter here and on Form 1040 or
        1040-SR, line 10a                                                                     22


Schedule 2 ' Additional Taxes

Part I         Tax

 1      Alternative minimum tax (see instructions). Attach Form 6251                              1
 2      Excess advance premium tax credit repayment. Attach Form 8962                             2
 3      Add lines 1 and 2.
        Enter here and include on Form 1040 or 1040-SR, line 17                                   3

Part II        Other Taxes

 4      Self-employment tax.
        Attach Schedule SE                                                                        4
 5      Unreported social security and Medicare tax from Form:
        a          4137               b       8919
        Explain underreported tips                                                                5
 6      Additional tax on IRAs, other qualified retirement plans, and
        other tax-favored accounts. Attach Form 5329 if required                                  6
 7a     Household employment taxes from Schedule H                                                7a
   b    First-time homebuyer credit repayment. Attach Form 5405 if required                       7b
 8      Taxes from:
   a            Form 8959
   b            Form 8960
   c            Instructions; enter code(s)

                                                                                                  8
 9      Section 965 net tax liability installment
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        from Form 965-A                             Doc#: 35-27 Filed:
                                                                 9     11/15/23 Page 17 of 166
10       Add lines 4 through 8. These are your total other taxes
         Enter here and on Form 1040 or 1040-SR, line 23                                         10                      0.
         Total tax (add line 10 and Schedule 3, line 7b)                                                             2,911.

Candy & Scott Williams                                                                                   -9938        Page 6
Schedule 3 ' Additional Credits and Payments
Part I    Nonrefundable Credits
 1       Foreign tax credit. Attach Form 1116 if required                                           1
 2       Credit for child and dependent care expenses. Attach Form 2441                             2
 3       Education credits from Form 8863, line 19                                                  3
 4       Retirement savings contributions credit. Attach Form 8880                                  4                    117.
 5       Residential Energy Credit. Attach Form 5695                                                5
 6       Other credits from Form:
     a         3800
     b         8801
     c                                                                                              6
 7     Add lines 1 through 6.
       Enter here and on Form 1040 or 1040-SR, line 20                                              7                    117.
     a Add line 7 plus child tax/other dep. credit on line 19 above                     117.
     b Subtract total credits on line 7a from tax on lline 18 above                   2,911.
         Quickzoom to 1040 Worksheet, line 24 ' Total Tax                               QuickZoom
Part II         Other Payments and Refundable Credits
 8       Net premium tax credit. Attach Form 8962                                                 8
 9       Amount paid with request for extension to file                                           9
10       Excess social security and tier 1 RRTA tax withheld                                     10
11       Credit for federal tax on fuels. Attach Form 4136                                       11
12       Other payments or refundable credits:
     a   Form 2439                                                    12 a
     b   Qualified sick and family leave credits from
         Schedule(s) H and Form(s) 7202                               12 b
     c   Health coverage tax credit from Form 8885                    12 c
     d   Other                                                        12 d
   e Deferral for certain Schedule H or SE filers               12 e
   f Add lines 12a through 12e                                                       12 f
13   Total Payments: Part II, lines 8 through12f, Withholding (Form 1040, line 25d),
     Estimated Tax Payments (Form 1040, line 26) and Form 1040, lines 27-30          13                              3,743.
     Other Payments and Refundable Credits (Form 1040, line 32)               1,800.
Third Party Designee
Do you want to allow another person to discuss this return
with the IRS (see instructions)?                                             Yes. Complete the following.            X     No
Designee’s Name
Phone Number                                                       Personal Identification Number (PIN)
Signature and Paid Preparer
Sign Here
Joint return? See instructions.
Keep a copy of this return for your records.
Under penalties of perjury, I declare that I have examined this return and accompanying schedules and
statements, and to the best of my knowledge and belief, they are true, correct, and accurately list all
amounts and sources of income I received during the year. Declaration of preparer (other than taxpayer)
is based on all information of which preparer has any knowledge.
                                                                                                 If the IRS sent you
                                                                                                        an Identity Protection
Your Signature                                      Date               Your Occupation                  PIN, enter it here
                                                                       Manager                          G
Spouse’s Signature. If joint, both must sign.       Date               Spouse’s Occupation
                                                                       Retired                          G
Daytime Phone No.                                                      Email Address
 (801)694-5409
Paid Preparer’s Use Only
Print/Type Preparer’s name                                     Preparer’s PTIN          Check if:
Preparer’s Signature                                           Date                           Self-employed
Firm’s Adress (or yours if self-employed)                              Firm’s EIN.            Phone No.
     Self-Prepared
                                                                       State                  ZIP Code


                                            Filing Address Information
     Send Form 1040 to:      You have chosen to electronically file this return.




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    Form 8960                                Form 8960 Worksheet                                        2020
Lines 4b, 5b, 7, 9, 10

Name(s) Shown on Return                                                                    Your SSN
Candy & Scott Williams                                                                            -9938


Line 4b - Adjustment for trade or business income or loss

                                           (a) Activity name                                          (b) Gain or
                                                                                                          loss




Enter additional adjustments not included above:



     Adjustment for trade or business income not subject to net investment tax

Line 5b - Adjustment for gain or loss on dispositions

                                           (a) Activity name                                          (b) Gain or
                                                                                                          loss




      Capital loss carryover adjustment from 2019 for net investment tax purposes
Enter additional adjustments not included above and check the box if a capital gain or loss:



     Net gain or loss from disposition of property not subject to net investment tax

Capital gain/loss not included in net investment income

                                           (a) Activity name                                          (b) Capital
                                                                                                      Gain or Loss




     Capital gain or loss from sale of property not subject to net investment income tax

Calculation of line 5b adjustment due to capital loss carryforward

 1      Net capital loss not included in net investment income                               1                  0.
 2      Capital loss carryover to next year                                                  2
 3      Lesser of line 1 or line 2 (Included as an adjustment on line 5b table above)        3                  0.

Line 7 - Other modifications to investment income

 1      Casualty and theft losses reported on Schedule A, line 15                            1
 2      Amounts reported on Form 8814, line 12                                               2
 3      Adjustment for distributions from estates and trusts                                 3
 4      Schedules C and F income/loss included in net investment income                      4
 5      Substitute interest and dividend payments                                            5
 6      Recovery of a prior year deduction                                                   6
 7                                                                                           7

 8      Total other modifications to investment income                                       8
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Line 9b - State, local, and foreign income taxes allocable to net investment income

 1   State and local income taxes                                                      1
 2   Investment income                                                                 2
 3   Total adjusted gross income                                                       3
 4   Divide line 2 by line 3. Enter result as a decimal amount                         4
 5   State and local income taxes allocable to investment income                       5
 6   State and local taxes (Schedule A, line 5e)                                       6
 7   Lesser of line 5 or line 6                                                        7
 8   Foreign income taxes                                                              8
 9   Foreign income taxes allocable to investment income. Line 8 times line 4.         9
10   Add lines 7 and 9. State, local and foreign income taxes allocable to
      investment income                                                              10

Lines 9 and 10 - Application of Itemized Deduction Limitations Worksheet

Part III - Application of Section 68 to Deductions Properly Allocable to Investment Income

 1   Reserved                                                                          1
 2   Enter the amount of state, local, and foreign income taxes that are properly
     allocable to investment income                                                    2
 3   Enter the amount of other Itemized Deductions subject to the section 68
     limitation and properly allocable to investment income before any itemized
     deduction limitation:




                                                                                       3
 4   Enter the total deductions properly allocable to investment income subject to
     the section 68 limitation. Enter the sum of lines 1 through 3                     4
 5   Enter the amount of total itemized deductions allowed after the section 68
     limitation. Form 1040, line 12                                                    5
 6   Enter all other itemized deductions allowed but not subject to the section 68
     deduction limitation:                                                             6
 7   Subtract line 6 from line 5                                                       7
 8   Enter the lesser of line 7 or line 4                                              8




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Part IV - Reconciliation of Schedule A Deductions to Form 8960 plus additional expenses, lines 9 and 10
                                     (A)                                       (B)               (C)
  Reenter the amounts and descriptions from Part III, lines 1-3             Fraction         Column A
                                                                           (see Help)         times B
  Miscellaneous Itemized Deductions properly allocable to Investment
  Income reportable on Form 8960, line 9c:
1 Reserved

2 State, local, and foreign income taxes                                     x              =

    Itemized Deductions Subject to Section 68 reportable on Form 8960, line 10:
3                                                                             x             =
                                                                              x             =
                                                                              x             =
                                                                              x             =
    Penalty on early withdrawal of savings
    Other modifications:



    Total additional modifications to Form 8960, line 10

Calculation of Former Passive Activity Suspended Losses Allowed as Deduction Against NII

1) Former Passive Activity Suspended Losses

                 (a) Activity name               (b) Suspended (c) Suspended (d) Used against    (e) Used against
                                                   12/31/2019    12/31/2020       activity         other passive




2) Former Passive Activity Suspended Losses - Schedule D

                 (a) Activity name               (b) Suspended (c) Suspended (d) Used against    (e) Used against
                                                   12/31/2019    12/31/2020       activity         other passive




3) Former Passive Activity Suspended Losses - Form 4797

                 (a) Activity name               (b) Suspended (c) Suspended (d) Used against    (e) Used against
                                                   12/31/2019    12/31/2020       activity         other passive




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                               Charitable Organization Worksheet                                                       2020
                                                      G Keep for your records

Name(s) Shown on Return                                                                                  Social Security Number
Candy & Scott Williams                                                                                           -9938

Charity Name       Deseret Industries
Address
City                                                                         State                  ZIP code



                                        Combined Amounts Worksheet
 Note: Amounts entered in worksheets below will be summarized in this worksheet.

 Ref. No.        Date         Donation Description                                   Donation Type             Donation Amount

         1 06/01/2020 Summary                                               Items - ItsDeductible                        484.00




                                                                            Total:                                       484.00


                                                                            Prior Year Total:                            480.00



                                ItsDeductible Item Donations Worksheet
 Note: Amounts in this worksheet can only be entered using the interview process.

 Ref. No.    Donat. Date     VM* Item Description                           High Value     Qty. Med. Value Qty.      Total Value

         1 06/01/2020          1 Men's Jogging Suit                              16.00          1    11.00      0         16.00
         1 06/01/2020          1 Men's Pants: Cargo                              13.00          2     9.00      0         26.00
         1 06/01/2020          1 Men's Pants: Chinos/Khakis                      11.00          2     8.00      0         22.00
         1 06/01/2020          1 Men's Pants: Corduroy                           12.00          1     8.00      0         12.00
                                 See Detail of Item Donations - Continued                                                408.00
 * VM, Valuation Method. 1 indicates it has been valued by ItsDeductible, 0 indicates you have created
   a custom valuation item.




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Charitable Organization Worksheet page 2                                                             2020

Candy & Scott Williams                                                                         -9938


                                      Other Item Donations Worksheet
 Note: Double-click to enter additional information if needed.

 Ref. No. Donated Date           Donation Description                   Donation Cost
          Acquired Date            Donation Type                         How Valued
                                    How Acquired                        Donation Value        Donation Allowed




                                   Detail of Money Donations Worksheet


                                            Don.
 Ref. No.    Donat. Date      Each Don. Amt Per Yr               Once or Recurring            2020 Amount

                                                                 Once        Recur
                                                                 Once        Recur
                                                                 Once        Recur
                                                                 Once        Recur
                                                                 Once        Recur




                        Detail of Mileage and Transportation Costs Worksheet


 Ref. No.  Donation Date                   Description of Trip
  Miles Per Trip    Trips Per Yr     Once or Recurring          Miles Driven
     Other Costs           Description of Other Costs          Value of Miles            Total Donation Value



                                             Once          Recur



                                             Once          Recur



                                             Once          Recur




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Charitable Organization Worksheet page 3                                                                    2020

Candy & Scott Williams                                                                               -9938


                                     Detail of Stock Donations Worksheet


                                  Stock
                   Date of      Symbol,       Value on             Date                Stock         Donation Value
    Ref. No.      Donation      # shares    Donation Date         Acquired          Original Cost




Charitable Organization Questions

1       Was the entire interest given for all property donated to this charity?                  X   Yes           No

2       Were restrictions attached to the charity’s right
        to use or dispose of any property donated to this charity?                                   Yes           No

3       Did you give to anyone other than this charity the right to income from any
        of the donated property or to possession of any of the donated property?                     Yes           No

4       What Type of charitable organization was it? Check one:
          X (a) 50% charity               (b) Other than 50% charity              (c) 50% Charity, 100% donation




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       Form 1098                        Mortgage Interest Statement                                      2020
                                 G Not a required statement - Use for import purposes
                                               G Keep for your records
Name(s) Shown on Return                                                                    Your Social Security No.
Candy & Scott Williams                                                                              -9938
Ownership
Owned by (check one):
    Taxpayer                    Spouse           X      Joint

Statement Information
RECIPIENT’S/LENDER’S Name                                         1 Mortgage interest received from payer(s)


Street address                                                    2 Outstanding mortgage principal

City                                 State ZIP code
                                                                  3 Mortgage origination date
Telephone number

                                                                  4 Refund of overpaid interest
RECIPIENT’S federal               PAYER’S social
identification number             security number
                                                                  5 Mortgage insurance premiums

PAYER’S/BORROWER’S name
                                                                  6 Points paid on purchase of principal residence
Street address

City                                 State ZIP code              8 Address of the property securing this mortgage
                                                                    (if different than your mailing address shown)
                                                                Street address
 7 The address above is the same as the address of
the property securing the mortgage                              City                          State ZIP code
(If not, enter the property address in box 8)

 9 If the property securing the mortgage has no address, provide a description of the property below


                                                                 10 Property tax
Account number

                                                                 11 Mortgage Acquisition Date


Mortgage Use

 1   Mortgage was used to finance (check one):
     a    Main home                          b      Second home                    c     Business activity
     d    Rental activity                    e      Farm activity                  f     Farm rental activity
     g    Royalty activity                   h      Other
 2   If mortgage used to finance main home or second home,
     double-click to link to home mortgage interest worksheet
3    If mortgage used to finance a business, farm, rental
     activity, royalty activity, or farm rental, double-click to link
     to the activity                                                     g
   a Schedule C, Business
   b Schedule F, Farm
   c Schedule E, Rental or Royalty
   d Form 4835, Farm Rental

Rental of Owner-Occupied or Vacation Home
 1   If mortgage was used to finance a rental activity, was the rental an
     owner-occupied or a vacation home?                                                     Yes         No      X NA
 2   If yes, complete lines 2a and 2b:
   a Mortgage interest qualifying for main or second home treatment
   b Mortgage interest not qualifying for main or second home treatment

Mortgage Insurance Premiums Information
 1       Did the home loan close after December 31, 2006?                                             Yes             No

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                                      Federal Information Worksheet                                                 2020
                                                 G Keep for your records
Part I ' Personal Information
Information in Part I is completely calculated from entries on Personal Information Worksheets.
Taxpayer:                                                       Spouse:
First name               Candy                                  First name                 Scott
Middle initial                     Suffix                       Middle initial                        Suffix
Last name                Williams                               Last name                  Williams
Social security no.            -9938                            Social security no.              -0922
Occupation               Manager                                Occupation                 Retired
Date of birth                  /1973 (mm/dd/yyyy)               Date of birth                      1957 (mm/dd/yyyy)
Age as of 1-1-2021        47                                    Age as of 1-1-2021          63
Daytime phone             (801)694-5409 Ext                     Daytime phone                                          Ext
Legally blind                                                   Legally blind
Date of death                                                   Date of death
Dependent of Someone Else:                                      Dependent of Someone Else:
Can taxpayer be claimed as dependent of another                 Can spouse be claimed as dependent of another
person (such as parent)?           Yes      X No                person (such as parent)?          Yes       X No
If yes, was taxpayer claimed as dependent on that               If yes, was spouse claimed as dependent on that
person’s return?                   Yes      X No                person’s return?                  Yes       X No
Credit for the Elderly or Disabled (Schedule R):                Credit for the Elderly or Disabled (Schedule R):
Is the taxpayer retired on total                                Is the spouse retired on total
and permanent disability?          Yes           No             and permanent disability?          Yes           No
Presidential Election Campaign Fund:                            Presidential Election Campaign Fund:
Does the taxpayer want $3 to go to the Presidential             Does the spouse want $3 to go to the Presidential
Election Campaign Fund?             Yes      X No               Election Campaign Fund?            Yes      X No
Part II ' Address and Federal Filing Status (enter information in this section)
US Address:
Address             11423 Spotted Fawn Ln                                                               Apt no.
City                Bigfork                           State       MT        ZIP code                           59911-7335
Foreign Address: Check this box to use foreign address
Address                                                                                                  Apt no.
City
Foreign code                Foreign country
Foreign province/county                                   Foreign postal code
APO/FPO/DPO address, check if appropriate                                        APO              FPO              DPO
Home phone
Check to print phone number on Form 1040                     Home           X Taxpayer daytime                 Spouse daytime
Print Form 1040-SR instead of Form 1040                                          Yes              X     No
Federal filing status:
       1 Single
  X    2 Married filing jointly
       3 Married filing separately
             Check this box if you did not live with your spouse at any time during the year
            Check this box if you are eligible to claim your spouse’s exemption/blind/over age 65 (see Help)
        4 Head of household
           If the ’qualifying person’ is your child but not your dependent:
           Child’s First name                            MI       Last Name                                     Suff
           Child’s social security number
        5 Qualifying widow(er)
           Check the appropriate box for the year your spouse died                            2018              2019
           Are you a dependent with a qualifying child                                        Yes               No
           Enter qualifying person’s name:
           Child’s First name                            MI       Last Name                                     Suff
           Child’s social security number
Part III ' Dependent/Earned Income Credit/Child and Dependent Care Credit Information
Information in Part III is completely calculated from entries on Dependent/Nondependent Info Worksheets.
                                                              Date of birth       Date of death                    Not
                                                             (mm/dd/yyyy)         (mm/dd/yyyy)                    qual
                                                                                                                  credit
                                                                                  Qualified                       other
                                                                         Not      child/dep            Lived       dep
                                                                  C      qual     care exps            with       Educ       *
                                    Social security               o       for      incurred       E   taxpyr      Tuitn      D
 First name                MI          number                     d      child    and paid        I      in        and       e
 Last name                 Suff      Relationship         Age     e     tax cr       2020         C    U.S.       Fees       p




* "Yes" - qualifies as dependent, "No" - does not qualify as dependent
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Candy & Scott Williams                                                                              -9938       Page 2

Part IV ' Earned Income Credit Information (you must answer these questions to calculate EIC)
Is the taxpayer or spouse a qualifying child for EIC for another person?                           Yes            No
Was the taxpayer’s (and spouse’s if married filing jointly) home in the United States
for more than half of 2020?                                                                        Yes            No
If the SSN of the taxpayer, or spouse if married filing jointly, was obtained to
get a federally funded benefit, such as Medicaid, and the Social Security card
contains the legend Not Valid for Employment, check this box (see Help)
Check if you are filing head of household and your spouse is a nonresident alien
and you lived with your spouse during the last six months of 2020
Check if you were notified by the IRS that EIC cannot be claimed in 2020 or
if you are ineligible to claim the EIC in 2020 for any other reason

Part V ' Direct Deposit or Direct Debit Information (not applicable for Form 9465)
Do you want to elect direct deposit of any federal tax refund?                                 X   Yes            No

Do you want to elect direct debit of federal balance due (Electronic filing only)?                 Yes      X     No

If you selected either of the options above, fill out the information below:
Name of Financial Institution (optional)                 America First
Check the appropriate box                            Checking X                      Savings
Routing number                 324377516                      Account number                         6141

Enter the following information only if you are requesting direct debit of balance due:
Enter the payment date to withdraw from the account above
Balance-due amount from this return

Amended Returns:
Do you want to elect direct debit of federal amended balance due (e-File only)?                    Yes            No
Enter the payment date to withdraw from the account above
Balance-due amount from this amended return

Part VI ' Additional Information for Your Federal Return
Standard Deduction/Itemized Deductions:
Check this box if you are itemizing for state tax or other purposes even though your itemized
deductions are less than your standard deduction
Check this box if you are married filing separately and your spouse itemized deductions
Check this box to take the standard deduction even if less than itemized deductions

Real Estate Professionals:
Do you or your spouse qualify for the special passive activity rules for
taxpayers in real property business? (see Help)                                                    Yes            No

Credit for Qualified Retirement Savings Contributions (Form 8880):
Is the taxpayer a full-time student?                                                               Yes      X     No
Is the spouse a full-time student?                                                                 Yes      X     No

American Opportunity and Lifetime Learning Credit (Form 8863)
For 2020, were you (or your spouse if married) a nonresident alien for any part
of the year, and did not elect to be treated as a resident alien?                                  Yes            No

Foreign Tax Credit (Form 1116):
Check this box to file Form 1116 even if you’re not required to file Form 1116
Resident country                                                                                   USA
Excludable Income from Am. Samoa, Guam, Commonwealth of the N. Mariana Islands, or Puerto Rico:
Excludable income of bona fide residents of American Samoa, Guam, or the
Commonwealth of the Northern Mariana Islands
Excludable income from Puerto Rico

Dual Status Alien Return:
Check this box if you are a dual-status alien
Check this box to print ’DUAL-STATUS STATEMENT’ on Form 1040

Third Party Designee:
Caution: Review transferred information for accuracy.
Do you want to allow another person to discuss this return with the IRS?                           Yes            No
If Yes, complete the following:
Third party designee name
Third party designee phone number
Personal Identification number (enter any 5 numbers)


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Candy & Scott Williams                                                                                -9938   Page 3

Part VI ' Additional Information for Your Federal Return ' Continued

Personal Representative for deceased taxpayers:
Name of personal representative required for E-filed
returns when Form 1310 is not filed or it is not the
surviving spouse

Part VII ' State Filing Information

Identity Protection PIN:
        If the IRS sent the taxpayer an Identity Protection PIN, enter it here
        If the IRS sent the spouse an Identity Protection PIN, enter it here

Taxpayer:
Enter the taxpayer’s state of residence as of December 31, 2020                                               MT
Check the appropriate box:
Taxpayer is a resident of the state above for the entire year
Taxpayer is a resident of the state above for only part of year                                                X
           Date the taxpayer established residence in state above                                      06/01/2020
           In which state (or foreign country) did the taxpayer reside before this change?                    UT
Spouse:
Enter the spouse’s state of residence as of December 31, 2020                                                 MT
Check the appropriate box:
Spouse is a resident of the state above for the entire year                                                    X
Spouse is a resident of the state above for only part of year
           Date the spouse established residence in state above
           In which state (or foreign country) did the spouse reside before this change?



Nonresident states:

                                    Nonresident State(s)                      Taxpayer/Spouse/Joint




Check this box if you are in a Registered Domestic Partnership or a civil union
If you checked the box on the line above, also check the appropriate box below:
           Check if this is your individual federal return you are filing with the IRS
           Check if this is the joint return created to file joint state tax return (see Help)




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Candy & Scott Williams                                                                        -9938   Page 4

Use the PIN that you signed last year’s tax return with.
Taxpayer’s Prior year PIN
Spouse’s Prior year PIN

These signature PINs are chosen by the taxpayer and spouse and used for e-filing your tax return
Taxpayer’s PIN used to sign the return
Spouse’s PIN used to sign the return

Taxpayer:
Drivers license or state ID number            5203
Issued by what state                  UT
License or ID         license   X                  ID                  neither             decline

Spouse
Drivers license or state ID number                  4127
Issued by what state                MT
License or ID         license     X                ID                  neither             decline




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                                   Personal Information Worksheet                                         2020
                                         For the Taxpayer
                                              G Keep for your records

QuickZoom to another copy of Personal Information Worksheet
QuickZoom to Federal Information Worksheet

Part I ' Taxpayer's Personal Information

First name      Candy                            Middle initial    Last name       Williams
                                                                   Suffix
Social security no.              -9938        Member of U.S. Armed Forces in 2020?        Yes                 X        No

Date of birth                   /1973      (mm/dd/yyyy)           age as of 1-1-2021                   47

Occupation            Manager                               Daytime phone          (801)694-5409            Ext

Marital status     Married
If widowed, check the appropriate box for the year your spouse died:
After 2020               2020                  2019                2018                     Before 2018

Are you retired on total and permanent disability? (for Schedule R, see Help).                  Yes               No
Check if this person is legally blind                                                           Yes       X       No
If deceased, enter the date of death                                                    (mm/dd/yyyy)

Were you under the age of 16 as of 1-1-2021 and this is the first year you
are filing a tax return?                                                                         Yes              No

Language in which you want the IRS to communicate with you

Do you want $3 to go to Presidential Election Campaign Fund?                                     Yes      X       No

Part II ' Questions for Individuals Who Could Be Or Are Dependents of Another Taxpayer

 1 Can someone (such as your parent) claim you as a dependent?                                   Yes      X       No
 2 If you answered ’Yes’ to question 1, are you actually claimed as a dependent
   on that person’s tax return?                                                                  Yes      X       No
   Questions 3 through 5 are only required for individuals who claim the
   American Opportunity Credit.
 3 Were you a full-time student during any part of five months during 2020?                      Yes              No
 4 Did your earned income exceed one-half of your support?                                       Yes              No
 5 Was at least one of your parents alive on December 31, 2020?                                  Yes              No

Part III ' Taxpayer's State Residency Information

Enter this person’s state of residence as of December 31, 2020                                                     MT
Check the appropriate box:
This person is a resident of the state above for the entire year
This person is a resident of the state above for only part of year                                             X
           Date this person established residence in state above                                       06/01/2020
           In which state (or foreign country) did this person reside before this change?                     UT

Part IV ' Dependent Care Expenses

Qualified dependent care expenses incurred and paid for this person in 2020
Unreimbursed medical expenses paid for qualifying person in 2020
Employment taxes paid for dependent care providers in 2020
Full-time student for 5 calendar months during 2020?                                            Yes        No
Disabled person who was not physically or mentally capable of self-care?                        Yes        No
                   9:23-ap-09001-BPH
This person is a qualifying                       Doc#:
                            person for the child and     35-27careFiled:
                                                     dependent     credit 11/15/23          PageYes
                                                                                                 30 of X166No
9:23-ap-09001-BPH Doc#: 35-27 Filed: 11/15/23 Page 31 of 166
                                   Personal Information Worksheet                                         2020
                                         For the Spouse
                                              G Keep for your records

QuickZoom to another copy of Personal Information Worksheet
QuickZoom to Federal Information Worksheet

Part I ' Spouse's Personal Information

First name      Scott                            Middle initial    Last name       Williams
                                                                   Suffix
Social security no.              -0922        Member of U.S. Armed Forces in 2020?        Yes                 X        No

Date of birth                   /1957      (mm/dd/yyyy)           age as of 1-1-2021                   63

Occupation            Retired                               Daytime phone                                   Ext

Marital status
If widowed, check the appropriate box for the year your spouse died:
After 2020               2020                  2019                2018                     Before 2018

Are you retired on total and permanent disability? (for Schedule R, see Help).                  Yes               No
Check if this person is legally blind                                                           Yes       X       No
If deceased, enter the date of death                                                    (mm/dd/yyyy)

Were you under the age of 16 as of 1-1-2021 and this is the first year you
are filing a tax return?                                                                         Yes              No

Language in which you want the IRS to communicate with you

Do you want $3 to go to Presidential Election Campaign Fund?                                     Yes      X       No

Part II ' Questions for Individuals Who Could Be Or Are Dependents of Another Taxpayer

 1 Can someone (such as your parent) claim you as a dependent?                                   Yes      X       No
 2 If you answered ’Yes’ to question 1, are you actually claimed as a dependent
   on that person’s tax return?                                                                  Yes      X       No
   Questions 3 through 5 are only required for individuals who claim the
   American Opportunity Credit.
 3 Were you a full-time student during any part of five months during 2020?                      Yes              No
 4 Did your earned income exceed one-half of your support?                                       Yes              No
 5 Was at least one of your parents alive on December 31, 2020?                                  Yes              No

Part III ' Spouse's State Residency Information

Enter this person’s state of residence as of December 31, 2020                                                     MT
Check the appropriate box:
This person is a resident of the state above for the entire year                                                       X
This person is a resident of the state above for only part of year
           Date this person established residence in state above
           In which state (or foreign country) did this person reside before this change?

Part IV ' Dependent Care Expenses

Qualified dependent care expenses incurred and paid for this person in 2020
Unreimbursed medical expenses paid for qualifying person in 2020
Employment taxes paid for dependent care providers in 2020
Full-time student for 5 calendar months during 2020?                                            Yes        No
Disabled person who was not physically or mentally capable of self-care?                        Yes        No
                   9:23-ap-09001-BPH
This person is a qualifying                       Doc#:
                            person for the child and     35-27careFiled:
                                                     dependent     credit 11/15/23          PageYes
                                                                                                 32 of X166No
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    Form 1040                      Forms W-2 & W-2G Summary                               2020
                                            G Keep for your records

Name(s) Shown on Return                                                     Social Security Number
Candy & Scott Williams                                                              -9938

Form W-2 Summary

 Box No.                   Description                      Taxpayer     Spouse              Total

  1 Total wages, tips and compensation:
      Non-statutory & statutory wages not on Sch C             78,029.                        78,029.
      Statutory wages reported on Schedule C
      Foreign wages included in total wages
      Unreported tips                                               0.                             0.
  2      Total federal tax withheld                             1,943.                         1,943.
  3 & 7 Total social security wages/tips                       79,196.                        79,196.
  4      Total social security tax withheld                     4,910.                         4,910.
  5      Total Medicare wages and tips                         79,196.                        79,196.
  6      Total Medicare tax withheld                            1,148.                         1,148.
  8      Total allocated tips
  9      Not used
 10 a Total dependent care benefits
    b Offsite dependent care benefits
    c Onsite dependent care benefits
 11      Total distributions from nonqualified plans
 12 a Total from Box 12                                        13,873.                        13,873.
    b Elective deferrals to qualified plans                     1,167.                         1,167.
    c Roth contrib. to 401(k), 403(b), 457(b) plans
    d Deferrals to government 457 plans
    e Deferrals to non-government 457 plans
    f    Deferrals 409A nonqual deferred comp plan
    g Income 409A nonqual deferred comp plan
    h Uncollected Medicare tax
    i    Uncollected social security and RRTA tier 1
    j    Uncollected RRTA tier 2
    k Income from nonstatutory stock options
    l    Non-taxable combat pay
    m QSEHRA benefits
    n Total other items from box 12                            12,706.                        12,706.
 14 a Total deductible mandatory state tax
    b Total deductible charitable contributions
    c This line does not apply to TurboTax
    d Total RR Compensation
    e Total RR Tier 1 tax
    f    Total RR Tier 2 tax
    g Total RR Medicare tax
    h Total RR Additional Medicare tax
    i    Total RRTA tips
    j    Total other items from box 14
    k Total sick leave subject to $511 limit
    l    Total sick leave subject to $200 limit
    m Total emergency family leave wages
 16      Total state wages and tips                            78,029.                        78,029.
 17      Total state tax withheld                               1,656.                         1,656.
 19      Total local tax withheld




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Form W-2                                    Wage and Tax Statement                                                         2020
                                                    G Keep for your records

Name                                                                                                   Social Security Number
Candy Williams                                                                                                   -9938

           Spouse’s W-2                                                  Military: Complete Part VI on Page 2 below.
           Do not transfer this W-2 to next year

a Employee’s social security no.         -9938                1 Wages, tips, other                    2 Federal income
b Employer ID number (EIN)       XX-XXXXXXX                         compensation                           tax withheld
c Employer’s name, address, and ZIP code                                        78,028.68                                 1,943.05
  Primary Residential Mortgage Inc                            3 Social security wages                 4 Social security tax withheld
                                                                                79,196.04                                 4,910.15
  Street     1480 N 2200 W                                    5 Medicare wages and tips               6 Medicare tax withheld
  City       Salt Lake City                                                     79,196.04                                 1,148.34
  State      UT    ZIP Code 84116                             7 Social security tips                  8 Allocated tips

  Foreign Province                                                A Enter unreported tips in Part VII on Page 2 below.
  Foreign Postal Code
  Foreign Country
                                                              9                                      10 Dependent care benefits
d Control number
                                                            11 Nonqualified plans                          Distributions from sect. 457
   X       Transfer employee information from                                                              and nonqualified plans
           the Federal Information Worksheet                                                               (Important, see Help)
e Employee’s name                                           12 Enter box 12 below
  First Candy                      M.I.
  Last Williams                    Suff.                    13              Statutory employee
f Employee’s address and ZIP code                                    X      Retirement plan
  Street 11423 Spotted Fawn Ln                                              Third-party sick pay
  City Bigfork
  State MT         ZIP Code 59911-7335                      14 Enter box 14 below after entering boxes 18, 19, and 20.
  Foreign Province                                                  NOTE: Enter box 15 before entering box 14.
  Foreign Postal Code
  Foreign Country

       Box 12                 Box 12              If Box 12 code is:
        Code                  Amount              A: Enter amount attributable to RRTA Tier 2 tax
                                                  M: Enter amount attributable to RRTA Tier 2 tax
        D                          1,167.36       P: Double-click to link to Form 3903, line 4
        DD                        12,706.32       R: Enter MSA contr bution for Taxpayer
                                                                                    Spouse
                                                  W: Enter HSA contribution for Taxpayer
                                                                                    Spouse
                                                  G:          Employer is not a state or local government

       Box 15                          Box 15                                   Box 16                         Box 17
        State                Employer’s state I.D. number                State wages, tips, etc.          State income tax

        MT          4048990002WTH                                                 48,846.64                        1,230.00
        UT          12288282003WTH                                                29,182.04                          426.03


  I confirm that the state withholding identification number(s) are accurate

                         Box 20                               Box 18                          Box 19                Associated
                    Locality name                      Local wages, tips, etc.           Local income tax             State




                Box 14                                                TurboTax Identification of Description or Code
        Description or Code                Amount                  (Identify this item by selecting the identification from
        on Actual Form W-2                                          the drop down list. If not on the list, select "Other".)




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Form 1099-SA                   Distributions from an HSA, Archer MSA, or                                            2020
                                        Medicare Advantage MSA
                                                    G Keep for your records

Name                                                                                             Social Security Number
Candy Williams                                                                                                -9938

Check if for spouse                      See below for additional distribution information                 Corrected amount
                                                                                                                       Void


Payer’s name, street address, city, state, and Zip code




Payer’s TIN                    Recipient’s TIN                  1       Gross distr bution        2       Earnings on excess
                                                                                                          contributions
                                          -9938                     $                                 $

Check to transfer Recipient’s information                       3       Distribution code         4       FMV on date of death
from Federal Information Worksheet                                                                    $
Recipient’s Name
                                                                5       HSA                  X
Street address (including apt. no.)
                                                                        Archer MSA
City                                  State   ZIP Code
                                                                        MA MSA
Account number (optional)



Additional Distribution Information

Recipient’s Age

A Check this box if the recipient was age 65 or over at time of distribution

Medical Expenses See Help for important information

B Check this box if the entire amount in box 1 was used to pay qualified medical expenses
  and can be treated as tax free
C If less than the amount in box 1 was used to pay medical expenses, enter the amount
  that was used to pay qualified medical expenses and can be treated tax free

Rollover

D Enter the amount in box 1 that was rolled over

Return of Excess Contribution

E Check this box if this is the return of excess contributions made by the employer (See Help)

Death Distribution (Box 3 - Code 4)

F Was the MSA or HSA inherited from a spouse who died?                                                       Yes           No

   QuickZoom to Form 8853, p1
   QuickZoom to Form 8889T
   QuickZoom to Form 8889S
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                                  Wages, Salaries, & Tips Worksheet                                 2020
                                              G Keep for your records

Name(s) Shown on Return                                                               Social Security Number
Candy & Scott Williams                                                                         -9938

The following amounts are included in the total entered on line 1 of Form 1040 or on line 8 of Form 1040NR:

                                                           Taxpayer            Spouse               Total

 1       Wages, from Form W-2                                 78,029.                                78,029.
 2       Miscellaneous income, from Form 8919
 3       Items from Form 1099-R:
     a   Disability before minimum retirement age
     b   Return of contributions
 4       Excess reimbursement, from Form 2106
 5a      Taxable tips, from Form 4137
   b     Noncash tips
 6       Excess moving expense reimbursement,
         from Form 3903
 7       Wages earned as a household employee (if
         less than $2,100 and without a Form W-2)
 8       Items not on Form W-2 or Form 1099-R:
     a   Sick pay or disability payments
     b   Total foreign source income
     c   Check this box if the amount on line 8b is
         eligible for the foreign exclusion/deduction
     d   Ordinary income from employer stock
         transactions not reported on Form W-2
 9       Other earned income:
     a   Non-gov unemployment received/repaid 2020
     b




10       Subtotal.
         Add lines 1 through 9                                78,029.                                78,029.
11       Taxable employer-provided dependent care
         benefits, from Form 2441
12       Taxable employer-provided adoption benefits
         less any excluded benefits from Form 8839
13       Scholarship/fellowship income not on
         Form W-2
14       Other non-earned income:




15       Total of lines 10 through 14                         78,029.                                78,029.




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                    Qualified Business Income Component Worksheet                                       2020
                                            G Keep for your records

Name(s) Shown on Return                                                              Social Security Number
Candy & Scott Williams                                                                        -9938

  Aggregate trade or business name                         Viking Investment
  Aggregate trade or business ID number (EIN)
  Social Security Number of owner if no EIN available                                         -9938
  Reason for no EIN or SSN if none available

  For multiple businesses being aggregated under Regulations section 1.199A-4, complete the
  explanation statements below.
  Provide a description of the trade or business and an explanation of the factors met that allow the
  aggregation in accordance with Regulations section 1.199A-4.



  Has this trade or business aggregation changed from the prior year? This includes changes due to a
  a trade or business being formed, acquired, disposed, or ceasing operations. If yes, explain.



  Business name                        Tax ID                  QBI            W2 wages             UBIA
  Viking Investment                                           -24,478.                   0.                   0.



  1    Qualified business income (QBI)                                                            -24,478.
       If using Simplified Worksheet, stop here.
  2    Taxable Income
  3    Threshold Amount. $326,600 if MFJ, otherwise $163,300
  4    Subtract line 3 from line 2. If less than 0, enter 0.
  5    Phase-in range amount. Enter $100,000 if filing joint, otherwise $50,000
  6    Reduction ratio. If line 4 is less than line 5, divide line 4 by line 5.
        Otherwise, enter 1.
  7    Applicable percentage. Subtract the reduction ratio (line 6) from 1.0000
  8    Wages allocable to qualified business income
  9    Unadjusted Basis Immediately after Acquisition of Assets (UBIA) allocable
        to qualified business income
       Reductions for Specified Service Trades or Businesses
       Check if Specified Service Trade or Business (SSTB)
 11    SSTB reduction to QBI
 12    SSTB reduction to allocable wages
 13    SSTB reduction to allocable UBIA
       QBI, wages, and UBIA after applicable SSTB reductions
 14    Qualified business income
 15    Allocable wages
 16    Allocable UBIA
       Tentative QBI component
 17    Adjustments for QBI losses
 18    Loss-adjusted QBI (line 14 plus line 17)
 19    Tentative QBI component before limitations (20% of line 18)
       Wages and assets limits
 20    50% of W2 wages
 21    25% of W2 wages
 22    2.5% of UBIA
 23    Sum of 25% of W2 wages and 2.5% of UBIA
 24    Wage and Asset Limit. Larger of line 20 or line 23
 25    Subtract wage/asset limit (line 24) from tentative QBI component (line 19)
       (But not less than 0)
 26    Reduction Amount. Multiply line 6 by line 25
 27    Subtract the Reduction Amount (line 26) from Tent. QBI Ded’n (line 19)
 28    Qualified payments from agricultural or horticultural coop
 29    Wages allocable to qualified payments from coop
 30    Patron reduction (lesser of 9% of line 28 or 50% of line 29)
       Qualified business income component amount
 31                9:23-ap-09001-BPH
       Subtract line  30 from line 27              Doc#: 35-27 Filed: 11/15/23         Page 38 of 166
                       Qualified Business Income Deduction Summary                                      2020
                                              G Keep for your records

Name(s) Shown on Return                                                               Social Security Number
Candy & Scott Williams                                                                         -9938

         QuickZoom to QBI Component Worksheet
         QuickZoom to Form 8995
         QuickZoom to Form 8995-A

     1 Trade or business name                                                               Net QBI
         Viking Investment                                                                            -24,478.


     2   Net qualified business income (QBI) from qualified trades or businesses                      -24,478.
     3   Loss from previous year                                                                      -25,997.
     4   Sum of activities with gains (only positive amounts from table on line 1)
     5   Sum of activities with losses (only negative amounts from table on line 1)                   -50,475.

     6 Check if using Simplified Computation (Form 8995)                               X

     7 QBI component from Form 8995 line 5 or Form 8995A line 16                                            0.
     8 QBI loss carryover from Form 8895 line 16 or Form 8995A Schedule C line 6                      -50,475.

     9   Total REIT dividends
    10   PTP Income from non-SSTBs
    11   PTP Income from SSTBs
    12   Allowed PTP Income from SSTBs
    13   Total Allowed PTP income (sum of line 10 and line 12)
    14   Carryover REIT/PTP losses from prior year
    15   Total REIT/PTP income
    16   20% of total REIT/PTP income
    17   Disallowed REIT/PTP loss                                                                              0.

    18 Combined QBI Amount (QBI component plus 20% of REIT/PTP income)                                         0.

    19   Taxable income before qualified business income deduction                28,501.
    20   Net capital gains                                                             0.
    21   Taxable income minus net capital gains. If zero or less, enter -0-                            28,501.
    22   20% of taxable income minus net capital gains                                                  5,700.

    23 QBI deduction before DPAD                                                                               0.
       Lesser of Combined QBI Amount or 20% of taxable income minus cap gains

    24 Section 199A(g) deduction for domestic production activities

    25 Total 199A (QBI) deduction (sum of lines 23 and 24)                                                     0.




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    Schedule D                Unrecaptured Section 1250 Gain Worksheet                                  2020
      Line 19                                     G Keep for your records

Name(s) Shown on Return                                                                   Social Security Number
Candy & Scott Williams                                                                             -9938

                                                                                       Regular         Alternative
                                                                                         Tax          Minimum Tax

     If you are not reporting a gain on Form 4797, line 7, skip lines 1
     through 9 and go to line 10.
 1   If you have a section 1250 property in Part III of Form 4797 for
     which you made an entry in Part I of Form 4797 (but not Form
     6252), enter the smaller of line 22 or line 24 of Form 4797 for that
     property. If you did not have any such property, go to line 4.           1
 2   Enter the amount from Form 4797, line 26g, for the property for
     which you made an entry on line 1                                        2
 3   Subtract line 2 from line 1                                              3
 4   Enter the total unrecaptured section 1250 gain included on lines
     26 or 37 of Form(s) 6252 from installment sales of trade or
     business property held more than one year                                4
 5   Enter the total of any amounts reported on a Schedule K-1 from a
     partnership or an S corporation as "unrecaptured section 1250
     gain".                                                                   5
 6   Add lines 3 through 5                                                    6
 7   Enter the smaller of line 6 or the gain from Form
      4797, line 7                                                            7
 8   Enter the amount, if any, from Form 4797, line 8                         8
 9   Subtract line 8 from line 7. If zero or less, enter -0-                  9
10   Enter the amount of any gain from sale of an interest in a
     partnership attributable to unrecaptured section 1250 gain               10
11   Enter the total of any amounts reported to you as "unrecaptured
     section 1250 gain" from an estate, trust, real estate investment
     trust or mutual fund
                                                Regular              AMT
      a On Form 1099-DIV
      b On Form 2439
      c On Schedule(s) K-1
      d On Form 1099-R
      e From Form 8814
      f Other
         Total                                                                11
12   Enter the total of any unrecaptured section 1250 gain from sales
     (including installment sales) or other dispositions of section 1250
     property held more than 1 year for which you did not make
     an entry in Part I of Form 4797 for the year of sale                     12
13   Add lines 9 through 12                                                   13
14   If you had any section 1202 gain or collectibles gain or (loss),
     enter the total of lines 1 thru 4 of the 28% Rate Gain Worksheet.
     Otherwise, enter -0-                                                     14                 0.                0.
15   Enter the (loss), if any, from Schedule D, line 7. If Schedule D, line
     7, is zero or a gain, enter -0-                                          15                 0.                0.
16   Enter your long-term capital loss carryovers from Schedule D, line
     14, and Schedule K-1 (Form 1041), line 11, code D                        16
   a Enter your capital gain excess, if you are filing Form 2555                   a                               0.
17   Combine lines 14 through 16a. If the result is a (loss), enter it as a
     positive amount. If the result is zero or a gain, enter -0-              17                 0.                0.
18   Unrecaptured section 1250 gain. Subtract line 17 from line 13. If
     zero or less, enter -0-. If more than zero, enter the result here and
     on Schedule D, line 19                                                   18
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    Schedule D                          28% Rate Gain Worksheet                                 2020
      Line 18                                  G Keep for your records

Name(s) Shown on Return                                                           Social Security Number
Candy & Scott Williams                                                                      -9938

                                                                                 Regular         Alternative
                                                                                   Tax          Minimum Tax

1    Enter the total of all collectibles gain or (loss) from items you
     reported on Form 8949, Part II                                          1
2    Enter as a positive number the amount of any section 1202
     exclusion you reported in column (g) of Form 8949, Part II, with
     code "Q" in column (f), that is 50% of the gain, plus 2/3 of any
     section 1202 exclusion you reported in column (g) of Form
     8949, Part II, with code "Q" in column (f), that is 60% of the
     gain, plus 1/3 of any section 1202 exclusion you reported in
     column (g) of Form 8949, Part II, with code "Q" in column (f),
     that is 75% of the gain.
                              50 %                60 %              75%
                           Exclusion          Exclusion          Exclusion
  a Schedule D
  b Form 8814
  c Schedule B
  d Form 6252
  e Form 2439
  f Other
         Total                                                               2
3    Enter the total of all collectibles gain or (loss) from:
                                              Regular              AMT
      a Form 4684, line 4 (but only
         if line 15 is more than zero)
      b Form 6252
      c Form 6781, Part II
      d Form 8824
         Total                                                               3
4    Enter the total of any collectibles gain reported to you on:
                                              Regular              AMT
      a Form 1099-DIV, box 2d
      b Form 2439, box 1d
      c Schedule K-1 from a
         partnership, S corporation,
         estate, or trust
      d Disposition of interest in
         partnership or S corporation
      e Other
         Total                                                               4
5    Enter your long-term capital loss carryovers from Schedule D,
     line 14, and Schedule K-1 (Form 1041), line 11, code C                  5
6    If Schedule D, line 7, is a (loss), enter that (loss) here.
     Otherwise, enter -0-.                                                   6
7    Combine lines 1 through 6. If zero or less, enter -0-. If more
     than zero, also enter this amount on Schedule D, line 18                7
8    Enter the amount of any capital gain excess                             8                             0.
9    Subtract line 8 from line 7. If zero or less, enter -0-.
     Enter this amount on Schedule D Tax Worksheet, line 11a                 9             0.              0.



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    Form 1040                              Schedule D Tax Worksheet                                             2020
     Line 16                                      G Keep for your records

Name(s) Shown on Return                                                                      Social Security Number
Candy & Scott Williams                                                                               -9938

 1 a Enter your taxable income from Form 1040, line 15                                       1 a 28,501.
   b Enter amount on line 2c of your (and spouse’s) Foreign Earned Income Tax Wksht            b
   c Add lines 1a and 1b                                                                                       1 c 28,501.
 2 a Enter your qualified dividends
     from Form 1040, line 3a                2a
   b Enter any capital gain excess
     attributable to qualified dividends      b
   c Subtract line 2b from line 2a                             2c
 3   Amount from Form 4952, line 4g 3
 4 a Amount from Form 4952, line 4e 4 a
   b Amount from the dotted line
     next to Form 4952, line 4e               b
   c Line 4b, if applicable, 4a, if not       c
 5   Subtract line 4c from line 3.                             5         0.
 6   Subtract line 5 from line 2c. If zero or less, enter -0-                6           0.
 7 a Enter line 15 of Schedule D            7a
   b Enter line 16 of Schedule D              b
   c Enter the smaller of line 7a or line 7b                   7c        0.
 8   Enter the smaller of line 3 or line 4c                    8
 9 a Subtract line 8 from line 7.                              9a        0.
   b Enter any capital gain excess attributable to
     capital gains                                               b
   c Subtract line 9b from line 9a                                           9c          0.
10   Add lines 6 and 9c                                                                     10            0.
11 a Enter the amount from Schedule D, line 18                11 a       0.
   b Enter the amount from Schedule D, line 19                   b
   c Add lines 11a and 11b                                                  11 c         0.
12   Enter the smaller of line 9c or line 11c                                               12            0.
13   Subtract line 12 from line 10                                                                            13          0.
14   Subtract line 13 from line 1c. If zero or less, enter -0-                                                14     28,501.
15   Enter:
      ? $40,000 if single or married filing separately,
      ? $80,000 if married filing jointly or qualifying widow(er), or       15   80,000.
      ? $53,600 if head of household.
16   Enter the smaller of line 1c or line 15                                                16    28,501.
17   Enter the smaller of line 14 or line 16                                17   28,501.
18   Subtr ln 10 from ln 1c. If zero or less, enter -0-       18    28,501.
19   Enter the smaller of line 1c or:
      ? $163,300 if single or married filing sep,
      ? $326,600 if MFJ or qual widow(er), or                 19    28,501.
      ? $163,300 if head of household.
20   Enter the smaller of line 14 or line 19                  20    28,501.
21   Enter the larger of line 18 or line 20                                                 21    28,501.
22   Subtract line 17 from line 16. This amount is taxed at 0%                              22            0.
     If lines 1c and 16 are the same, skip lines 23 through 43 and go to line 44. Otherwise, go to line 23.
23   Enter the smaller of line 1c or line 13                                23
24   Enter the amount from line 22 (if line 22 is blank, enter -0-)         24
25   Subtract line 24 from line 23. If zero or less, enter -0-              25
26   Enter:
      ? $441,450 if single,
      ? $248,300 if married filing separately,                              26
      ? $496,600 if married filing jointly or qualifying widow(er), or
      ? $469,050 if head of household.
27   Enter the smaller of line 1c or line 26                                27
28   Add lines 21 and 22                                                    28
29   Subtract line 28 from line 27. If zero or less, enter -0-              29
30   Enter the smaller of line 25 or line 29                                                30
31   Multiply line 30 by 15% (0.15)                                                                           31
32   Add lines 24 and 30                                                    32
     If lines 1 and 32 are the same, skip lines 33 through 43 and go to line 44. Otherwise, go to line 33
33   Subtract line 32 from line 23                                                          33
34   Multiply line 33 by 20% (0.20)                                                                           34
     If Schedule D, line 19, is zero or blank, skip lines 35 through 40 and go to line 41. Otherwise, go to line 35.
35   Enter the smaller of line 9c above or Schedule D, line 19              35
36   Add lines 10 and 21                                      36
37   Enter the amount from line 1c above                      37
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38   Subtract line 37 from line 36. If zero or less, enter -0-                38
39   Subtract line 38 from line 35. If zero or less, enter -0-                                39
40   Multiply line 39 by 25% (0.25)                                                                           40
     If Schedule D, line 18, is zero or blank, skip lines 41 through 43 and go to line 44. Otherwise, go to line 41.
41   Add lines 21, 22, 30, 33, and 39                                                         41
42   Subtract line 41 from line 1c                                                            42
43   Multiply line 42 by 28% (0.28)                                                                           43
44   Figure the tax on the amount on line 21. If the amount on line 21 is less than $100,000,
     use the Tax Table to figure this tax. If the amount on line 21 is $100,000 or more,
     use the Tax Computation Worksheet                                                                        44       3,028.
45   Add lines 31, 34, 40, 43, and 44                                                                         45       3,028.
46   Figure the tax on the amount on line 1c. If the amount on line 1c is less than $100,000,
     use the Tax Table to figure this tax. If the amount on line 1c is $100,000 or more,
     use the Tax Computation Worksheet                                                                        46       3,028.
47   Tax on all taxable income (including capital gains and qualified dividends).
     Enter the smaller of line 45 or line 46. Also include this amount on Form 1040, line 16                  47       3,028.




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     Form 1040      Qualified Dividends and Capital Gain Tax Worksheet                                 2020
      Line 16                                G Keep for your records

Name(s) Shown on Return                                                                 Social Security Number
Candy & Scott Williams                                                                             -9938

 1     Enter the amount from Form 1040 or 1040-SR, line 15                  1
 2     Enter the amount from Form
       1040 or 1040-SR, line 3a                       2
 3     Are you filing Schedule D?
             Yes. Enter the smaller of line 15
                    or 16 of Schedule D. If
                    either line 15 or 16 is blank
                    or loss, enter -0-                3
             No. Enter the amount from Form
                    1040 or 1040-SR, line 7.
 4     Add lines 2 and 3                              4
 5     Subtract line 4 from line 1. If zero or less, enter -0-              5
 6     Enter:
        $40,000 if single or married filing separately,
        $80,000 if married filing jointly or qualifying widow(er),          6
        $53,600 if head of household.
 7     Enter the smaller of line 1 or line 6                                7
 8     Enter the smaller of line 5 or line 7                                8
 9     Subtract line 8 from line 7 (this amount taxed at 0%)                9
10     Enter the smaller of line 1 or line 4                              10
11     Enter the amount from line 9                                       11
12     Subtract line 11 from line 10.                                     12
13     Enter:
        $441,450 if single,
        $248,300 if married filing separately,                            13
        $496,600 if married filing jointly or qualifying widow(er),
        $469,050 if head of household.
14     Enter the smaller of line 1 or line 13                             14
15     Add lines 5 and 9                                                  15
16     Subtract line 15 from line 14. If zero or less, enter -0-          16
17     Enter the smaller of line 12 or line 16                            17
18     Multiply line 17 by 15% (0.15)                                                         18
19     Add lines 9 and 17                                                 19
20     Subtract line 19 from line 10                                      20
21     Multiply line 20 by 20% (0.20)                                                         21
22     Figure the tax on the amount on line 5. If the amount on line 5 is less than
       $100,000, use the Tax Table to figure the tax. If the amount on line 5 is
       $100,000 or more, use the Tax Computation Worksheet                                    22
23     Add lines 18, 21, and 22                                                               23
24     Figure the tax on the amount on line 1. If the amount on line 1 is less than
       $100,000, use the Tax Table to figure this tax. If the amount on line 1 is
       $100,000 or more, use the Tax Computation Worksheet                                    24
25     Tax on all taxable income. Enter the smaller of line 23 or line 24 here and on
       Form 1040 or 1040-SR, line 16.                                                         25




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                                    IRA Contributions Worksheet                              2020
                                             G Keep for your records

Name(s) Shown on Return                                                        Social Security Number
Candy & Scott Williams                                                                 -9938


                                    Traditional IRA Contributions

Regular Traditional IRA Contributions                                      Taxpayer           Spouse

  1   Enter traditional IRA contributions made for 2020, including
      any made between 1/1/2021 and 5/17/2021, any amounts
      later recharacterized to a Roth IRA, and any excess
      contributions, but not including any rollovers. Also include any
      contributions to deemed IRAs under an employer plan
  2   Contributions recharacterized from a Roth IRA (from line 24)
  3   Traditional IRA contributions, from Schedule(s) K-1
  4   Contributions recharacterized (not converted) to a Roth IRA
    A If there is a recharacterization indicated on line 4, an
      explanation must be attached to the tax return.
  5   Traditional IRA contributions. Combine lines 1 through 4
  6   Enter any contribution included on line 5 withdrawn before
      the due date of the tax return. See Help
  7   Excess traditional IRA contribution credit
  8   Repayments of qualified reservist distributions
  9   Total traditional IRA contributions.

Additional Traditional IRA Contribution Information                        Taxpayer           Spouse

 10     Check if covered by a retirement plan at work. If married filing
        a separate return, check box in spouse column, if applicable          X
 11     Enter any contributions included on line 9 that were made
        during 1/1/2021 to 5/17/2021 (See Help)

Deductible and Non-deductible Traditional IRA Contributions                Taxpayer           Spouse

 12     Deductible traditional IRA contributions from worksheet
 13     Nondeductible traditional IRA contributions from worksheet

        QuickZoom to worksheet indicated by the check:
             IRA deduction worksheet
             Worksheet for social security recipients

 14     Amount on line 13 you elect to make nondeductible
 15     Excess traditional IRA contributions, to Form 5329, line 15
        Note: You may avoid a penalty by withdrawing the amount
        on line 15 before due date of return, including extensions.

 16     Deductible traditional IRA contributions, to Schedule 1
        (Form 1040), Line 19
 17     Qualified reservist repayments
 18     Nondeductible traditional IRA contributions, to Form 8606, ln 1




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                                   IRA Contributions Worksheet                          2020
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                                        Roth IRA Contributions

Regular Roth IRA Contributions                                            Taxpayer       Spouse

 19   Enter regular Roth IRA contributions made for 2020, including
      any made between 1/1/2021 and 5/17/2021, any amounts
      later recharacterized to a traditional IRA, and any excess
      contributions, but not including any rollovers or conversions.
      Also include any contributions to deemed Roth IRAs under an
      employer plan
 20   Contributions recharacterized from a traditional IRA, (from ln 4)
 21   Roth IRA contributions, from Schedule(s) K-1
 22   Enter contributions recharacterized to a traditional IRA
    A If there is a recharacterization indicated on line 23, an
      explanation must be attached to the tax return.
 23   Disallowed Roth IRA conversions
 24   Roth IRA contributions. Combine lines 20 through 23
 25   Enter any contribution included on line 24 withdrawn before
      the due date of the tax return. See Help
 26   Excess Roth IRA contribution credit
 27   Total Roth IRA contributions
 28   Repayments of qualified Roth reservist distributions

Roth IRA Contributions After Limitations                                  Taxpayer       Spouse

 29     Roth IRA contributions after limitation
 30     Excess Roth IRA contributions, to Form(s) 5329, line 23

        Note: You may avoid a penalty by withdrawing the amount
        on line 31 before due date of return, including extensions.

       Coverdell Education Savings Account (Education IRA) Contributions

Excess Coverdell Education Savings Account Contributions                  Taxpayer       Spouse

 31     Enter any excess contributions made to Coverdell Education
        Savings Accounts (ESAs) of which you are the beneficiary

        Note: You do not need to report any Coverdell ESA
        contributions which are not excess contributions..




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     Schedule A                   Medical Expenses Worksheet                                    2020
       Line 1                             G Keep for your records

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Candy & Scott Williams                                                                     -9938

 1   Prescription medications                                                          1
 2   Health insurance premiums:
   a Premiums other than self-employed health insurance or reported on a 1095-A        2a
   b From Form(s) 1095-A - net of adjustments                                           b
       Taxpayer’s portion of 1095-A premiums (total less spouse)
       Spouse’s portion of 1095-A premiums, enter the amount
       for the spouse, the remaining goes to the taxpayer
   c Medicare premiums                                                                     c
   d From Form(s) 1099-R                                                                   d
     NOTE: If LTC premiums are associated with a specific business activity,
     enter them directly on the applicable Self-Employed Health and Long-Term
     Care Insurance Deduction Worksheet, not on lines 2e - 2j below.
   e Taxpayer’s gross long-term care premiums                     2e
   f Taxpayer’s allowable long-term care premiums                   f
   g Spouse’s gross long-term care premiums                         g
   h Spouse’s allowable long-term care premiums                     h
   i Dep or child under 27 gross long-term care premiums            i
   j Dep or child under 27 allowable long-term care prem.           j
   k Total allowable long-term care premiums, sum of lines 2f, 2h, and 2j                k
   l Taxpayer’s long-term care premiums not deducted as an adjustment to income          l
   m Spouse’s long-term care premiums not deducted as an adjustment to income           m
   n Dependent’s long-term care premiums not deducted as an adj to income                n
   o Other self-employed health insurance not deducted as an adj to income               o
 3   Fees for doctors, dentists, etc                                                   3
 4   Fees for hospitals, clinics, etc                                                  4
 5   Lab and x-ray fees                                                                5
 6   Expenses for qualified long-term care                                             6
 7   Eyeglasses and contact lenses                                                     7
 8   Medical equipment and supplies                                                    8
 9   Medical transportation expenses:
   a Medical miles driven                                         9a
   b Multiply the number of miles on line 9a by 17 cents
     per mile                                                       b
   c Other medical transportation costs not included above
     for example: ambulance fees                                    c
   d Total medical transportation expenses (add lines 9b and 9c)                       9d
10   Lodging for medical purposes (up to $50 per night per person)                    10
11   Other medical and dental expenses:
   a                                                                                  11 a
   b                                                                                     b
   c                                                                                     c
   d                                                                                     d
   e                                                                                     e
   f                                                                                     f
   g                                                                                     g
   h                                                                                     h
   i                                                                                     i
   j                                                                                     j
12   Total of medical and dental expenses (add lines 1 through 11j)                   12
13 a Less: insurance reimbursement for any expenses listed                            13 a
   b Less: medical savings account (MSA) or health savings account (HSA)
     distributions                                                                         b
14   Total deductible medical and dental expenses. Subtract lines 13a plus 13b
     from line 12 (to Schedule A, line 1)                                             14                   0.
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                                          Tax Payments Worksheet                                                2020
                                                   G Keep for your records

Name(s) Shown on Return                                                                           Social Security Number
Candy & Scott Williams                                                                                    -9938

Estimated Tax Payments for 2020 (If more than 4 payments for any state or locality, see Tax Help)

                Federal                                 State                                         Local

         Date          Amount              Date            Amount       ID            Date              Amount             ID


1    07/15/20                           07/15/20                                     07/15/20

2    07/15/20                           07/15/20                                     07/15/20

3    09/15/20                           09/15/20                                     09/15/20

4    01/15/21                           01/15/21                                     01/15/21

5




Tot Estimated
Payments

Tax Payments Other Than Withholding                    Federal               State           ID            Local                ID
(If multiple states, see Tax Help)

6      Overpayments applied to 2020
7      Credited by estates and trusts
8      Totals Lines 1 through 7
9      2020 extensions

Taxes Withheld From:                                                Federal               State                    Local

10      Forms W-2                                                      1,943.                 1,656.
11      Forms W-2G
12      Forms 1099-R
13      Forms 1099-MISC, 1099-NEC, 1099-K, 1099-G
14      Schedules K-1
15      Forms 1099-INT, DIV and OID
16      Social Security and Railroad Benefits
17      Form 1099-B                 St        Loc
18 a    Other withholding           St        Loc
   b    Other withholding           St        Loc
   c    Other withholding           St        Loc
   d    Positive Adjustment         St        Loc
   e    Negative Adjustment         St        Loc
   f    Additional Medicare Tax
19      Total Withholding Lines 10 through 18f
                                                                       1,943.                 1,656.
20      Total Tax Payments for 2020                                    1,943.                 1,656.

Prior Year Taxes Paid In 2020                                                State           ID            Local                ID
(If multiple states or localities, see Tax Help)

21      Tax paid with 2019 extensions
22      2019 estimated tax paid after 12/31/2019
23      Balance due paid with 2019 return
24      Other (amended returns, installment payments, etc)
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      Schedule A                 Tax and Interest Deduction Worksheet                                     2020
      Lines 5 - 12                              G Keep for your records

Name(s) Shown on Return                                                                     Social Security Number
Candy & Scott Williams                                                                              -9938

Tax Deductions

 1      State and local taxes:
                                   Optional Sales Tax Tables
     a Available Income:
       (1) Income from Form 1040, line 7                                                                  53,301.
       (2) Nontaxable income entered elsewhere on return
       (3) Available income: 2019 refundable credits in excess of tax                                          0.
       (4) Enter any additional nontaxable income
       (5) Total available income                                                                         53,301.
     b Sales Tax Per State of Residence:
       Enter state in column (1), then enter total (combined) state and local sales tax rate in column (4).
       Arizona, Colorado, Louisiana, Mississippi, New York or South Carolina only:
       Double-click in column (4) to select your locality for each state entered.

        (1)       (2)           (3)          (4)         (5)         (6)         (7)           (8)            (9)
         S       Date         Date          Enter       State       Local       State         Local        Prorated
         t     Lived in      Lived in       Total       Sales       Sales       Sales         Sales        or Total
         a      State         State        State &       Tax         Tax         Tax           Tax         Amount
         t      From            To          Local       Rate       Rate (%)     Table        Amount
         e                                 Rate (%)      (%)       (4) - (5)   Amount




     c Total general sales tax using tables
     d Sales Tax Paid on Specific Items (see help):

        (1)     (2)             (3)               (4)            (5)          (6)          (7)              (8)
        ST     Total         Description         Type           Cost        Rate if      Actual           Specific
              State &                                                      Different    Sales Tax          Item
               Local                                                                     Amount          Deduction
               Rate                                                                       Paid




     e Total sales tax deduction on specific items
     f Total general sales tax per tables plus sales tax on specific items
     g Actual State and Local General Sales Tax:
       Actual sales taxes (enter the total sales taxes paid during the year on all items)
     h State and Local Income Taxes:
       State and Local Income taxes                                                                      1,656.00
     i State and Local Tax Deduction to Schedule A, line 5a:
       Greater of line 1f, line 1g, or line 1h (to Schedule A, line 5a)                                  1,656.00
     j Check a box to choose to use income taxes paid, sales taxes paid, or whichever
       provides the greater deduction:
       Income Taxes                Sales Taxes                  Greater amount      X

 2     State and local real estate taxes:
     a Real estate taxes paid on principal residence not entered on Form 1098
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  b Real estate taxes paid on principal residence entered on Home Mortgage Int. Wks   1,468.31
  c Real estate taxes paid on additional homes or land
    Personal portion of real estate taxes from Schedule E Worksheet for:
  d Principal residence
  e Vacation home
  f Less real estate taxes deducted on Form 8829
  g Foreign real propety taxes included in lines 2a-2f above
  h Add lines 2a through 2f, less line 2g (to Schedule A, line 5b)                    1,468.00
3   State and local personal property taxes:
  a Auto registration fees based on the value of the vehicle.
    2019 Amount              Enter 2020 description:
               173.25          2014 Cadillac SRX                                        198.52
                               2015 Subaru Outback                                      198.16
                               2008 Ford F-350                                          315.53
                               2018 Rockwood                                            177.16
  b Non-business portion of personal property taxes from Car & Truck Exp Wks
  c Other personal property taxes
  d Add lines 3a through 3c (to Schedule A, line 5c)                                    889.37
4   Other taxes:
  a Other taxes from Schedule(s) K-1
  b Foreign taxes from interest and dividends
  c Foreign taxes from Schedule(s) K-1
  d Other foreign taxes (not used to claim a foreign tax credit)
  e Other taxes.
    2019 Amount              Enter 2020 description:




    f Foreign real propety taxes included in lines 4a-4e above
    g Add lines 4a through 4e, less line 4f (to Schedule A, line 6)

Interest Deductions


5       Home mortgage interest and points reported on Form 1098:
    a   Mortgage interest and points from the Home Mortgage Interest Worksheet        7,258.02
    b   Qualified mortgage interest from Schedule E Worksheet
    c   Less home mortgage interest/points deducted on Form 8829
    d   Less home mortgage interest from Form 8396, line 3
    e   Add lines 5a through 5d (to Sch A, line 8a) or line A2 from above             7,258.02
6       Home mortgage interest not reported on Form 1098:
    a   Mortgage interest from the Home Mortgage Interest Worksheet
    b   Less home mortgage interest deducted on Form 8829
    c   Add lines 6a and 6b (to Sch A, line 8b) or line B2 from above
7       Points not reported on Form 1098:
    a   Amortizable points from the Home Mortgage Interest Worksheet
    b   Other points not on Form 1098 from the Home Mortgage Interest Worksheet
    c   Less points deducted on Form 8829
    d   Add lines 7a through 7c (to Schedule A, line 8c) or line C2 from above




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     Schedule A             State and Local Tax Deduction Worksheet                            2020
       Line 5                                 G Keep for your records

Name(s) Shown on Return                                                         Social Security Number
Candy & Scott Williams                                                                  -9938

State and Local Income Taxes

     State income taxes:
 1   State income tax withheld                                                    1             1,656.
 2   2020 state estimated taxes paid in 2020                                      2
 3   2019 state estimated taxes paid in 2020                                      3
 4   Amount paid with 2019 state application for extension                        4
 5   Amount paid with 2019 state income tax return                                5
 6   Overpayment on 2019 state income tax return applied to 2020 tax              6
 7   Other amounts paid in 2020 (amended returns, installment payments, etc.)     7
 8   State estimated tax from Schedule(s) K-1 (Form 1041)                         8
     Local income taxes:
 9   Local income tax withheld                                                    9
10   2020 local estimated taxes paid in 2020                                     10
11   2019 local estimated taxes paid in 2020                                     11
12   Amount paid with 2019 local application for extension                       12
13   Amount paid with 2019 local income tax return                               13
14   Overpayment on 2019 local income tax return applied to 2020 tax             14
15   Other amounts paid in 2020 (amended returns, installment payments, etc.)    15
16   Local estimated tax from Schedule(s) K-1 (Form 1041)                        16
     Other:
17                                                                               17
18   Total Add lines 1 through 17                                                18             1,656.
19   State and local refund allocated to 2020                                    19
20   Nondeductible state income tax from line 28                                 20
21   Total reductions Add lines 19 and 20.                                       21
22   Total state and local income tax deduction Line 18 less line 21             22             1,656.

Nondeductible State Income Tax (Hawaii Only)

23   Nontaxable federal employee cost of living allowance                        23
24   Adjusted gross income                                                       24
25   Add lines 23 and 24                                                         25
26   Nondeductible percent. Line 23 divided by line 25                           26                      %
27   Hawaii state income tax included in line 18                                 27
28   Nondeductible Hawaii state income tax. Multiply line 26 by line 27.         28




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   Schedule A                     Home Mortgage Interest Worksheet                                          2020
Lines 6 and 10-13                              G Keep for your records

Name(s) Shown on Return                                                                    Social Security Number
Candy & Scott Williams                                                                                -9938

Note: Use this worksheet to report home mortgage interest you paid on your main home or second home.
      Enter mortgage interest you paid for business property other than a home office on the appropriate
      schedule or form for the business activity (Schedule C, Schedule E, etc.).

Mortgage Lender Info:
 1   Recipient’s/lender’s name                                           United Wholesale Mortgage

 2a   Was the mortgage interest reported to you on Form 1098?                                   Yes     X      No
  b   Mortgage interest paid on your main home or second home in 2020                                        7,258.02
  c   Check this box if Box 7 is checked on Form 1098
  d   Is this loan secured by a residence of yours?                                             Yes     X      No

 3    Outstanding mortgage principal                                                                     200,000.00

 4    Mortgage origination date                                                                          12/26/2019

 5 a Did your home loan close after December 31, 2006?                                          Yes            No
   b Mortgage insurance premiums

 6    Mortgage acquisition date

 7 a Points paid to buy or improve your main home in 2020
   b Check if points were reported to you on Form 1098
   c Check if points were reported on the HUD-1 loan closing statement, or
     my name is not listed first on Form 1098
     Computed points reported on Form 1098
     Computed points not reported on Form 1098

 8    Property taxes                                                                                         1,468.31

 9    Check this box if you refinanced your loan with a different lender, paid off this loan,
      or sold the property

10   Did you pay points to this lender which must be spread over the life of the loan, for example:
     points you paid on your second home, on a home equity loan, or when you refinanced,
     enter the following                                                                     Yes               No   X
   a Total points originally paid on a loan for which the points must be amortized
   b Length of loan (years)
   c Points deducted in prior years for this loan
   d Amortized points allowable this year
   e Amortizable points deducted this year (to Tax and Interest Deduction Wkst., line 7a)*
        * As adjusted by the Home Mortgage Interest Limitation Smart Worksheet below, if applicable
Uncommon Situations:
11   Were you and someone else liable for this mortgage and the other person received the
     Form 1098, enter the other person’s name and address                                    Yes               No   X
     Name
     Address
                                         City                                    State         ZIP

12    Did you buy your home from the recipient and did NOT receive a Form 1098, enter the
      recipient’s identifying number and address                                        Yes                    No   X
      Recipient’s SSN                                   -OR- Recipient’s EIN
      Recipient’s address
                                        City                                 State        ZIP

13    Did you pay more mortgage interest than what is shown on Form 1098                        Yes            No
      QuickZoom to attach a statement to your return explaining the difference




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   Schedule A             Deductible Home Mortgage Interest Worksheet                               2020
Name(s) Shown on Return                                                               Social Security Number
Candy & Scott Williams                                                                         -9938

Part 1 - Home Mortgage Loan Information

                                         Loan 1         Loan 2         Loan 3         Loan 4         Loan 5

Interest paid in 2020                     7,258.
Points paid in 2020 on 1098
Points paid in 2020 not on 1098
Mortgage origination date              12/26/2019
Months loan outstanding                        12
Principal paid on loan in 2020

 Were all proceeds of this loan
 used to buy, build or substantially
 improve the taxpayer’s home that       Yes No         Yes No         Yes No         Yes No         Yes No
 secures the loan?
 Was the mortgage interest
 reported to you on form 1098?           X

Home Debt Originating after December 15, 2017

 Beginning of year balance              200,000.
 Borrowed in 2020
 Home equity debt
 Principal applied
 Ending balance                         200,000.

 Enter amount of debt used to
 buy, build or substantially
 improve the home                       200,000.

    Average balance                     200,000.

Home Debt Originating after October 13, 1987 and on or before December 15, 2017

 Beginning of year balance
 Home equity debt
 Principal applied
 Ending balance
 Home equity debt
 Enter amount of debt used to
 buy, build or substantially
 improve the home

    Average balance

Home Debt Originating before October 14, 1987 (Grandfathered Debt)

 Beginning of year balance
 Principal applied
 Ending balance

 Enter amount of debt used to
 buy, build or substantially
 improve the home *
    * Per Pub. 936, all interest from grandfathered debt is deductible. The program will automatically
       treat the entire amount of debt as being used to buy, build or substantially improve the home
    Average balance
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                       Deductible Home Mortgage Interest Worksheet                            2020
                                            G Keep for your records
                                                                                                 Page 2

Part 1 ' Qualified Loan Limit

  Qualified loans acquired prior to October 14, 1987
1   Average balance of debt acquired prior to October 14, 1987 (grandfathered debt)    1
  Qualified loans acquired after October 13, 1987 and before December 16, 2017
2   Average balance of debt acquired after October 13, 1987 and before
    December 16, 2017                                                                  2
3   Enter $1,000,000 ($500,000 if married filing separately)                           3    1,000,000.
4   Enter larger of the amount on line 1 or the amount on line 3                       4    1,000,000.
5   Add the amounts on lines 1 and 2. Enter the total here                             5
6   Enter the smaller of the amount on line 4 or the amount on line 5                  6             0.
  Qualified loans acquired after December 15, 2017
7   Average balance of debt acquired after December 15, 2017                            7     200,000.
8   Enter $750,000 ($375,000 if married filing separately)                              8     750,000.
9   Enter larger of the amount on line 6 and the amount on line 8                       9     750,000.
10 Add the amounts on lines 6 and 7. Enter the total here.                             10     200,000.
  Total qualified loans
11 Enter the smaller of line 9 or line 10. This is your qualified loan limit           11     200,000.

Part 2 ' Deductible Home Mortgage Interest

12    Enter the total of the average balances of all mortgages from lines 1, 2 and 7
      on all qualified homes. See the line 12 instructions                             12     200,000.
13    Total amount of interest that you paid on the loans from line 12 reported on
      form 1098                                                                        13       7,258.
14    Total amount of interest that you paid on the loans from line 12 not reported
      on form 1098                                                                     14
15    Divide line 11 by line 12                                                        15     1.000000
16    Multiply line 13 by the decimal amount on line 15. Enter the result.
      This is deductible home mortgage interest for loans reported on form 1098
       Enter this amount on Schedule A line 8a                                         16       7,258.
17    Multiply line 14 by the decimal amount on line 15. Enter the result.
      This is deductible home mortgage interest for loans not reported on
      form 1098. Enter this amount on Schedule A line 8b                               17
18    Subtract line 15 from line 13. This is not home mortgage interest                18            0.




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     Schedule A                    Cash Contributions Worksheet                      2020
       Line 16                               G Keep for your records

Name(s) Shown on Return                                                Social Security Number
Candy & Scott Williams                                                         -9938

Cash Contributions

                           Name of Charitable Organization             Type     2020 Amount
      Note: Summarized from the Charitable Organization Worksheet.
           Enter amounts on the Charitable Organization Worksheet.

1a




1b    From Schedule A ' Cash contributions for qualified
      contributions elected                                       1b
 2    From Schedule K-1 ' Partnerships and S Corporations          2
 3    From Form(s) W-2, Box 14                                     3

 4   Miles driven:
   a To perform charitable service                                4a
   b From Detail of Mileage and
     Transportation Costs Worksheet
     above                                                        4b
   c Add lines 4a and 4b                                          4c
   d Multiply line 4c by 14 cents per mile                               4d
 5   Parking fees, tolls, and local transportation
   a To perform charitable service                                5a
   b From Charitable Org. Wks                                     5b
   c Add lines 5a and 5b.                                                5c
 6   Add lines 1 thru 5 and enter here (to Schedule A, line 16)           6




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     Schedule A                     Noncash Contributions Worksheet                                      2020
       Line 17                                   G Keep for your records

Name(s) Shown on Return                                                                    Social Security Number
Candy & Scott Williams                                                                                -9938

Part I         Name of Charity and Donation Value

 1       Name of charity               Deseret Industries
 2       Value of contribution                                                                             484.00

Part II        Type of Donated Property

 3       Check one:
              Tangible personal property                     Intangible property
     a    X Household items & clothing            i          Stock, Publicly traded
     b        Motor vehicle, boat, or airplane    j          Stock, Other than publicly traded
     c        Art, Other than self-created        k          Securities, Other than stock
     d        Art, Self-created                   l          Intellectual property
     e        Collectibles                        m          Other
     f        Business equipment                             Real property
     g        Business inventory                  n          Real property, Conservation property
     h        Other                               o          Real property, Other than conservation

Part III       Additional Information
               If total noncash contributions are more than $500, complete Part III

 4 a Street address of charity
   b Charity City or Town                                                        State           ZIP
 5   Unique description of donated property                   Clothing, Footwear, Accessories &
                                                              Household items

 6       Date of donation (mm/dd/yyyy or Various)                                                        06/01/2020
 7       Method used to determine the fair market value       Comparative sales

Part IV        Acquisition Information
               If the value of this contribution is more than $500, complete Part IV
               Only enter ’various’ for date acquired, if the property was held more than one year.

 8       Date the donated property was acquired (mm/dd/yyyy)
 9       How the donated property was acquired
10       Cost or adjusted basis in the donated property
11       If business equipment, enter accumulated depreciation

Part V       Deduction

12       Amount claimed as a deduction                                                                              484.




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A Candy       & Scott Williams                                                                      -9938    Page 2

Part VI        Type of Charitable Organization

13       Check one:            X     (a) 50% charity                         (b) Other than 50% charity

Part VII       Charity’s Use of Certain Appreciated Property
               Complete when value is greater than cost.

14       Is the charity’s use of property related to its exempt purpose?                               Yes       No
         Check ’No’ if the charity sold the donated property.

Part VIII      Motor vehicle, boat, airplanes

15 a Was a Form 1098-C received?                                                                       Yes       No
   b If no, did you receive other written acknowledgment?                                              Yes       No
   c Vehicle Identification Number

Part IX        Additional Information for Contributions of Property More than $5,000
               Complete Part IX for a contribution of property that has a value of more than $5,000.
               Generally, you must have a written appraisal for these contributions.

16       Was an appraisal required for this property?                                                  Yes       No
17       Appraiser Information:
     a   Date of Appraisal
     b   Appraiser Title
     c   Appraiser Identifying Number
     d   Appraiser Business Address (including room or suite number)

     e Appraiser City or Town                                                                   State ZIP Code

18       Charity Information:
     a   Charity Date of Receipt of Gift
     b   Charity Representative Title
     c   Charity Identifying Number
     d   Charity Street Address (including room or suite number)

     e Charity City or Town                                                                     State ZIP Code

19     Other Information:
     a If a group of items were donated, describe any items
       which were appraised at $500 or less
     b For tangible property, give a brief summary of its overall physical
       condition on the date it was donated
     c For stock and securities (checkboxes 3i-3j), enter average trading price
     d For bargain sales, enter the amount received

Part X       Partial Interest Donations
             If entire interest in the property was not donated, complete Part X.
             Complete Part X for a contribution of property that has a value of $5,000 or less and for
             publicly traded stock donations.

20       Was the entire interest donated for this property?                                    X       Yes       No
         If no, complete line 21
21       Partial interest donation information:
     a   Amount claimed as a deduction on 2020 tax return
     b   Deduction claimed for this property on prior years’ tax returns
     c   Location of tangible property donated
     d   Name of the person, other than the charity on line 1, who has
         possession of the donated property
         Complete lines 21e through 21g only if different from the charity on line 1:
     e   If a partial interest in this property was donated to a different charity
         in a prior year, enter the name of the charity
     f   Street address of prior charity
     g   City of prior charity                                                                  State ZIP Code

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                             Charitable Deduction Limits Worksheet                                      2020
                                For Current Year Contributions
                                              G Keep for your records

Name(s) Shown on Return                                                                 Social Security Number
Candy & Scott Williams                                                                           -9938

Step 1 ' Enter your other charitable contributions made during the year.
 1   Enter your cash contributions to 100% limit organizations                               1
 2   Enter your contributions of capital gain property "for the use of" any qualified
     organization                                                                            2
 3   Enter your other contributions "for the use of" any qualified organization.
     Don’t include any contributions you entered on a previous line                          3
 4   Enter your other contributions to qualified organizations that aren’t 50% limit
     organizations. Don’t include any contributions you entered on a previous line           4
 5   Enter your contributions of capital gain property to 50% limit organizations
     deducted at fair market value. Don’t include any contributions you entered on
     a previous line.                                                                        5
 6   Enter your noncash contributions to 50% limit organizations other than capital
     gain property you deducted at fair market value. Be sure to include
     contributions of capital gain property to 50% limit organizations if you reduced
     the property’s fair market value. Don’t include any contributions you entered
     on a previous line                                                                      6                   484.
 7   Enter your cash contributions to 50% limit organizations. Don’t include any
     contributions you entered on a previous line                                            7

Step 2 ' Figure your deduction for the year (if any result is zero or less, enter -0-)
 8      Enter your adjusted gross income (AGI)                                           8                53,301.
A Cash contributions subject to the limit based on 60% of AGI
   (If line 7 is zero, leave lines 9 through 11 blank)
 9      Multiply line 8 by 0.6                                         9
10      Deductible amount. Enter the smaller of line 7 or line 9      10
11      Carryover. Subtract line 10 from line 7                       11
B Noncash contributions subject to the limit based on 50% of AGI
   (If line 6 is zero, leave lines 12 through 15 blank)
12      Multiply line 8 by 0.5                                        12           26,651.
13      Subtract line 10 from line 12                                 13           26,651.
14      Deductible amount. Enter the smaller of line 6 or line 13     14               484.
15      Carryover. Subtract line 14 from line 6                       15                                           0.
C Contributions (other than capital gain property) subject to limit based on 30% of AGI
   (If lines 3 and 4 are both zero, leave lines 16 through 22 blank)
16      Multiply line 8 by 0.5                                        16
17      Add lines 5, 6, and 7                                         17
18      Subtract line 17 from line 16                                 18
19      Multiply line 8 by 0.3                                        19
20      Add lines 3 and 4                                             20
21      Deductible amount. Enter the smallest of line 18, 19, or 20   21
22      Carryover. Subtract line 21 from line 20                      22
D Contributions of capital gain property subject to limit based on 30% of AGI
   (If line 5 is zero, leave lines 23 through 28 blank)
23      Multiply line 8 by 0.5                                        23
24      Add lines 6 and 7                                             24
25      Subtract line 24 from line 23                                 25
26      Multiply line 8 by 0.3                                        26
27      Deductible amount. Enter the smallest of line 5, 25, or 26    27
28      Carryover. Subtract line 27 from line 5                       28
E Contributions subject to the limit based on 20% of AGI
   (If line 2 is zero, leave lines 29 through 37 blank)
29      Multiply line 8 by 0.5                                        29
30      Add lines 10, 14, 21, and 27                                  30
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31      Subtract line 30 from line 29                                   31
32      Multiply line 8 by 0.3                                          32
33      Subtract line 21 from line 32                                   33
34      Subtract line 27 from line 32                                   34
35      Multiply line 8 by 0.2                                          35
36      Deductible amount. Enter the smallest of line 2, 31, 33, 34,
        or 35                                                           36
37      Carryover. Subtract line 36 from line 2                         37
F Qualified contributions subject to limit based on 100% of AGI
   (If line 1 is zero, leave lines 38 through 42 blank)
38      Enter the amount from line 8                                    38
39      Add lines 10, 14, 21, 27, and 36                                39
40      Subtract line 39 from line 38                                   40
41      Deductible amount. Enter the smaller of line 1 or line 40       41
42      Carryover. Subtract line 41 from line 1                         42
G Deduction for the year
43      Add lines 10, 14, 21, 27 and 36. Enter the total here
        and include the deductible amounts on Schedule A (Form
        1040), line 11 or line 12 whichever is appropriate. Also,
        enter the amount from line 41 on the dotted line next to the
        line 11 entry space                                             43               484.
44      Carryover to next year. Add lines 11, 15, 22, 28 and 37         44                               0.
Note: Any amounts in the carryover column are not deductible this year but can be carried over to next
year. See Carryovers, later, for more information about how you will use them next year.




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                             Charitable Deduction Limits Worksheet                                      2020
                                  For Carryover Contributions
                                              G Keep for your records

Name(s) Shown on Return                                                                 Social Security Number
Candy & Scott Williams                                                                           -9938

Step 1 ' Enter your other charitable contributions made during the year.
 1   Enter your cash contributions to 100% limit organizations                               1
 2   Enter your contributions of capital gain property "for the use of" any qualified
     organization                                                                            2
 3   Enter your other contributions "for the use of" any qualified organization.
     Don’t include any contributions you entered on a previous line                          3
 4   Enter your other contributions to qualified organizations that aren’t 50% limit
     organizations. Don’t include any contributions you entered on a previous line           4
 5   Enter your contributions of capital gain property to 50% limit organizations
     deducted at fair market value. Don’t include any contributions you entered on
     a previous line.                                                                        5
 6   Enter your noncash contributions to 50% limit organizations other than capital
     gain property you deducted at fair market value. Be sure to include
     contributions of capital gain property to 50% limit organizations if you reduced
     the property’s fair market value. Don’t include any contributions you entered
     on a previous line                                                                      6
 7   Enter your cash contributions to 50% limit organizations. Don’t include any
     contributions you entered on a previous line                                            7

Step 2 ' Figure your deduction for the year (if any result is zero or less, enter -0-)
 8      Enter your adjusted gross income (AGI)                                          8   53,301.
                                                       Percentage           Used in
                                                         of line 8        Current Year
    a 60% AGI limit to line 9                             31,981. Less               0.   a 31,981.
    b 50% AGI limit to line 12                            26,651. Less            484.    b 26,167.
    c 30% AGI limit, Section C to line 19                 15,990. Less               0.   c 15,990.
    d 30% AGI limit, Section D to line 26                 15,990. Less               0.   d 15,990.
    e 20% AGI limit to line 35                            10,660. Less               0.   e 10,660.
A Cash contributions subject to the limit based on 60% of AGI
   (If line 7 is zero, leave lines 9 through 11 blank)
 9      Multiply line 8 by 0.6                                         9
10      Deductible amount. Enter the smaller of line 7 or line 9      10
11      Carryover. Subtract line 10 from line 7                       11
B Noncash contributions subject to the limit based on 50% of AGI
   (If line 6 is zero, leave lines 12 through 15 blank)
12      Multiply line 8 by 0.5                                        12
13      Subtract line 10 from line 12                                 13
14      Deductible amount. Enter the smaller of line 6 or line 13     14
15      Carryover. Subtract line 14 from line 6                       15
C Contributions (other than capital gain property) subject to limit based on 30% of AGI
   (If lines 3 and 4 are both zero, leave lines 16 through 22 blank)
16      Multiply line 8 by 0.5                                        16
17      Add lines 5, 6, and 7                                         17
18      Subtract line 17 from line 16                                 18
19      Multiply line 8 by 0.3                                        19
20      Add lines 3 and 4                                             20
21      Deductible amount. Enter the smallest of line 18, 19, or 20   21
22      Carryover. Subtract line 21 from line 20                      22
D Contributions of capital gain property subject to limit based on 30% of AGI
   (If line 5 is zero, leave lines 23 through 28 blank)
23      Multiply line 8 by 0.5                                        23
24      Add lines 6 and 7                                             24
25      Subtract line 24 from line 23                                 25
26      Multiply line 8 by 0.3                                        26
27      Deductible amount. Enter the smallest of line 5, 25, or 26    27
28      Carryover. Subtract line 27 from line 5                       28
E Contributions subject to the limit based on 20% of AGI
   (If line 2 is zero, leave lines 29 through 37 blank)
29      Multiply line 8 by 0.5                                        29
30      Add lines 10,9:23-ap-09001-BPH
                       14, 21, and 27              Doc#: 35-27 Filed:3011/15/23 Page 60 of 166
31      Subtract line 30 from line 29                                   31
32      Multiply line 8 by 0.3                                          32
33      Subtract line 21 from line 32                                   33
34      Subtract line 27 from line 32                                   34
35      Multiply line 8 by 0.2                                          35
36      Deductible amount. Enter the smallest of line 2, 31, 33, 34,
        or 35                                                           36
37      Carryover. Subtract line 36 from line 2                         37
F Qualified contributions for certain disaster relief efforts (Not applicable for carryovers)
   (If line 1 is zero, leave lines 38 through 42 blank)
38      Enter the amount from line 8                                    38
39      Add lines 10, 14, 21, 27, and 36                                39
40      Subtract line 39 from line 38                                   40
41      Deductible amount. Enter the smaller of line 1 or line 40       41
42      Carryover. Subtract line 41 from line 1                         42
G Deduction for the year
43      Add lines 10, 14, 21, 27 and 36. Enter the total here
        and include the deductible amounts on Schedule A (Form
        1040), line 11 or line 12 whichever is appropriate. Also,
        enter the amount from line 41 on the dotted line next to the
        line 11 entry space                                             43
44      Carryover to next year. Add lines 11, 15, 22, 28 and 37         44
Note: Any amounts in the carryover column are not deductible this year but can be carried over to next
year. See Carryovers, later, for more information about how you will use them next year.




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                                   Charitable Contributions Summary                                              2020
                                              G Keep for your records
Name(s) Shown on Return                                                                          Social Security Number
Candy & Scott Williams                                                                                   -9938
Part I        Cash Contributions Summary
                                                 (a)             (b)              (c)                (d)
     Name of Charitable Organization            Total           60%              30%                100%
                                                                Limit            Limit              Limit




     Totals:

Part II       Non-Cash Contributions Summary
                                                Total             Other Property                   Capital Gain Property

                                                 (a)             (b)              (c)                (d)             (e)
     Name of Charitable Organization            Total           50%              30%                30%             20%
                                                                Limit            Limit              Limit           Limit

     Deseret Industries                            484.            484.




     Totals:                                       484.            484.
Part III      Contribution Carryovers to 2021
                           Total                        Cash and Other                                      Capital Gain
                                                    Non-Capital Gain Property                                Property

                            (a)          (b)             (c)             (d)              (e)              (f)          (g)
                           Total        100%            60%             50%              30%             30%           20%
                                        Limit           Limit           Limit            Limit           Limit         Limit

1 2020 contributions          484.                                         484.
2 2020 contributions
    allowed                   484.                                         484.
3 Carryovers from:
 a 2019 tax year                        N/A
 b 2018 tax year                        N/A
 c 2017 tax year                        N/A
 d 2016 tax year                        N/A
 e 2015 tax year                        N/A
4 Carryovers
    allowed in 2020                     N/A
5 Carryovers
    disallowed in 2020                  N/A
6 Carryovers to 2021:
 a From 2020                       0.                                           0.
 b From 2019                            N/A
 c From 2018                            N/A
 d From 2017                            N/A
 e From 2016                            N/A
 f From 2015                            N/A

Part IV       Special Situations in Your Return for Current Year Donations
1      Was the entire interest given for all property donated to all charities?                      X    Yes              No
2      Were restrictions attached to any charities’s right
       to use or dispose of any property donated to any charity?                                          Yes      X       No
3      Did you give to anyone other than the charity the right to income from any
       of the donated property or to possession of any of the donated property?                           Yes      X       No
4                   9:23-ap-09001-BPH
       Was any charity                           Doc#: 35-27 Filed: 11/15/23
                        other than a 60%/50% charity?                                             Page Yes
                                                                                                       62 of 166
                                                                                                              X No
     Schedule A           Miscellaneous Itemized Deductions Worksheet                                  2020
      Lines 16                                G Keep for your records

Name(s) Shown on Return                                                                  Social Security Number
Candy & Scott Williams                                                                           -9938

FOR STATE USE ONLY: Employee Business Expenses ' Subject to 2% Limitation

 1   Deductible expenses from Form 2106, line 10 less deductions for
     performing artists and armed forces reservists claimed elsewhere                      1
 2 a Qualified Educator Expenses (from Educator Expenses Worksheet)                       2a
   b Educator Expense Deduction (from 1040, line 23)                                      2b
   c Excess Educator Expenses (line 2a less line 2b)                                      2c
 3   Union and professional dues                                                           3
 4   Professional subscriptions                                                            4
 5   Uniforms and protective clothing                                                      5
 6   Job search costs                                                                      6
 7   Tax preparation fees                                                                  7                 160.
 8   Entertainment expenses                                                                8
 9   Other:
                                                                                           9



10     Combine lines 1 through 9                                                          10                 160.

FOR STATE USE ONLY:                                                     Investment
Miscellaneous Expenses ' Subject to 2% Limitation                       Expense      T
Check the box in investment column if an investment expense

11     Depreciation and amortization deductions                                      X    11
12     Casualty/theft losses of property used in services as an employee                  12
13     REMIC expenses, from Schedule E                                               X    13
14     Investment expenses related to interest and dividend income                   X    14
15     Expenses related to portfolio income, from Schedule(s) K-1                    X    15
16     Miscellaneous deductions, from Schedule(s) K-1                                     16
17     RESERVED                                                                           17
18     Investment counsel and advisory fees                                          X    18
19     Certain attorney and accounting fees                                          X    19
20     Safe deposit box rental fees                                                  X    20
21     IRA custodial fees                                                            X    21
22     Loss incurred from total distribution of all traditional IRAs                      22
23     Loss incurred from total distribution of all Roth IRAs                             23
24     Loss incurred from final distribution of a QTP investment                          24
25     Hobby expense (limited to hobby income)                                            25
26     Other:
     a Prior year government unemployment benefits repaid in 2020                         26
     b



27 Combine lines 11 through 26                                                            27

FOR FEDERAL AND STATE USE:
Other Miscellaneous Deductions ' Not Subject to 2% Limitation

28     Expenses related to portfolio income, from Schedule(s) K-1                    X    28
29     Federal estate tax paid on decedent’s income reported on this return               29
30     Impairment-related expenses of a handicapped employee, from Form 2106              30
31     Amortizable bond premiums on bonds acquired before 10/23/86                        31
32     Gambling losses                                                                    32
33     Deduction for repayment of amounts under claim of right if over $3,000             33
34     Casualty/theft losses of income-producing property                                 34
35     Unrecovered investment in annuity                                                  35
36     Ordinary loss attributable to certain debt instruments                             36
37     Net Qualified Disaster Loss                                                        37
38     Combine lines 28 through 37 (to Schedule A, line 16)                               38
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 Form 1040 or           Standard Deduction Worksheet for Dependents                                     2020
1040-SR, Line 12                              G Keep for your records

Name(s) Shown on Return                                                                  Social Security Number
Candy & Scott Williams                                                                            -9938

Use this worksheet only if someone can claim you, or your spouse if filing jointly, as a dependent.
 1    Is your earned income* more than $750?
             Yes. Add $350 to your earned income. Enter the total                              1
             No. Enter $1,100
 2    Enter the amount shown below for your filing status.
      ? Single or married filing separately ' $12,400
      ? Married filing jointly ' $24,800                                                       2             24,800.
      ? Head of household ' $18,650
 3    Standard deduction.
 3 a Enter the smaller of line 1 or line 2. If born after January 1, 1956, and not
      blind, stop here and enter this amount on Form 1040 or 1040-SR, line 12.
      Otherwise, go to line 3b                                                                 3a
 3 b If born before January 2, 1956, or blind, multiply the number claimed on top of
      page 2 of Form 1040 Wkst by $1,300 ($1,650 if single or head of household)               3b
 3 c Add lines 3a and 3b. Enter the total here and on Form 1040 or 1040-SR, line 12            3c

*Earned income includes wages, salaries, tips, professional fees, and other compensation received for
personal services you performed. It also includes any taxable scholarship or fellowship grant. Generally,
your earned income is the total of the amount(s) you reported on Form 1040 or 1040-SR, line 1,
and Schedule 1, lines 3 and 6, minus the amount, if any, on Schedule 1, line 14. Earned income, for
the purpose of figuring your standard deduction, doesn’t include qualified disability trust distributions.




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                                        Earned Income Worksheet                              2020
                                               G Keep for your records

Name(s) Shown on Return                                                        Social Security Number
Candy & Scott Williams                                                                 -9938

Part I ' Earned Income Credit Worksheet Computation

                                                               Taxpayer     Spouse              Total
 1       If filing Schedule SE:
     a   Net self-employment income                             -24,478.                       -24,478.
     b   Optional Method and Church Employee income
     c   Add lines 1a and 1b                                    -24,478.                       -24,478.
     d   One-half of self-employment tax
     e   Subtract line 1d from line 1c                          -24,478.                       -24,478.
 2       If not required to file Schedule SE:
     a   Net farm profit or (loss)
     b   Net nonfarm profit or (loss)
     c   Add lines 2a and 2b
 3       If filing Schedule C as a statutory employee,
         enter the amount from line 1 of that
         Schedule C
 4       Add lines 1e, 2c and 3. To EIC Wks, line 5             -24,478.                       -24,478.

Part II ' Form 2441 and Standard Deduction Worksheet Computations

 5       Net self-employment earnings (line 4 above)            -24,478.                       -24,478.
 6       Wages, salaries, and tips less distributions
         from nonqualified or section 457 plans, etc              78,029.                        78,029.
 7a      Taxable employer-provided adoption benefits
   b     Foreign earned income exclusion
 8       Add lines 5 through 7b. To Form 2441, lines 18
         and 19                                                   53,551.                        53,551.
 9a      Taxable dependent care benefits
   b     Nontaxable combat pay
10       Add lines 8, 9a & 9b . To Form 2441, lines
         4 and 5                                                  53,551.                        53,551.
11       Scholarship or fellowship income not on W-2
12       SE exempt earnings less nontaxable income
13       Distributions from nonqualified/Sec. 457 plans
14       Add lines 5, 6, 7a, 9a and 11 through 13.
          To Standard Deduction Worksheet                         53,551.                        53,551.

Part III ' IRA Deduction Worksheet Computation

15       Net self-employment income or (loss)                   -24,478.                       -24,478.
16       Wages, salaries, tips, etc                              78,029.                        78,029.
17       Net self-employment loss                                24,478.                        24,478.
18       Alimony received
19       Nontaxable combat pay
20       Foreign earned income exclusion
21       Keogh, SEP or SIMPLE deduction
22       Combine lines 15 through 21. To IRA Wks, ln 2            78,029.                        78,029.

Part IV ' Schedule 8812 and Child Tax Credit Line 14 Worksheet Computations

23       Self-employed, church and statutory employees          -24,478.                       -24,478.
24       Wages, salaries, tips, etc                              78,029.                        78,029.
25       Nontaxable combat pay
26       Combine lines 23 through 25. To Schedule
         8812, line 6a & Line 14 Wks, line 2                      53,551.                        53,551.
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     Form 1040                        Earned Income Credit Worksheet                                      2020
      Line 17a                                   G Keep for your records

Name(s) Shown on Return                                                                   Social Security Number
Candy & Scott Williams                                                                             -9938

     QuickZoom to Schedule EIC
     QuickZoom to Dependent Information Worksheet to enter qualifying children information
     QuickZoom to Wages, Salaries, & Tips Worksheet to enter earned and non-earned income
     QuickZoom to page 2 of this worksheet, if credit is not calculated on line 7

 1       Enter the amount from Form 1040 line 1
         less amounts considered not earned for EIC purposes                                   1            78,029.
 2       Adjustments to line 1 amount:
     a   Income reported as wages and as self-employment income                                2a
     b   Other income entered as wages that is not considered earned income                      b
     c   Distributions from section 457 and other nonqualified plans reported on W-2             c
 3       Subtract lines 2a, 2b and 2c from line 1                                              3            78,029.
 4a      Taxpayer’s nontaxable combat pay election for EIC              4a
   b     Spouse’s nontaxable combat pay election for EIC                  b
   c     Total nontaxable combat pay election                                                  4c
 5       If you were self-employed or used Schedule C
         as a statutory employee, enter the amount from the
         Earned Income Worksheet, line 4                                                       5          -24,478.
 6       Medicaid Waiver Payments reported as nontaxable                                       6
 7       Earned income. Add lines 3, 4, 5, and 6                                               7            53,551.
 8       Enter the credit, from the EIC Table, for the amount on line 7. Be sure to use
         the correct column for filing status and number of children                           8                   0.

         If line 8 is zero, stop. You cannot take the credit.
         Enter "No" on the dotted line next to Form 1040, line 27.

 9       Enter your AGI from Form 1040, line 11                                                9
10       If you have:
         ? No qualifying children, is the amount on line 9 less than $8,800
             ($14,700 if married filing jointly)?
         ? 1 or more qualifying children, is the amount on line 9 less than $19,350
             ($25,250 if married filing jointly)?

          X    Yes. Go to line 11 now.
               No. Enter the credit, from the EIC Table, for the amount on line 9. Be
               sure to use the correct column for filing status and number of children        10
11       Earned income credit.
         ? If ’Yes’ on line 10, enter the amount from line 8
         ? If ’No’ on line 10, enter the smaller of line 8 or line 10                         11



         Enter line 11 amount on Form 1040, line 27.




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Candy & Scott Williams                                                                                   -9938   Page 2

 If one or more of the boxes below are checked, the earned income credit is not allowed.



 1       The total taxable earned income (line 7 above) is equal to or more than:
          X $15,820 ($21,710 if married filing jointly) without a qualifying child.
               $41,756 ($47,646 if married filing jointly) with one qualifying child.
               $47,440 ($53,330 if married filing jointly) with two qualifying children.
               $50,954 ($56,844 if married filing jointly) with more than two qualifying children.

 2       The Adjusted Gross Income (line 9 above) is equal to or more than:
          X $15,820 ($21,710 if married filing jointly) without a qualifying child.
              $41,756 ($47,646 if married filing jointly) with one qualifying child.
              $47,440 ($53,330 if married filing jointly) with two qualifying children.
              $50,954 ($56,844 if married filing jointly) with more than two qualifying children.

 3             Investment income is more than $3,650.
               (Investment Income Smart Worksheet, item H above)

 4             The married filing separate return status is checked.
               (Information Worksheet, Part II)

 5             Taxpayer (or spouse if filing joint) is a qualifying child of another person.
               (Information Worksheet, Part IV)

 6             Without a qualifying child, and your (or your spouse’s, if married filing jointly)
               main home is in the U.S. less than half the year.
               (Information Worksheet, Part IV)

 7             Without a qualifying child, and taxpayer (and spouse if filing joint) are under age 25
               or over age 64.
               (Information Worksheet, Part I)

 8             Without a qualifying child, and taxpayer (or spouse if filing joint) is eligible to be claimed
               as a dependent on someone else’s return.
               (Information Worksheet, Part I)

 9             Social Security Number is invalid for EIC purposes, for taxpayer, (or spouse,
               if married filing joint).
               (Information Worksheet, Part I)

10             Have qualifying children, but all are either
     a         qualifying children of another person, or
     b         invalid social security numbers for EIC purposes.
               (Information Worksheet, Part III)

11             Disallowed by IRS to claim Earned Income Credit in 2020.
               (Information Worksheet, Part IV)

12             Filing Form 2555, Foreign Earned Income.

13             Not a citizen or resident alien for the entire year, claiming dual status.
               (Information Worksheet, Part VI)

14             Head of household filing status and lived with nonresident alien spouse during the last six
               months of the year.
               (Information Worksheet, Part IV)

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Candy & Scott Williams                                                                           -9938       Page 3

 Compliance and Due Diligence Information

 1 Is this how long your dependents lived with you in the U.S in 2020?

           Yes, all of the above is correct.
           No, I’ll go back and review my dependent information.
     The IRS may ask you for documents to prove you lived with anyone you’re claiming for the Earned
     Income Credit.

      Is this where you lived with your dependents the longest in 2020?



 2        Yes, my dependents lived with me at this address.
          No, I’d like to add an additional address where I lived with my dependents. Use the Interview to
          add an additional address where you lived with your dependents the longest in 2020.

     Compliance and Due Diligence Indicator                                                                    X
     Disqualified from Earned Income Credit                                                      X Yes         No



Potential qualifying child count                                                                                0
Non dependent potential qualifying child count                                                                  0
Qualifying child count (max 3)                                                                                  0




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                                Schedule SE Adjustments Worksheet                             2020
                                              G Keep for your records

Name(s) Shown on Return                                                         Social Security Number
Candy & Scott Williams                                                                   -9938

                                                                          (a) Taxpayer       (b) Spouse

     QuickZoom to the Long Schedule SE                                    X

A      Approved Form 4029. Exempt from SE tax on all income
B      Chapter 11 bankruptcy net profit or loss for Schedule SE, line 3
C      QuickZoom to the Explanation statement for any adjustment to
       SE income/loss shown on a partnership K-1. (See Help)

Part I         Farm Profit or (Loss) Schedule SE, line 1
 1     Total Schedules F
 2     Farm partnerships, Schedules K-1
 3     Other SE farm profit or (loss) (See Help)
 4     Less SE exempt farm profit or (loss) (See Help)
 5     Total for Schedule SE, line 1
 6     Conservation Reserve Program payments not subject to self-
       employment tax reported on:
     a Schedule F, line 4b
     b Schedule K-1 (Form 1065), box 20, code AH
     c Total CRP payments not subject to SE tax

Part II        Nonfarm Profit or (Loss) Schedule SE, line 2
 1a    Total Schedules C                                                      -24,478.
   b   Less SE exempt Schedules C (approved Form 4361)
 2     Nonfarm partnerships, Schedules K-1
 3     Forms 6781
 4     Other SE income reported as income on Form 1040, line 7
 5a    Clergy Form W-2 wages
   b   Clergy housing allowance
   c   Less clergy business deductions
   d   QuickZoom to the Explanation statement for entry on line 5c
 6     Other SE nonfarm profit or (loss) (See Help)
 7     Less other SE exempt nonfarm profit or (loss) (See Help)
 8     Total for Schedule SE, line 2                                          -24,478.
 9     Exempt Notary Public income for Schedule SE, line 3 (See Help)

Part III      Farm Optional Method Schedule SE, page 2, Part II
 1     Use Farm Optional Method
 2     Gross farm income from Schedules F
 3     Gross farming or fishing income from partnership Schedules K-1
 4     Other gross farming or fishing self-employment income
 5     Total gross income for Farm Optional Method

Part IV       Nonfarm Optional Method Schedule SE, page 2, Part II
 1     Use Nonfarm Optional Method (Must have had net SE earnings
       of $400 or more in 2 of prior 3 years and used the
       Nonfarm Optional Method less than 5 times)
 2     Gross nonfarm income from Schedules C
 3     Gross nonfarm income from partnership Schedules K-1
 4     Other gross nonfarm self-employment income
 5     Total gross income for Nonfarm Optional Method


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  Form 4684                         Casualty and Theft Worksheet                                          2020
                            Use a separate worksheet for each casualty or theft event.
                                            G Keep for your records

Name(s) shown on return                                                                  Social Security No.
Candy & Scott Williams                                                                            -9938

Part I     Casualty or Theft Event Information

  1  Description of this casualty or theft event
  2  Date of casualty or theft event
  3  Use of property, check one if not a Ponzi loss (line 5c):
   a Personal (includes home office deducted under simplified method, see tax help)
   b Business, employment, or income-producing
  4 If box 3a is checked, check one:
   a This event qualifies as a Hurricane Harvey or Tropical Storm Harvey Disaster
   b This event qualifies as a Hurricane Irma Disaster
   c This event qualifies as a Hurricane Maria Disaster
   d This event qualifies as a 2017 California Wildfire Disaster (01/01/2017-01/18/2018)
   e This event is a qualified federally declared major disaster
   f This event is a federally declared disaster (not "qualified")
   g This event qualifies as a 2016 federally declared disaster area
   h This event does not qualify as a federally declared disaster
   i Enter the FEMA disaster decl. number if any line 4a-g is checked. Enter the four-
     digit number only. If the FEMA disaster decl. number begins with DR, enter it here
   j If the FEMA disaster decl. number begins with EM instead of DR, enter it here
  5 If box 3b is checked, check one:
   a Check if the property was used in a passive activity
   b Check if the property was not used in a passive activity
   c Check if this is a Rev Proc 2009-20 Ponzi-Type loss
  6 Worksheet Copy Number                                                                                      1

Part II      Property Information for All Properties Damaged or Stolen in the Casualty or Theft Event



      a Description including type of property
      b For personal use property, enter the address, city, state and ZIP code

      c Date acquired                                               d Cost or other basis
      e Insurance or other reimbursement
      f FMV before event                                                g FMV after event
      h Was this a total loss ?                      Yes                  No
      i If personal use, is this a collectible ?     Yes                  No
      j If business use, check one:                  Business             Employ              Income
      k If home office (standard method) enter:      Sch C             No Sch C         Ln 27
      a Description including type of property
      b For personal use property, enter the address, city, state and ZIP code

      c Date acquired                                              d Cost or other basis
      e Insurance or other reimbursement
      f FMV before event                                              g FMV after event
      h Was this a total loss ?                     Yes                 No
      i If personal use, is this a collectible ?    Yes                 No
      j If business use, check one:                 Business            Employ              Income
      k If home office (standard method) enter:     Sch C             No Sch C        Ln 27




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     Form 6251                        Schedule D Tax Worksheet                                            2020
      Line 37                             as refigured for the
                                       Alternative Minimum Tax
                                             G Keep for your records

Name(s) Shown on Return                                                                   Social Security Number
Candy & Scott Williams                                                                             -9938

                                                                         (a)                 (b)              (c)
                                                                       Before           Allocation of        After
                                                                    Allocation of       Capital Gain     Allocation of
                                                                    Capital Gain         Excess *        Capital Gain
                                                                     Excess *                               Excess

 1   Not applicable
 2   Enter your total qualified dividends as refigured for
     the Alternative Minimum Tax (AMT):
   a Total qualified dividends
   b Adjustment from Schedules K-1
   c Other adjustments to qualified dividends
   d Total. Combine lines 2a, 2b, and 2c                                                           0.               0.
 3   Enter the amount from Form 4952 for AMT, line 4g
 4   Enter the amount from Form 4952 for AMT, line 4e
 5   Subtract line 4 from line 3. If zero or less, enter -0-                   0.                                   0.
 6   Subtract line 5 from line 2. If zero or less, enter -0-                   0.                                   0.
 7   Net long-term capital gain:
   a Enter the gain from line 15 of Schedule D
     as refigured for the AMT                                 0.
   b Enter the gain from line 16 of Schedule D
     as refigured for the AMT                                 0.
   c Enter the smaller of line 7a or line 7b                                   0.                                   0.
 8   Enter the smaller of line 3 or line 4
 9   Subtract line 8 from line 7c. If zero or less, enter -0-                  0.                  0.               0.
10   Add lines 6 and 9                                                         0.                                   0.
     A Enter the amount from Form 6251, line 6.                                0.
     B Capital gain excess. Subtract line A from line 10. *                    0.
11   Total 28% rate and unrecaptured section 1250 gain:
   a Enter the gain from line 18 of Schedule D
     as refigured for the AMT                                 0.
   b Enter the gain from line 19 of Schedule D
     as refigured for the AMT
   c Add lines 11a and 11b                                                                                          0.
12   Enter the smaller of line 9 or line 11c                                                                        0.
13   Subtract line 12 from line 10. Also enter this amount
     on Form 6251, line 13.                                                                                         0.

       * Capital gain excess applies only if filing Form 2555, Foreign Earned Income.




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     Form 6251                 Alternative Minimum Tax Worksheet                                    2020
                                             G Keep for your records

Name(s) Shown on Return                                                               Social Security Number
Candy & Scott Williams                                                                         -9938

Taxable Income ' Line 1

 1    Enter the amount from Form 1040 or 1040-SR, line 15, if more than zero. If
      Form 1040 or 1040-SR, line line 15, is zero, subtract lines 12 and 13 of Form
      1040 of 1040-SR from line 11 of Form 1040 or 1040-SR and enter the result
      here. (If less than zero, enter as a negative amount.)                               1            28,501.
 2    Additions to income                                                                  2
 3    Add lines 1 and 2                                                                    3            28,501.
 4    Subtractions from income                                                             4
 5    Subtract line 4 from line 3. Enter on Form 6251, line 1                              5            28,501.

Taxes ' Line 2a

 1    Generation skipping transfer taxes included on Schedule A, line 6                    1

Refund of Taxes ' Line 2b

 1    Taxable refund of state and local income tax                                         1                   0.
 2    Amount and description of any refund of state and local personal property
      taxes, foreign income or real property taxes                                         2
 3    Total tax refund adjustment. Enter on Form 6251, line 2b                             3                   0.

Alternative Tax Net Operating Loss Deduction (ATNOLD) ' Line 2f

 1    Alternative minimum taxable income (AMTI) without ATNOLD                             1            53,301.
 2    Enter adjustments                                                                    2
 3    Adjustment for domestic production activities deduction                              3
 4    Adjusted AMTI without ATNOLD. Add lines 1-3                                          4            53,301.
 5    ATNOLD limitation. Multiply line 4 by 90%                                            5            47,971.
 6    Enter ATNOL carried to 2019 from other year(s)                                       6
 7    Enter ATNOL included above attributable to qualified disaster losses                 7
 8    ATNOL above not attributable to qualified disaster losses. Line 6 minus 7            8
 9    ATNOL deduction other than qualified disaster losses. Lesser of line 5 or 8          9
10    ATNOL Disaster Deduction. Lesser of line 7 or (line 4 minus line 9)                 10
11    ATNOLD. Add lines 9 and 10. Enter on Form 6251, line 2f, as neg                     11

Incentive Stock Options ' Line 2i

 1    Incentive stock options adjustment from Schedule K-1 worksheets                      1
 2    Incentive stock options from Employer Stock Transaction Worksheets                   2
 3    Incentive stock options from Exercise of Stock Options Worksheets                    3
 4    Other incentive stock options                                                        4
 5    Total incentive stock options. Enter on Form 6251, line 2i                           5




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Candy & Scott Williams                                                                       -9938   Page 3
Alternative Minimum Taxable Income ' Line 4

If married filing separately and Form 6251, line 4, is more than $745,200:
  1 Alternative minimum taxable income, Form 6251                                        1
  2 Threshold amount                                                                     2
  3 Subtract line 2 from line 1                                                          3
  4 Multiply line 3 by 25% (.25)                                                         4
  5 Smaller of line 4 or $56,700                                                         5
  6 Add line 1 and line 5. Enter on Form 6251, line 4                                    6

Exemption ' Line 5

 1    Enter $72,900 if single or head of household, $113,400 if married filing jointly
      or qualifying widow(er), $56,700 if married filing separately                      1        113,400.
 2    Enter your alternative minimum taxable income from Form 6251, line 4               2         53,301.
 3    Enter $518,400 if single or head of household, $1,036,800 if married filing
      jointly or qualifying widow(er), $518,400 if married filing separately             3      1,036,800.
 4    Subtract line 3 from line 2. If zero or less, enter -0-                            4              0.
 5    Multiply line 4 by 25% (.25)                                                       5              0.
 6    Subtract line 5 from line 1. If zero or less, enter -0-. Enter on 6251, line 5     6        113,400.




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    Form 6251                         Foreign Earned Income                                            2020
      Line 7                    Alternative Minimum Tax Worksheet
                                              G Keep for your records


Name(s) Shown on Return                                                                  Social Security Number
Candy & Scott Williams                                                                            -9938

 1   Enter the amount from Form 6251, line 6                                                  1
 2 a Enter the amount from your (and your spouse’s if filing jointly) Form 2555,
     lines 45 and 50                                                                         2a
   b Enter the total amount of any itemized deductions or exclusions you couldn’t
     claim because they are related to excluded income                                       2b
   c Subtract line 2b from line 2a. If zero or less, enter 0                                 2c
 3   Add line 1 and line 2c                                                                   3
 4   Tax on the amount on line 3.
      ? If you reported capital gain distributions directly on Form 1040 or 1040-SR,
         line 7; or you reported qualified dividends on Form 1040 or 1040-SR, line
         3a; or you had a gain on both lines 15 and 16 of Schedule D (Form 1040 or
         1040-SR) (as refigured for the AMT, if necessary), enter the amount from
         line 3 of this worksheet on Form 6251, line 12. Complete the rest of Part III
         of Form 6251. However, before completing Part III, see Form 2555, later, to
         see if you must complete Part III with certain modifications. Then enter the
         amount from Form 6251, line 40, here.
      ? All Others: If line 3 is $197,900 or less ($98,950 or less if married filing
         separately), multiply line 3 by 26% (0.26). Otherwise, multiply line 3 by
         28% (0.28) and subtract $3,958 ($1,979 if married filing separately) from
         the result.                                                                          4
 5   Tax on amount on line 2c. If line 2c is $197,900 or less ($98,950 or less if
     married filing separately), multiply line 2c by 26% (0.26). Otherwise, multiply
     line 2c by 28% (0.28) and subtract $3,958 ($1,979 if married filing separately)
     from the result                                                                          5
 6   Subtract line 5 from line 4. Enter the result here and on Form 6251, line 7.             6




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                                       Federal Carryover Worksheet                                    2020
                                                 G Keep for your records

Name(s) Shown on Return                                                                 Social Security Number
Candy & Scott Williams                                                                            -9938

2019 State and Local Income Tax Information

    (a)              (b)               (c)             (d)              (e)            (f)             (g)
  State or        Paid With       Estimates Pd     Total With-       Paid With     Total Over-       Applied
  Local ID        Extension        After 12/31     held/Pmts          Return        payment          Amount
  UT                                                   2,067.                         1,159.




Totals                                                 2,067.                         1,159.

2019 State Extension Information                             2019 Locality Extension Information

           (a)                        (b)                             (a)                    (b)
          State               Paid With Extension                   Locality         Paid With Extension




2019 State Estimates Information                             2019 Locality Estimates Information

           (a)                      (c)                               (a)                    (c)
          State          Estimates Paid After 12/31                 Locality      Estimates Paid After 12/31




2019 State Taxes Due Information                             2019 Locality Taxes Due Information

           (a)                       (e)                              (a)                   (e)
          State                Paid With Return                     Locality          Paid With Return




2019 State Refund Applied Information                        2019 Locality Refund Applied Information

           (a)                       (g)                              (a)                    (g)
          State                Applied Amount                       Locality           Applied Amount




2019 State Tax Refund Information                            2019 Locality Tax Refund Information

    (a)                (d)                  (f)                    (a)           (d)                  (f)
                      Total               Total                                 Total               Total
   State          Withheld/Pmts        Overpayment               Locality   Withheld/Pmts        Overpayment
  UT                     2,067.                  1,159.




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Federal Carryover Worksheet page 2                                                        2020

Candy & Scott Williams                                                               -9938


Other Tax and Income Information                                             2019            2020

 1     Filing status                                                1     3 MFS         2 MFJ
 2     Number of exemptions for blind or over 65 (0 - 4)            2
 3     Itemized deductions                                          3          4,037.        11,755.
 4     Check box if required to itemize deductions                  4
 5     Adjusted gross income                                        5         35,103.        53,301.
 6     Tax liability for Form 2210 or Form 2210-F                   6          2,557.         2,911.
 7     Alternative minimum tax                                      7
 8     Federal overpayment applied to next year estimated tax       8

 QuickZoom to the IRA Information Worksheet for IRA information

Excess Contributions                                                         2019            2020

 9a    Taxpayer’s excess Archer MSA contributions as of 12/31       9a
   b   Spouse’s excess Archer MSA contributions as of 12/31           b
10 a   Taxpayer’s excess Coverdell ESA contributions as of 12/31   10 a
   b   Spouse’s excess Coverdell ESA contributions as of 12/31        b
11 a   Taxpayer’s excess HSA contributions as of 12/31             11 a
   b   Spouse’s excess HSA contributions as of 12/31                  b

Loss and Expense Carryovers                                                  2019            2020
Note: Enter all entries as a positive amount

12 a Short-term capital loss                                       12 a
   b AMT Short-term capital loss                                      b
13 a Long-term capital loss                                        13 a
   b AMT Long-term capital loss                                       b
14 a Net operating loss available to carry forward                 14 a
   b AMT Net operating loss available to carry forward                b
15 a Investment interest expense disallowed                        15 a
   b AMT Investment interest expense disallowed                       b
16 Nonrecaptured net Section 1231 losses from:         a   2020    16 a
                                                       b   2019       b
                                                       c   2018       c
                                                       d   2017       d
                                                       e   2016       e
                                                       f   2015       f
17   AMT Nonrecap’d net Sec 1231 losses from:          a   2020    17 a
                                                       b   2019       b
                                                       c   2018       c
                                                       d   2017       d
                                                       e   2016       e
                                                       f   2015       f




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Federal Carryover Worksheet page 3                                                                            2020
Candy & Scott Williams                                                                                  -9938

Credit Carryovers                                                                          2019                 2020

18        General business credit                                              18
19        Adoption credit from:      a 2020                                    19 a
                                     b 2019                                       b
                                     c 2018                                       c
                                     d 2017                                       d
                                     e 2016                                       e
                                     f 2015                                       f
20        Mortgage interest credit from:     a 2020                            20 a
                                             b 2019                               b
                                             c 2018                               c
                                             d 2017                               d
21        Credit for prior year minimum tax                                    21
22        District of Columbia first-time homebuyer credit                     22
23        Residential energy efficient property credit                         23

Other Carryovers                                                                           2019                 2020

24        Section 179 expense deduction disallowed                             24
25        Excess          a Taxpayer (Form 2555, line 46)                      25 a
          foreign         b Taxpayer (Form 2555, line 48)                         b
          housing         c Spouse (Form 2555, line 46)                           c
          deduction:      d Spouse (Form 2555, line 48)                           d

Charitable Contribution Carryovers

26        2019 Carryover of                   Other Property                        Capital Gain                Cash
          charitable
          contributions from:             (a) 50%            (b) 30%          (c) 30%         (d) 20%        (e) 60/100%

     a    2019
     b    2018
     c    2017
     d    2016
     e    2015

27        2020 Carryover of                   Other Property                        Capital Gain                Cash
          charitable
          contributions from:             (a) 50%            (b) 30%          (c) 30%         (d) 20%        (e) 60/100%

     a    2020
     b    2019
     c    2018
     d    2017
     e    2016

28        Amount overpaid less earned income credit                                                                        0.


Qualified Business Income Deduction (Section 199A) carryovers                              2019                 2020

29        Qualified business loss carryforward                                 29         -25,997.             -50,475.
30        Qualified PTP loss carryforward                                      30
31        Applicable percentage        2018             31 a
                                       2019                b              100.00

2019 State Capital Loss Carryovers (For users not transferring from the prior year)

         State    Short-term      AMT Short-term     Long-term         AMT Long-term    Capital Loss    AMT Capital Loss
          ID      Capital Loss     Capital Loss     Capital Loss        Capital Loss    (combined)        (combined)
                   for State        for State         for State          for State        for State         for State




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    Form 8582             Modified Adjusted Gross Income Worksheet                                    2020
      Line 7                                 G Keep for your records

Name(s) Shown on Return                                                                 Social Security Number
Candy & Scott Williams                                                                          -9938

                                             Description                                               Amount

Income

Wages                                                                                                     78,029.
Interest income before Series EE bond exclusion
Dividend income
Tax refund                                                                                                         0.
Alimony received
Nonpassive business income or loss                                                                      -24,478.
Royalty and nonpassive rental activities income or loss
Nonpassive partnership income or loss
Nonpassive S corporation income or loss
Nonpassive farm rental income or loss
Nonpassive farm income or loss
Nonpassive estate and trust income or loss
Real estate mortgage investment conduits
Business gains and losses from nonpassive activities
Capital gains and losses
Taxable IRA distributions
Taxable pension distributions
Unemployment compensation
Other income

Total income                                                                                              53,551.

Adjustments

Educator expenses
Certain business expenses of reservists, performing artists, and government officials
Health savings account deduction
Moving expenses
Self-employed SEP, SIMPLE, and qualified plans
Self-employed health insurance deduction
Penalty on early withdrawals of savings
Alimony paid
Other adjustments                                                                                                250.

Total adjustments                                                                                                250.

Modified adjusted gross income                                                                            53,301.




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                                         Two-Year Comparison                             2020

Name(s) Shown on Return                                                    Social Security Number
Candy & Scott Williams

Income                                         2019          2020           Difference              %

  Wages, salaries, tips, etc                    61,100.       78,029.           16,929.         27.71
  Interest and dividend income
  State tax refund                                                 0.                 0.
  Business income (loss)                       -25,997.      -24,478.             1,519.            5.84
  Capital and other gains (losses)
  IRA distributions
  Pensions and annuities
  Rents and royalties
  Partnerships, S Corps, etc
  Farm income (loss)
  Social security benefits
  Income other than the above
  Total Income                                  35,103.       53,551.           18,448.         52.55
Adjustments to Income                                            250.              250.
Adjusted Gross Income                           35,103.       53,301.           18,198.         51.84

Itemized Deductions
  Medical and dental
  Income or sales tax                            2,067.        1,656.              -411.       -19.88
  Real estate taxes                              1,208.        1,468.               260.        21.52
  Personal property and other taxes                173.          889.               716.       413.87
  Interest paid                                    109.        7,258.             7,149.       999.00
  Gifts to charity                                 480.          484.                 4.         0.83
  Casualty and theft losses
  Miscellaneous
  Total Itemized Deductions                      4,037.       11,755.            7,718.        191.18
  Standard or Itemized Deduction                12,200.       24,800.           12,600.        103.28
Qualified Business Income Deduction                  0.            0.                0.
Taxable Income                                  22,903.       28,501.            5,598.         24.44

  Income tax                                     2,557.        3,028.                471.       18.42
  Additional income taxes
  Alternative minimum tax
  Total Income Taxes                             2,557.        3,028.                471.       18.42
  Nonbusiness credits                                            117.                117.
  Business credits
  Total Credits                                                     117.             117.
  Self-employment tax
  Other taxes
Total Tax After Credits                          2,557.        2,911.               354.        13.84
  Withholding                                    2,426.        1,943.              -483.       -19.91
  Estimated and extension payments
  Earned income credit
  Additional child tax credit
  Other payments                                               1,800.             1,800.
  Total Payments                                 2,426.        3,743.             1,317.        54.29
  Form 2210 penalty
  Applied to next year’s estimated tax
Refund                                                              832.            832.
Balance Due                                           131.                         -131. -100.00

  Current year effective tax rate                                                              5.46 %

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                       Tax Summary                 2020
                     G Keep for your records

Name (s)
Candy & Scott Williams

 Total income                                       53,551.
 Adjustments to income                                 250.
 Adjusted gross income                              53,301.
 Itemized/standard deduction                        24,800.
 Qualified business income deduction                     0.
 Taxable income                                     28,501.
 Tentative tax                                       3,028.
 Additional taxes
 Alternative minimum tax
 Total credits                                            117.
 Other taxes
 Total tax                                            2,911.
 Total payments                                       3,743.
 Estimated tax penalty
 Amount Overpaid                                          832.
 Refund                                                   832.
 Amount Applied to Estimate
 Balance due                                                0.




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                                 Recovery Rebate Credit Worksheet                                           2020

Name(s) Shown on Return                                                                    Social Security No.
Candy & Scott Williams                                                                              -9938

This worksheet is used to compute the allowed recovery rebate credit for line 30 of Form 1040 or 1040-SR
after accounting for any economic stimulus payment previously received.

 1 Can you be claimed as a dependent on another person’s 2020 return?
     X No. Go to line 2
          Yes. Stop. You can’t take the credit. Don’t complete the rest of this worksheet
               and don’t enter any amount on Form 1040, line 30.
 2 Does your 2020 return include a valid social security number for you, and if filing a
   joint return, your spouse?
     X Yes. Skip lines 3 and 4 and go to line 5.
          No. If you are filing a joint return, go to line 3.
               If you aren’t filing a joint return, Stop. You can’t take the credit. Don’t
               complete the rest of this worksheet and don’t enter any amount on line 30.
 3 Was at least one of you a member of the U.S. Armed Forces at any time during
   2020, and does at least one of you have a valid social security number?
          Yes. Your credit is not limited. Go to line 5.
          No. Go to line 4.
 4 Does one of you have a valid social security number?
          Yes. Your credit is limited. Go to line 5.
          No. Stop. You can’t take the credit. Don’t complete the rest of this worksheet
               and don’t enter any amount on Form 1040, line 30.
 5 Enter: @ $1,200 if single, head of household, married filing separately, qualifying
   widow(er), or if married filing jointly and you answered "Yes" to question 4, or
    @ $2,400 if married filing jointly and you answered "Yes" to question 2 or 3                     5            2,400.
 6 Multiply $500 by the number of qualifying children under age 17 at the end of 2020
   listed in the Dependents section on page 1 of Form 1040 or 1040-SR for whom you
   either checked the "Child tax credit" box or entered an adoption taxpayer
   identification number                                                                             6
 7 Add lines 5 and 6                                                                                 7            2,400.
 8 Enter: @ $600 if single, head of household, married filing separately, qualifying
   widow(er), or if married filing jointly and you answered "Yes" to question 4, or
    @ $1,200 if married filing jointly and you answered "Yes" to question 2 or 3                     8            1,200.
 9 Multiply $600 by the number of qualifying children under age 17 at the end of 2020
   listed in the Dependents section on page 1 of Form 1040 or 1040-SR for whom you
   either checked the "Child tax credit" box or entered an adoption taxpayer
   identification number                                                                             9
10 Add lines 8 and 9                                                                                10            1,200.
11 Enter the amount from line 11 of Form 1040 or 1040-SR                                            11           53,301.
12 Enter the amount shown below for your filing status :
      @ $150,000 if married filing jointly or qualifying widow(er)
      @ $112,500 if head of household                                                               12      150,000.
      @ $75,000 if single or married filing separately
13 Is the amount on line 11 more than the amount on line 12?
     X No. Skip line 14. Enter the amount from line 7 on line 15 and the amount
          from line 10 on line 18.
          Yes. Subtract line 12 from line 11.                                                       13
14 Multiply line 13 by 5% (0.05)                                                                    14
15 Subtract line 14 from line 7. If zero or less, enter -0-                                         15            2,400.
16 Enter the amount, if any, of the economic impact payment (EIP) 1 that was issued
   to you (before offset for any past-due child support payment). You may refer to
   Notice 1444 or your tax account information at IRS.gov/Account for the amount
   to enter here.                                                                                   16            1,200.
17 Subtract line 16 from line 15. If zero or less, enter -0-. If line 16 is more than line 15
   you don’t have to pay back the difference                                                        17            1,200.
18 Subtract line 14 from line 10. If zero or less, enter -0-                                        18            1,200.
19 Enter the amount, if any, of EIP 2 that was issued to you. You may refer to Notice
   1444-B or your tax account information at IRS.gov/Account for the amount
   to enter here.                                                                                   19              600.
20 Subtract line 19 from line 18. If zero or less, enter -0-. If line 19 is more than line 18
   you don’t have to pay back the difference                                                        20              600.
21 Recovery rebate credit. Add lines 17 and 20. Enter the result here and, if more
   than zero, on line 30 of Form 1040 or 1040-SR.                                                   21            1,800.

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                                      Compare to U. S. Averages                                        2020
                                             G Keep for your records

Name(s) Shown on Return                                                                  Social Security No
Candy & Scott Williams                                                                            -9938

Your 2020 adjusted gross income (AGI)                                                                         53,301.
National adjusted gross income range used below                     from         50,000. to                   99,999.

Note: National average amounts have been adjusted for inflation. See Help for details.



                                                                                  Actual                 National
Selected Income, Deductions, and Credits                                        Per Return               Average

Salaries and wages                                                                  78,029.                   66,668.
Taxable interest                                                                                                 880.
Tax-exempt interest                                                                                            4,791.
Dividends                                                                                                      3,982.
Business net income                                                                                           18,584.
Business net loss                                                                  -24,478.                    7,064.
Net capital gain                                                                                               7,535.
Net capital loss                                                                                               2,314.
Taxable IRA                                                                                                   16,542.
Taxable pensions and annuities                                                                                28,668.
Rent and royalty net income                                                                                    8,962.
Rent and royalty net loss                                                                                      9,333.
Partnership and S corporation net income                                                                      25,826.
Partnership and S corporation net loss                                                                        12,207.
Taxable social security benefits                                                                              18,067.

Medical and dental expenses deduction                                                                          9,883.
Taxes paid deduction                                                                 4,013.                    6,874.
Interest paid deduction                                                              7,258.                    7,461.
Charitable contributions deduction                                                     484.                    3,620.
Total itemized deductions                                                           11,755.                   20,554.

Child care credit                                                                                                620.
Education tax credits                                                                                          1,325.
Child tax credit                                                                                               1,673.
Retirement savings contributions credit                                                    117.                  177.
Earned income credit                                                                                             350.

Other Information                                                                 Actual                 National
                                                                                Per Return               Average

Adjusted gross income                                                               53,301.                   74,704.
Taxable income                                                                      28,501.                   50,725.
Income tax                                                                           3,028.                    6,980.
Alternative minimum tax                                                                                        1,592.
Total tax liability                                                                      2,911.                7,384.




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                       Estimated Taxes and Form W-4 Worksheet
Name:             Candy & Scott Williams
SSN:                    -9938
 Note: To calculate additional withholding for more than 3 jobs between taxpayer and spouse, or
        if the lowest paying job earns more than $120,000 - see the IRS W-4 Calculator at
                                       www.irs.gov/W4App.

Choose the Method You Will Use to Pay Your 2021 Federal Income Taxes
     By withholding from my paychecks. (You will also need to complete
     the Additional Information for Form W-4 Worksheet. QuickZoom below.)
 X By making estimated tax payments. If estimated payments are in
     addition to withholding, my estimated 2021 withholding will be
Overpayment from my 2020 return                                                                        832.
Amount of my 2020 overpayment to apply to 2021 instead of refunding it

Enter Your Filing Status and Other Information for Your 2021 Tax Return
Choose your filing status                 2 - Married filing jointly
Taxpayer age as of the end of 2021               48
Spouse age as of the end of 2021                 64
Do you qualify for an additional standard deduction?
Taxpayer:
Spouse:                                                       Total                                       0
      Check if you must itemize in 2021. (See Tax Help.)

Dependent of Another
    Check if you will be the dependent of another person (but not if married filing jointly).

Dependents on return:                                                        2020               2021
Number of qualifying children dependents age 16 and under                      0                 0
Number of qualifying children dependents age 17 to 23                          0                 0
Number of other dependents on return                                           0                 0




Enter Your 2021 Income and Deductions in 2nd column                      2020 Actual        2021 Expected

                       Compensation:
Annual wages and salary for taxpayer                                          78,029.
 Medicare wages for taxpayer (W-2 box 5)                                      79,196.
Annual wages and salary for spouse
 Medicare wages for spouse (W-2 box 5)

                   Self-employment Income:
Schedule C income for taxpayer                                               -24,478.
Schedule C income for spouse
Schedule F & K-1 income for taxpayer
Schedule F & K-1 income for spouse
Conservation Reserve Progam Payments for taxpayer
Conservation Reserve Progam Payments for spouse
 Annual net income from self-employment for taxpayer                         -24,478.
 Annual net income from self-employment for spouse


W-2:                                Check to populate W-2 table from 2020 return
Employer                Owner      Wages        2020 Withholding 2021 Wages 2021 Withholding




Schedule C:                       Check to populate Schedule C table from 2020 return
Name                    Owner 2020 Income     2020 Expenses 2021 Income            2021 Expenses




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                      Other Tax Information:
Note: Include this income in the Other Income section below.
Net Investment Income for 3.8% tax                                   0.
Qualified dividends

        Maximum Capital Gains Rate Tax Information:
Net short-term capital gains or losses
Net long-term capital gains or losses
  Net 28%-rate capital gains included in long-term
  Unrecap’d Sec 1250 gains incl in long-term (see Tax Help)
Investment income election (see Tax Help)

                           Other Income:
Total of your other taxable income and losses (see Tax Help)         0.
Foreign income or housing exclusions

                           Adjustments:
Deductible IRA contributions, alimony, etc
Charitable cash contributions if using the standard deduction

                        Itemized Deductions:
Total medical expenses                                               0.
State and local property and income taxes (or sales tax)         4,013.
Deductible foreign income taxes
Deductible mortgage interest                                     7,258.
Cash charitable contributions
Other charitable contributions                                     484.
Deductible investment interest expense, casualty or theft
 losses (see Tax Help)
Other itemized deductions
Net qualified disaster loss (see Tax Help)

                      Standard Deduction:
Standard deduction                                              24,800.   25,100.




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       ELECTRONIC POSTMARK - CERTIFICATION OF ELECTRONIC FILING

Taxpayer:       Candy & Scott Williams
Primary SSN:          -9938



Federal Return Submitted:           February 18, 2021           01:27 PM PST
Federal Return Acceptance Date:

               Your return was electronically transmitted on 02/18/2021

The Intuit Electronic Postmark shows the date and time Intuit received your federal tax return. The Intuit
Electronic Postmark documents the filing date of your income tax return, and the electronic postmark
information should be kept on file with your tax return and other tax-related documentation.

There are two important aspects of the Intuit Electronic Postmark:

1. THE INTUIT ELECTRONIC POSTMARK.
The electronic postmark shows the date and time Intuit received the federal return, and is deemed the
filing date if the date of the electronic postmark is on or before the date prescribed for filing of the
federal individual income tax return.

TIMELY FILING:
For your federal return to be considered filed on time, your return must be postmarked on or before
midnight May 17, 2021. Intuit’s electronic postmark is issued in the Pacific Time (PT) zone. If you are
not filing in the PT zone, you will need to add or subtract hours from the Intuit Electronic Postmark time
to determine your local postmark time. For example, if you are filing in the Eastern Time (ET) zone and
you electronically file your return at 9 AM on May 17, 2021, your Intuit electronic postmark will indicate
May 17, 2021, 6 AM. If your federal tax return is rejected, the IRS still considers it filed on time if the
electronic postmark is on or before May 17, 2021, and a corrected return is submitted and accepted
before May 22, 2021. If your return is submitted after May 22, 2021, a new time stamp is issued to
reflect that your return was submitted after the IRS deadline and, consequently, is no longer considered
to have been filed on time.

If you request an automatic six-month extension, your return must be electronically postmarked by
midnight October 15, 2021. If your federal tax return is rejected, the IRS will still consider it filed on
time if the electronic postmark is on or before October 15, 2021, and the corrected return is submitted
and accepted by October 20, 2021.

2. THE ACCEPTANCE DATE.
Once the IRS accepts the electronically filed return, the acceptance date will be provided by the Intuit
Electronic Filing Center. This date is proof that the IRS accepted the electronically filed return.




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We need your consent - Early Access
This is an IRS requirement




IRS regulations require the following statements:

"Federal law requires this consent form be provided to you. Unless authorized by law, we cannot use
your tax return information for purposes other than the preparation and filing of your tax return without
your consent.

You are not required to complete this form to engage our tax return preparation services. If we obtain
your signature on this form by conditioning our tax return preparation services on your consent, your
consent will not be valid. Your consent is valid for the amount of time that you specify. If you do not
specify the duration of your consent, your consent is valid for one year from the date of signature."

If you believe your tax return information has been disclosed or used improperly in a manner
unauthorized by law or without your permission, you may contact the Treasury Inspector General for
Tax Administration (TIGTA) by telephone at 1-800-366-4484, or by email at complaints@tigta.treas.gov.



To agree, enter your name and date in the boxes below and select the "I Agree" button on the
bottom of the page.




First Name                          Last Name

Please type the date below:

Date




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F7216U01 SBIA5001




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Read and accept this Disclosure Consent
This is an IRS requirement




IRS regulations require the following statements:

"Federal law requires this consent form be provided to you. Unless authorized by law, we cannot
disclose your tax return information to third parties for purposes other than the preparation and filing of
your tax return without your consent. If you consent to the disclosure of your tax return information,
Federal law may not protect your tax return information from further use or distribution.

You are not required to complete this form to engage our tax return preparation services. If we obtain
your signature on this form by conditioning our tax return preparation services on your consent, your
consent will not be valid. If you agree to the disclosure of your tax return information, your consent is
valid for the amount of time that you specify. If you do not specify the duration of your consent, your
consent is valid for one year from the date of signature."

If you believe your tax return information has been disclosed or used improperly in a manner
unauthorized by law or without your permission, you may contact the Treasury Inspector General for
Tax Administration (TIGTA) by telephone at 1-800-366-4484, or by email at complaints@tigta.treas.gov.



To agree, enter your name and date in the boxes below and select the "I Agree" button on the
bottom of the page.




Sign this agreement by entering your name:



Please type the date below:

Date




sbia5101 F7216D


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Read and accept this Disclosure Consent
This is an IRS requirement

 To, enable the Tax Identity restoration protection service that you purchased
 as part of a bundle, we need your consent to send some of your
 personal information to our partner, ID Notify.

 Entering your name and date below allows us to disclose the data below to IDNotify,
 provided by CSIdentity Corp., an Experian company. With your consent, we will send the following:
 First Name, Middle Initial, Last Name, Date of Birth, Phone Number, Street Address, City, State,
 Zip, Social Security Number, Email Address, Username, and a randomly generated Subscriber Number.



IRS regulations require the following statements:

"Federal law requires this consent form be provided to you. Unless authorized by law, we cannot
disclose your tax return information to third parties for purposes other than the preparation and filing of
your tax return without your consent. If you consent to the disclosure of your tax return information,
Federal law may not protect your tax return information from further use or distribution.

You are not required to complete this form to engage our tax return preparation services. If we obtain
your signature on this form by conditioning our tax return preparation services on your consent, your
consent will not be valid. If you agree to the disclosure of your tax return information, your consent is
valid for the amount of time that you specify. If you do not specify the duration of your consent, your
consent is valid for one year from the date of signature."

If you believe your tax return information has been disclosed or used improperly in a manner
unauthorized by law or without your permission, you may contact the Treasury Inspector General for
Tax Administration (TIGTA) by telephone at 1-800-366-4484, or by email at complaints@tigta.treas.gov.



To agree, enter your name and date in the boxes below and select the "I Agree" button on the
bottom of the page.




   I authorize Intuit to send my information listed above to CSIdentity Corporation.




Sign this agreement by entering your name:



Please type the date below:

Date




sbia5102 F7216D02
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IMPORTANT DISCLOSURES

If you are owed a federal tax refund, you have a right to choose how you will receive the refund. There
are several options available to you. Please read about these options below.

You can file your federal tax return electronically or by paper and obtain your federal tax refund directly
from the Internal Revenue Service ("IRS") for free. If you file your tax return electronically, you can
receive a refund check directly from the IRS through the U.S. Postal Service in 21 to 28 days from
the time you file your tax return or the IRS can deposit your refund directly into your bank account in less
than 21 days from the time you file your tax return unless there are delays by the IRS. If you file a paper
return through the U.S. Postal Service, you can receive a refund check directly from the IRS through the
U.S. Postal Service in 6 to 8 weeks from the time the IRS receives your return or the IRS can deposit
your refund directly into your bank account in 6 to 8 weeks from the time the IRS receives your return.
However, if your return contains Earned Income Tax Credit or Additional Child Tax Credit, the IRS will
issue your refund no earlier than February 15, 2021.

You can file your tax return electronically, select the Refund Processing Service ("RPS"), and have your federal
income tax refund processed through a processor using banking services of a financial institution. The RPS allows
your refund to be deposited into a bank account intended for one-time use at Civista Bank ("Bank") and deducts
your TurboTax fees and other fees you authorize from your refund. The balance is delivered to you via the
disbursement method you select. If you file your tax return electronically and select the RPS, the IRS will deposit
your refund with Bank. Upon Bank's receipt of your refund, Santa Barbara Tax Products Group, LLC, a processor,
will deduct and pay from your refund any fees charged by TurboTax for the preparation and filing of your tax return
and any other amounts authorized by you and disburse the balance of your refund proceeds to you. Unless there are
delays by the IRS, refunds are received in less than 21 days from the time you file your tax return electronically.
However, if your return contains Earned Income Tax Credit or Additional Child Tax Credit, the IRS will issue your
refund no earlier than February 15, 2021.

The RPS is not necessary to obtain your refund. If you have an existing bank account, you do not need
  to use the RPS in order to receive a direct deposit from the IRS. You may consult the IRS website
(IRS.gov) for information about tax refund processing.

If you select the RPS, no prior debt you may owe to Bank will be deducted from your refund.

You can change your income tax withholdings which might result in you receiving additional funds
throughout the year rather than waiting to receive these funds potentially in an income tax refund next
year. Please consult your employer or tax advisor for additional details.

This Agreement requires all disputes to be resolved by way of binding arbitration.
The terms of the arbitration provision appear in Section 10.

Information regarding low-cost deposit accounts may be available at www.mymoney.gov .

The chart below shows the options for filing your tax return (e-file or paper return), the RPS product,
refund disbursement options, estimated timing for obtaining your tax refund proceeds, and costs
associated with the various options.




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    WHAT TYPE                 WHAT ARE YOUR                WHAT IS THE                 WHAT COSTS DO YOU
    OF FILING                 DISBURSEMENT              ESTIMATED TIME TO               INCUR IN ADDITION
    METHOD?                     OPTIONS?                RECEIVE REFUND?                TO TAX PREPARATION
                                                                                              FEES?

  PAPER RETURN               IRS direct deposit to           Approximately                    Free
                              your personal bank             6 to 8 weeks 3
No Refund Processing               account.
      Service
                             Check mailed by IRS             Approximately
                              to address on tax              6 to 8 weeks 3
                                   return.

   ELECTRONIC                IRS direct deposit to           Usually within                   Free
      FILING                  your personal bank               21 days 3
     (E-FILE)                      account.

No Refund Processing         Check mailed by IRS             Approximately
      Service                 to address on tax              21 to 28 days 3
                                   return.

   ELECTRONIC               (a) Direct deposit to            Usually within              Free option with
      FILING                  your personal bank               21 days 3                 your purchase of
     (E-FILE)                    account, or                                              a Tax Product 2

 Refund Processing          (b) Load to your
      Service                    debit card 1.




  1You may incur additional charges from the issuer of the debit card if you select to have your tax refund

   loaded on a debit card. Bank is not affiliated with the issuer of the debit card.

  2This fee consists of a TurboTax Fee, the cost of the Tax Product, and any fees for additional products

   and services purchased. Note that the cost of the Tax Product may vary depending on the edition of
   TurboTax purchased. See Section 3 of the Refund Processing Service Agreement on the next page for
   the cost of the service you have chosen.

  3However, if your return contains Earned Income Tax Credit or Additional Child Tax Credit, the IRS will

   issue your refund no earlier than February 15, 2021.




                                      Questions? Call 877-908-7228




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                                           Pro Delegation Worksheet                                   2020

 Check this box if you are preparing this return as a PRO preparer

Preparer / Electronic Return Originator (ERO) Information

                                                                  Print name in signature area?
   Preparer Name
                                        Preparer Tax ID # (PTIN)
   NY Tax Preparer Registration #                   or NY Exclusion Code
   For NM, OR Preparers Only: State ID#
   Preparer E-mail                                                  Print date on return?
   Preparer Phone                                                  CAF #
   Electronic Filing Only: ERO Practitioner PIN

Electronic Filing and Printing of Tax Return Information

Electronic Filing:                                       Print and Mail Selections (use only if e-file ineligible):
       File federal return electronically                       Federal return printed and mailed to IRS
       File state returns electronically                        State return printed and mailed to state agency
       File other returns electronically                        Other return printed and mailed

Select state returns to file electronically:             Select state returns to file by mail:

                  State(s)                                                 State(s)




Select other returns to file electronically:             Select other returns to file by mail:

              Other Return(s)                                         Other Return(s)




Electronic Filing and Printing of Amended Return Information

Electronic Filing:                                       Print and Mail Selections (use only if e-file ineligible):
       File federal amended return(s) electronically           Federal amended return printed and mailed
       File state amended return(s) electronically             State amended return printed and mailed

Select state amended return(s) to file electronically:   Select state amended return(s) to file by mail:

                  State(s)                                                 State(s)




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New! State e-file disclosure consent:
 By using a computer system and software to prepare and transmit my client’s return electronically, I
 consent to the disclosure of all information pertaining to my use of the system and software to create my
 client’s return and to the electronic transmission of my client’s return to the state Department of
 Revenue, as applicable by law.



Practitioner PIN Program:
        Sign return electronically using Practitioner PIN
        Choose one:
              Automatically generate PIN equal to last 5 digits of taxpayer(s) SSN (See help)
              Taxpayer(s) entered own PIN(s)
              Preparer entered PIN(s) on behalf of taxpayer(s)
        Taxpayer’s PIN (enter any 5 numbers).
        Spouse’s PIN filing a joint return (enter any 5 numbers)
        Date PIN entered



Identity Verification Information

Driver’s License and/or State Id:
 Taxpayer and Spouse (if applicable) driver’s license and/or state identification must be completed on the
 federal information worksheet prior to e-filng the return.



Documents Used to Verify Primary Taxpayer Identity:
     Driver’s license
     State issued identification card
     Passport
     Account statement from financial institution
     Utility billing statement
     Credit card billing statement

Finish and File Info:
       To indicate a client return download in FnF

PDF ATTACHMENTS




    Attachment        Type         File Name                  PDF Name                   Entity        Version
    Description                                                                           Key




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                                       Pro Expert Suggestions                                  2020
   Please fill out the survey at the link below to help us better understand your experience
   working with the tax optimization features.

                                 https://forms.gle/ugi2CxnyuAXNW2Kb7
                                         Suggestions For Customer
   Suggestion ID         Suggestion
   0000                 No pilot project expert suggestion was determined for this customer




                                        Pro Notes About Suggestions
   Suggestion ID         Suggestion




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Candy & Scott Williams                                                                        -9938   1



Smart Worksheets From 2020 Federal Tax Return

SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                                     Business Address Information Smart Worksheet

             Business street address      11423 Spotted Fawn Ln
             City, State, and ZIP Code (do not enter State and ZIP Code if foreign address)
             Bigfork                                     MT    59911-7335
             Or, foreign country information:




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Candy & Scott Williams                                                                                     -9938           2


SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                                  Qualified Business Income Deduction Smart Worksheet
                   Completing this worksheet is generally only necessary if Form 8995A must be filed (i.e., taxable
                           income is above threshold amounts or qualified coop payments are present).

          A    QBI worksheet to report (double-click to link)                                     Viking Investment
          B    Trade or Business Name                                Viking Investment
          C    Trade or Business ID Number
          D 1 Is this a Specified Service Trade or Business (SSTB)?             Yes          No
             2 If No, is income attributable to a SSTB? (see Help)              Yes          No
             3 QBI worksheet for SSTB income (this will auto-populate if Yes)
             4 Percentage of qualified income attributable to SSTB                                             %
          E 1 Tentative Sch C profit (loss) from this business                                          -24,478.
             2 Adjustments to qualified business income                                                         0.
             3 Tentative Sch C profit (loss) from qualified business                                    -24,478.
             4 a Calculated QBI allowed after passive/at-risk limits                     -24,478.
               b Adjustments to allowed QBI
               c Allowable QBI after loss limits                                                        -24,478.
             5 Self employed deductions connected to this business
               a Self employed health insurance for this business                              0.
               b Total deduction for 1/2 self employment tax
               c Deduction for 1/2 S.E. tax connected to this business                         0.
               d Total deduction for S.E. retirement contributions
               e S.E. retirement deduction connected to this business                          0.
               Total self employed deductions connected to this business                                        0.
             6 Sch C profit (loss) after S.E. deductions                                                -24,478.
             7 Additional deductions related to this business reported on separate schedules
             8 Net profit (loss) after adjustments, limitations, and deductions                         -24,478.
             9 Allowable Sch C profit (loss) allocated to SSTB                                                  0.
            10 Allowable Sch C profit (loss) from this business                                         -24,478.

          F 1 Ordinary gain (loss) from business assets                                                               0.
            2 Ordinary gain (loss) adjustments
            3 Qualified ordinary gain (loss)                                                                          0.
            4 a Calculated QBI allowed after passive/at-risk limits                                0.
              b Adjustments to allowed QBI
              c Allowable short-term qualified gain (loss) after passive/at-risk limits                               0.
            5 Allowable ordinary gain (loss) allocated to SSTB                                                        0.
            6 Allowable ordinary gain (loss)/recapture from this business                                             0.

          G 1 Section 1231 gain (loss) from business assets                                                           0.
            2 Section 1231 gain (loss) adjustments
            3 Section 1231 gain (loss) from qualified business                                                        0.
            4 a Calculated QBI allowed after passive/at-risk limits                                0.
              b Adjustments to allowed QBI
              c Allowable ordinary 1231 qualified gain (loss)                                                         0.
            5 Allowable ordinary 1231 gain (loss) allocated to SSTB                                                   0.
            6 Allowable ordinary 1231 gain (loss) from this business                                                  0.




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Candy & Scott Williams                                                                             -9938        3


SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                          Qualified Business Income Deduction Smart Worksheet, Continued

          H 1 Allowable QBI (E10 plus F6 plus G6)                                                    -24,478.
            2 Qualified business income allocated to SSTB                                                  0.
            3 a Previously disallowed losses freed up in current year
              b Adjustments to previously disallowed losses
              c Previously disallowed QBI losses to be reported as separate business                       0.
              d QBI wksht for previously disallowed losses, if present

           I 1 Tentative wages                                                                             0.
             2 Adjustments
             3 Qualified wages                                                                             0.
             4 Qualified wages allocated to SSTB                                                           0.

          J 1 Tentative Unadjusted Basis Immediately after Acquisition (UBIA)                              0.
            2 Adjustments
            3 Qualified UBIA                                                                               0.
            4 Qualified UBIA allocated to SSTB                                                             0.

          K 1 Net income allocable to qualified payments from agricultural or horticultural coop
            2 Wages allocable to qualified payments from coop
            3 Form 1099PATR line 6 (DPAD) from coop(s) w/ tax year starting before 1/1/2018
            4 Form 1099PATR line 6 (DPAD) from coop(s) w/ tax year starting after 12/31/17




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Candy & Scott Williams                                                                                      -9938         4


SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                                           Carryovers to 2020 Smart Worksheet
                                              Enter carryovers from prior year below.

                                                                      Regular Tax           QBI             Alternative
                                                                                                           Minimum Tax

          A Section 179 carryover (enter as positive amount)
             At-Risk Loss Carryovers (enter as negative amts)
          B Schedule C suspended loss
          C Schedule D short-term suspended loss
          D Schedule D long-term suspended loss
          E Form 4797 ordinary suspended loss
          F Form 4797 long-term suspended loss
             Passive Loss Carryovers (enter as negative amts)
          G Schedule C suspended loss
          H Schedule D short-term suspended loss
           I Schedule D long-term suspended loss
          J Form 4797 ordinary suspended loss
          K Form 4797 long-term suspended loss

                            Carryovers to 2020 Additional Info for Section 199A Deduction
              Section 199A (QBI deduction) requires first-in-first-out use of previously disallowed losses. Businesses
                  qualified under Section 199A must complete this section for any previously disallowed losses.

                                                        Percentage of SSTB income (by category)
                                                   Enter 100 for businesses that were SSTBs in the year
                                                    in question. If non-SSTB with income attributable to
                                                     SSTB, enter the % attributable to SSTB. Otherwise,
                                                       enter 0. (Not required if applicable % is 100%.)

                               Applicable %         Operating %       Form 4797 ord        Form 4797 l/t
         2018
         2019                          100.00                0.00                0.00                0.00




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Candy & Scott Williams                                                             -9938        5


SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                                 Carryovers to 2020 Smart Worksheet, Continued

                                                                     Regular Tax   QBI
         Disallowed Section 179 Deduction by Year
         Before 2018       A Section 179 carryover
         2018              B Section 179 carryover
         2019              C Section 179 carryover
         Disallowed At-Risk Losses by Year and Type
         Before 2018       A Operating loss                                                0.
                           B Form 4797 ordinary loss                                       0.
                           C Form 4797 long-term loss                                      0.
         2018              D Operating loss
                           E Form 4797 ordinary loss
                           F Form 4797 long-term loss
         2019              G Operating loss
                           H Form 4797 ordinary loss
                           I Form 4797 long-term loss
         Disallowed Passive Losses by Year and Type
         Before 2018       A Operating loss                                                0.
                           B Form 4797 ordinary loss                                       0.
                           C Form 4797 long-term loss                                      0.
         2018              D Operating loss
                           E Form 4797 ordinary loss
                           F Form 4797 long-term loss
         2019              G Operating loss
                           H Form 4797 ordinary loss
                           I Form 4797 long-term loss




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Candy & Scott Williams                                                                        -9938      6


SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business


                                           Activity Summary Smart Worksheet
                         Supporting information provided by program. NO ENTRIES ARE NEEDED.




                                                           Regular Tax        QBI          Alternative
                                                                                          Minimum Tax

          A    Ownership                                 Taxpayer
          B    At risk status                            All
          C    Passive status                            Nonpassive
               Schedule C
          D    Tentative profit (loss)                        -24,478.        -24,478.        -24,478.
          E    Other adjustments
          F    At risk disallowed loss
          G    Passive carryover loss
          H    Passive disallowed loss
           I   Net profit (loss) allowed                      -24,478.        -24,478.        -24,478.
               Related Dispositions
          J    Tentative profit (loss)                                               0.
          K    At risk disallowed loss
          L    Passive carryover loss
          M    Passive disallowed loss
          N    Net profit (loss) allowed                                             0.




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SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                         QBI (Section 199A) Losses by Year Smart Worksheet, Continued

         At-risk losses                                                   Regular Tax   QBI
         Previously disallowed at-risk losses by year
         Operating Loss               A Total loss in 2020
                                      B Total allowed loss (all years)
                                      C Allowed loss in 2020
                                      D Freed up loss from before 2018
                                      E Freed up loss from 2018
                                      F If SSTB, reduced loss from 2018
                                      G Freed up loss from 2019
                                      H If SSTB, reduced loss from 2019
         Form 4797 ordinary loss      I Total loss in 2020
                                      J Total allowed loss (all years)
                                      K Allowed loss in 2020
                                      L Freed up loss from before 2018
                                      M Freed up loss from 2018
                                      N If SSTB, reduced loss from 2018
                                      O Freed up loss from 2019
                                      P If SSTB, reduced loss from 2019
         Form 4797 long term loss Q Total loss in 2020
                                      R Total allowed loss (all years)
                                      S Allowed loss in 2020
                                      T Freed up loss from before 2018
                                      U Freed up loss from 2018
                                      V If SSTB, reduced loss from 2018
                                      W Freed up loss from 2019
                                      X If SSTB, reduced loss from 2019
         At-risk loss carryforwards to 2021
         Before 2018                  A Operating loss                                          0.
                                      B Form 4797 ordinary loss                                 0.
                                      C Form 4797 long-term loss                                0.
         2018                         D Operating loss
                                      E Form 4797 ordinary loss
                                      F Form 4797 long-term loss
         2019                         G Operating loss
                                      H Form 4797 ordinary loss
                                      I Form 4797 long-term loss
         2020                         J Operating loss
                                      K Form 4797 ordinary loss
                                      L Form 4797 long-term loss




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Candy & Scott Williams                                                                  -9938        8


SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                         QBI (Section 199A) Losses by Year Smart Worksheet, Continued

         Passive losses                                                 Regular Tax     QBI
         Previously disallowed passive losses by year
         Operating Loss             A Total loss in 2020
                                    B Total allowed loss (all years)
                                    C Allowed loss in 2020
                                    D Freed up loss from before 2018
                                    E Freed up loss from 2018
                                    F If SSTB, reduced loss from 2018
                                    G Freed up loss from 2019
                                    H If SSTB, reduced loss from 2019
         Form 4797 ordinary loss    I Total loss in 2020
                                    J Total allowed loss (all years)
                                    K Allowed loss in 2020
                                    L Freed up loss from before 2018
                                    M Freed up loss from 2018
                                    N If SSTB, reduced loss from 2018
                                    O Freed up loss from 2019
                                    P If SSTB, reduced loss from 2019
         Form 4797 long term loss Q Total loss in 2020
                                    R Total allowed loss (all years)
                                    S Allowed loss in 2020
                                    T Freed up loss from before 2018
                                    U Freed up loss from 2018
                                    V If SSTB, reduced loss from 2018
                                    W Freed up loss from 2019
                                    X If SSTB, reduced loss from 2019
         Passive loss carryforwards to 2021
         Before 2018                A Operating Loss                                            0.
                                    B Form 4797 ordinary loss                                   0.
                                    C Form 4797 long-term loss                                  0.
         2018                       D Operating Loss
                                    E Form 4797 ordinary loss
                                    F Form 4797 long-term loss
         2019                       G Operating loss
                                    H Form 4797 ordinary loss
                                    I Form 4797 long-term loss
         2020                       J Operating loss
                                    K Form 4797 ordinary loss
                                    L Form 4797 long-term loss




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Candy & Scott Williams                                                                                         -9938       9


SMART WORKSHEET FOR: Form 8880: Credit for Retirement Contributions

                                                  Eligibility Smart Worksheet

              A The amount on Form 1040, 1040-SR, or Form 1040-NR, line 11, is more than $32,500
                ($48,750 if head of household; $65,000 if married filing jointly).       Yes                   No      X

              B Born after January 1, 2003.                                        Taxpayer         Yes        No      X
                                                                                   Spouse           Yes        No
              C Claimed as a dependent on someone else’s
                2020 tax return.                                                   Taxpayer         Yes        No      X
                                                                                   Spouse           Yes        No

              D A student in 2020 (see instructions)                               Taxpayer         Yes        No      X
                                                                                   Spouse           Yes        No

           Note:     If the ’Yes’ box on line A is checked, you are not eligible for the credit
                     and this form will not be completed.

                     Even if the ’No’ box on line A is checked, any retirement savings contribution the taxpayer
                     may have will not qualify for the credit if any ’Yes’ box is checked on line B, C, or D for the
                     taxpayer. If this is the case, lines 1 through 6 will not be completed for the taxpayer.

                     Similarly, any retirement savings contribution the spouse may have will not qualify for the
                     credit if any ’Yes’ box is checked on line B, C, or D for the spouse; in this case, lines 1
                     through 6 will not be completed for the spouse, even if the ’No’ box is checked on line A.




SMART WORKSHEET FOR: Form 8880: Credit for Retirement Contributions

                                                   Line 2 Smart Worksheet

         Elective deferrals                            Taxpayer                 1,167. Spouse
         After-tax voluntary employee
         contributions (See help)                      Taxpayer                             Spouse




SMART WORKSHEET FOR: Form 8880: Credit for Retirement Contributions

                                          Line 11 Credit Limit Smart Worksheet

          1    Enter the amount from Form 1040, 1040-SR, or Form 1040-NR, line 17                                 3,028.
          2    Form 1040 or
               1040-SR filers:           Enter the total of your credits from Schedule 3, lines 1
                                         through 3, and Schedule R, line 22.
               Form 1040-NR filers: Enter the total of your credits from Sch 3, lines 1 - 3.
          3    Subtract line 2 from line 1. Also enter this amount on Form 8880, line 11.
               But if zero or less, stop; you can’t take this credit--don’t file this form                        3,028.




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Candy & Scott Williams                                                                                       -9938        10


SMART WORKSHEET FOR: 1040/1040SR Wks: Form 1040 or Form 1040-SR Worksheet

                                                         Tax Smart Worksheet

          A         Tax                                                                                      3,028.
                    Check if from:
               1    Tax table                                                                                        X
               2    Tax Computation Worksheet (see instructions)
               3    Schedule D Tax Worksheet
               4    Qualified Dividends and Capital Gain Tax Worksheet
               5    Schedule J
               6    Form 8615
               7    Foreign Earned Income Tax Worksheet
          B         Additional tax from Form 8814
          C         Additional tax from Form 4972
          D         Tax from additional Form(s) 4972
          E         Recapture tax from Form 8863
          F         IRC Section 197(f)(9)(B)(ii) election for an additional tax
          G         Health Coverage Tax Credit Recovery, Form 8885, Line 5, if negative
          H         Additional tax from Form 8621
           I        Tax. Add lines A through G. Enter the result here and include in tax below               3,028.
          J         Form 8621 tax deferal from line 9c (to line 24)




SMART WORKSHEET FOR: 1040/1040SR Wks: Form 1040 or Form 1040-SR Worksheet

                            Excess Social Security and Tier I RRTA Tax Withheld Smart Worksheet

                    The calculated amount for Excess social security and tier 1 RRTA tax withheld could include
                    a portion that needs to be removed. When a taxpayer has multiple W-2’s, each with the same
                    EIN, excess withholding can only be claimed if the Employer’s Name’s in box c of the W-2’s
                    reflect separate business entities. This could occur when a parent company has multiple
                    subsidiaries, or when a temp agency issues W-2’s for distinctly different jobs. If you have
                    multiple W-2’s with the same EIN, for the same taxpayer, and for the same job, reduce the
                    amount calculated on Line A below by the excess withholdings from only those W-2’s.

          A         Total Excess Social Security or Tier I RRTA tax withheld claimed as a credit                     0.



SMART WORKSHEET FOR: Federal Information Worksheet

                                         TurboTax for the Web Filing Status Smart Worksheet

                   Check this box to override the filing status selected thru Interview
                   Marital Status
                   Filing Status Selected




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Candy & Scott Williams                                                                                    -9938          11


SMART WORKSHEET FOR: Form W-2 : Wage & Tax Statement (Copy 1)

                                 Qualified Business Income Deduction Smart Worksheet
                   Completing this worksheet is only necessary if Statutory Employee (Box 13) has been checked
                       and expenses will not be deducted on Schedule C ("No" checked in Part III, line 3).

         A     Is this activity a qualified trade or business under Section 199A?                   Yes            No
         B     QBI worksheet to report
         C     Specified Service Trade or Business (SSTB)?                                          Yes            No
         D     I am not a statutory employee




SMART WORKSHEET FOR: Form W-2 : Wage & Tax Statement (Copy 1)

                                          Substitute Form W-2 Smart Worksheet

          A     Treat as a substitute W-2 and generate a form 4852
          B     Linked substitute W-2 Form 4852
          C     Enter Form 4852, Line 9 information. "How did you determine amounts on line 7 of Form 4852?"




          D     Form 4852, Line 10 information. "Explain your efforts to obtain Form W-2?"




          E     QuickZoom to completed Form 4852 for reference




SMART WORKSHEET FOR: Tax and Interest Deduction Worksheet

                                       Mortgage Interest Limited Smart Worksheet
              If your mortgage interest deduction needs to be limited for one of the following reasons, use
              the Deductible Home Mortgage Interest Worksheet to determine the amount to be reported on
              lines A, B, and C below:
              ' The principal amount of your mortgage and home equity debt is over $750,000 ($375,000 if
                  married filing separate), or
              ' You had home debt that was not used to buy, build or substantially improve your home that
                  secures the loan

         QuickZoom to Deductible Home Mortgage Interest Worksheet

           Does your mortgage interest need to be limited:            Yes            No         X

          A   Home mortgage interest and points reported on Form 1098:
            1 Sum of lines 5a through 5d below                                                                7,258.02
            2 Limited amount to report on Sch A, line 8a
          B   Home mortgage interest not reported on Form 1098:
            1 Sum of lines 6a and 6b below
            2 Limited amount to report on Sch A, line 8b
          C   Points not reported on Form 1098:
            1 Sum of lines 7a through 7c below
            2 Limited amount to report on Sch A, line 8c

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Candy & Scott Williams                                                                                       -9938     12


SMART WORKSHEET FOR: Home Mortgage Interest Worksheet (United Wholesale Mortgage)

                                   Home Mortgage Interest Limitation Smart Worksheet

           A     Is this the original loan used to purchase this home?                            Yes X         No
           B     Is this a home equity loan or refinance of a purchase loan?             Home Equity           Refi
                     Was cash ever taken out as part of a refinance?                              Yes           No
           C     Were all loan proceeds used to purchase, build, or improve the home secured by this loan?
                     (see help if this loan is a refinance loan)                                  Yes            No
                     If no, amount used to purchase, build, or improve this home (see help)
           D     Date loan was paid off, if paid off in 2020
           E     Outstanding mortgage principal as of 12/31/2020 (or pay-off date, if applicable)
                 Check if you had only one 1098

                                                              Post-12/15/17      10/14/87 - 12/15/17    Pre-10/14/87
           F                                    Total          Home Debt             Home Debt          Home Debt
               1 Interest paid in 2020         7,258.02             7,258.02
               2 Total points
               3 Beginning balance          200,000.00           200,000.00
               4 Borrowed in 2020
               5 Principal applied
               6 Ending balance
               7 Average loan balance
               8 Acquisition debt           200,000.00           200,000.00
               9 Acquisition interest         7,258.02             7,258.02
               10 Deductible points




SMART WORKSHEET FOR: Misc Itemized Deductions Wks

                                               Depreciation Smart Worksheet
          A      Enter Section 179 carryover from prior year
          B      QuickZoom to the Asset Entry Worksheet
          C      QuickZoom to the Depreciation/Amortization Reports
          D      QuickZoom to Form 4562 for Schedule A
          E      Treat all MACRS assets for activity as qualified Indian reservation property?         Yes X No
          F      Treat all assets acquired after Aug. 27, 2005 as
                 qualified GO Zone property?                                      Regular        Extension    X No
          G      Treat all assets acquired after May 4, 2007 as
                 qualified Kansas Disaster Zone property?                                              Yes X No
          H      Was this property located in a Qualified Disaster Area?                               Yes X No




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Candy & Scott Williams                                                                                     -9938        13


SMART WORKSHEET FOR: Earned Income Credit Worksheet

                                 Nontaxable Combat Pay Election Smart Worksheet

            QuickZoom to enter nontaxable combat pay on Form W-2
            A Taxpayer:
              1 Taxpayer, nontaxable combat pay
              1a Taxpayer, prior year nontaxable combat pay from 2019
              2 Election for earned income credit (EIC):
                 Elect taxpayer’s nontaxable combat pay as earned income for EIC?                  Yes             No
              3 Election for dependent care benefits (DCB):
                 Elect taxpayer’s nontaxable combat pay as earned income for DCB?                  Yes             No
              4 Election for child and dependent care credit:
                 Elect taxpayer’s nontaxable combat pay as earned income
                 for child and dependent care credit?                                              Yes             No

            B Spouse:
              1 Spouse, nontaxable combat pay
              1a Spouse, prior year nontaxable combat pay from 2019
              2 Election for earned income credit (EIC):
                 Elect spouse’s nontaxable combat pay as earned income for EIC?                    Yes             No
              3 Election for dependent care benefits (DCB):
                 Elect spouse’s nontaxable combat pay as earned income for DCB?                    Yes             No
              4 Election for child and dependent care credit:
                 Elect spouse’s nontaxable combat pay as earned income
                 for child and dependent care credit?                                              Yes             No

            C You may compare the tax benefit of electing or not electing by checking a box on line A or
              line B and reviewing the overpayment or amount due below:

               Overpayment                  832.                            Amount due




SMART WORKSHEET FOR: Earned Income Credit Worksheet

                               Prior Year Earned Income Election Smart Worksheet
                                Election to use 2019 earned income for Earned Income Credit

                 The "Yes" box must be marked on Line A for 2019 earned income to be used
                 for EIC calculations.
               A Elect to use 2019 earned income for EIC                                           Yes       X No
               B Earned income for EIC from your 2019 return                                               35,103.
               C Current year earned income for EIC                                                        53,551.
                 If Line C is equal to or greater than Line B the taxpayer is not eligible
                 to use 2019 earned income for EIC calculations.

               D You may compare the tax benefit of electing to use 2020 Earned
                 Income by checking the boxes on line A

               Overpayment                  832.                            Amount due




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Candy & Scott Williams                                                             -9938        14


SMART WORKSHEET FOR: Earned Income Credit Worksheet

                                             Investment Income Smart Worksheet

          A       Taxable and tax exempt interest
          B       Dividend income
          C       Capital gain net income
          D       Royalty and rental of personal property net income
          E       Passive activity net income:
              1   Rental real estate net income or loss
              2   Farm rental net income or loss
              3   Partnerships and S corporations net income or loss
              4   Estates and trusts net income or loss
              5   Total of lines 1 through 4
              6   Total passive activity net income, line 5 if greater than zero
          F       Interest and dividends from Forms 8814
          G       Adjustments
          H       Total investment income, add lines A through G                           0.

                  Is line H, total investment income over $3,650?
                   X No. You may take the credit.
                         Yes. Stop. You cannot take the credit.




SMART WORKSHEET FOR: Estimated Tax Payment Options

                          For Residents of Guam or the U.S. Virgin Islands Only
                      Permanent resident of Guam or U.S. Virgin Islands
                      Nonpermanent resident of Guam or U.S. Virgin Islands




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Candy & Scott Williams                                                                                        -9938           1



Additional Information From 2020 Federal Tax Return
Charitable Organization (Deseret Industries)
Detail of Item Donations - Continued                                                                     Continuation Statement
        Note: Amounts in this worksheet can only be entered using the interview process.

        Ref. No.   Donat. Date      VM* Item Description                 High Value   Qty. Med. Value Qty.   Total Value

                1 06/01/2020          1 Men's Pants: Dress Slacks             9.00      0      7.00     0          0.00
                1 06/01/2020          1 Men's Shirt: Flannel                 21.00      0     14.00     2         28.00
                1 06/01/2020          1 Men's Shirt: Jersey                  20.00      0     14.00     1         14.00
                1 06/01/2020          1 Men's Shirt: Sweatshirt/Fleece       22.00      0     15.00     1         15.00
                1 06/01/2020          1 Men's Shorts: Chinos/Khakis          11.00      0      8.00     3         24.00
                1 06/01/2020          1 Men's Sleepwear: Robe                17.00      0     12.00     1         12.00
                1 06/01/2020          1 Edger: Electric                      22.00      0     15.00     1         15.00
                1 06/01/2020          1 Edger: Gas                           12.00      1      8.00     0         12.00
                1 06/01/2020          1 Mower: Gas: Push                     34.00      0     20.00     1         20.00
                1 06/01/2020          1 Fry Pan                              12.00      0      8.00     1          8.00
                1 06/01/2020          1 Sauce Pan                             7.00      0      5.00     1          5.00
                1 06/01/2020          1 Saute Pan                            15.00      0     11.00     1         11.00
                1 06/01/2020          1 Stock Pot                            10.00      0      7.00     1          7.00
                1 06/01/2020          1 Backpack: Adult                      12.00      0      8.00     2         16.00
                1 06/01/2020          1 Bed Spread: Full/Queen               18.00      0     12.00     1         12.00
                1 06/01/2020          1 Bed Spread: Set: Queen               23.00      0     16.00     2         32.00
                1 06/01/2020          1 Comforter: Full/Queen                29.00      0     20.00     2         40.00
                1 06/01/2020          1 Pillow                                2.00      0      1.00     4          4.00
                1 06/01/2020          1 Women's Jogging Suit                 12.00      1      8.00     0         12.00
                1 06/01/2020          1 Women's Pants: Capris                13.00      2      9.00     0         26.00
                1 06/01/2020          1 Women's Pants: Cargo                 18.00      0     12.00     2         24.00
                1 06/01/2020          1 Women's Pants: Chinos/Khakis         14.00      0      8.00     2         16.00
                1 06/01/2020          1 Women's Pants: Jeans/Denim           16.00      0     11.00     3         33.00
                1 06/01/2020          1 Women's Shirt: Flannel               12.00      0      8.00     1          8.00
                1 06/01/2020          1 Women's Shirt: Halter                10.00      0      7.00     2         14.00
Total                                                                                                            408.00




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Utah State Tax Commission
                                                                                                                                                  TC-547
Individual Income Tax Return Coupon                                                                                                         NTUITRev. 12/11



Use of Payment Coupon                                                                 Print your name and address, daytime telephone number and the year
                                                                                      the payment is for on your check or money order.
If you have a tax due balance on your Utah individual income tax
return and you have previously filed your return (either electronically or
by paper) without a payment, include the payment coupon below with                    Sending Payment Coupon
your check or money order to insure proper credit to your account. Do                 If sending this payment coupon separate from your individual income
not mail another copy of your income tax return with this payment.                    tax return, do NOT mail another copy of your return with this payment.
Sending a duplicate of your return may delay posting of the payment.
                                                                                      Complete and detach the payment coupon below.
If you are sending a payment with your paper Utah individual income
tax return, include the payment coupon below with your check or                       Do not attach (staple, paper clip, etc.) the check or money order to the
money order, to insure proper credit to your account.                                 payment coupon.

Do not use this return payment coupon to prepay future individual                     Send the payment coupon and payment to:
income taxes. Use form TC-546.                                                                 Utah State Tax Commission
                                                                                               210 N 1950 W
Electronic Payment                                                                             Salt Lake City, UT 84134-0266

You may pay your tax online at tap.utah.gov.

How to Prepare the Payment
Make your check or money order payable to the Utah State Tax
Commission. Do not send cash. The Tax Commission does not
assume liability for loss of cash placed in the mail.




          SEPARATE AND RETURN ONLY THE BOTTOM COUPON WITH PAYMENT. KEEP TOP PORTION FOR YOUR RECORDS.


Individual Income Tax Mail to: Utah State Tax Commission, 210 N 1950 W, SLC UT 84134-0266 TC-547
                                                                                                                                   INTUIT

                                                                                                 Rev. 12/11
Return Payment Coupon Primary taxpayer name                                    Social Security no.
                                                                                                            I
                        CANDY WILLIAMS                                                  9938
       Tax year ending                                                                                      I
         2020          Secondary taxpayer name                                 Social Security no.          T
                        SCOTT WILLIAMS                                                 0922
       USTC Use Only                                                                                        0
                       Address                                                                              0
                       11423 SPOTTED FAWN LN
                       City                                                    State      ZIP code
                                                                                                            4
                                                     BIGFORK                                                                MT         599117335
                                                                                        Payment amount enclosed $                            371 00
                                                     REV 04/06/21 INTUIT.CG.CFP.SP
                                                                                     Make check or money order payable to the Utah State Tax Commission.
                                                                                     Do not send cash. Do not staple check to coupon. Detach check stub.



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                                                                                               Utah State Tax Commission                                    2020
40001                                                                           Utah Individual Income Tax Return                                         TC-40
                                                                                    All State Income Tax Dollars Fund Education
                                                                                                                                                             INTUIT
1555
                                                                                         • Amended Return - enter code:             (see instructions)
                                                                                                                                                          Full-yr Resident?
    Your Social Security No.       Your first name                            Your last name                                                                     Y/N

              9938                CANDY                                      WILLIAMS                                                                            N
    Spouse’s Soc. Sec. No.         Spouse’s first name                        Spouse's last name

              0922                SCOTT                                      WILLIAMS                                                                            N
                                   Address                                                                                Telephone number

    If deceased, complete         11423 SPOTTED FAWN LN                                                                   801-694-5409
                                  City                                                 State       ZIP+4                  Foreign country (if not U.S.)
        page 3, Part 1
                                  BIGFORK                                               MT         599117335
1 Filing Status - enter code                              •2   Qualifying Dependents                            3 Election Campaign Fund
        1 = Single                                         a         Dependents age 16 and under                   Does not increase your tax or reduce your refund.
• 2     2 = Married filing jointly                         b         Other dependents                          Enter the code for the       Yourself    Spouse
        3 = Married filing separately                      c    0    Total (add lines a and b)                 party of your choice.       • N         • N
        4 = Head of household                                                                                    See instructions for
        5 = Qualifying widow(er)                           Dependents must be claimed for the child tax          code letters or go to incometax.utah.gov/elect.
If using code 2 or 3, enter spouse’s name and SSN above    credit on your federal return. See instructions.    If no contribution, enter N.


4     Federal adjusted gross income from federal return                                                                                 • 4                  53301
5     Additions to income from TC-40A, Part 1 (attach TC-40A, page 1)                                                                   • 5


6     Total income - add line 4 and line 5                                                                                                 6                 53301
7     State tax refund included on federal form 1040, Schedule 1, line 1 (if any)                                                       • 7                            0
8     Subtractions from income from TC-40A, Part 2 (attach TC-40A, page 1)                                                              • 8


9     Utah taxable income (loss) - subtract the sum of lines 7 and 8 from line 6                                                        • 9                  53301
10 Utah tax - multiply line 9 by 4.95% (.0495) (not less than zero)                                                                     • 10                   2638
11 Utah personal exemption (multiply line 2c by $590)                                              • 11                         0
                                                                                                                                               Electronic filing
12 Federal standard or itemized deductions                                                         • 12              24800                    is quick, easy and
                                                                                                                                                 free, and will
13 Add line 11 and line 12                                                                          13               24800                  speed up your refund.

14 State income tax deducted on federal Schedule A, line 5a (if any)                               • 14                                          To learn more,
                                                                                                                                                      go to
15 Subtract line 14 from line 13                                                                    15               24800                        tap.utah.gov

16 Initial credit before phase-out - multiply line 15 by 6% (.06)                                  • 16                   1488
17 Enter: $14,879 (if single or married filing separately); $22,318 (if head                       • 17              29758
          of household); or $29,758 (if married filing jointly or qualifying widower)
18 Income subject to phase-out - subtract line 17 from line 9 (not less than zero)                  18               23543
19 Phase-out amount - multiply line 18 by 1.3% (.013)                                              • 19                     306
20 Taxpayer tax credit - subtract line 19 from line 16 (not less than zero)                                                             • 20                   1182
21 If you are a qualified exempt taxpayer, enter “X” (complete worksheet in instr.)                • 21


22 Utah income tax - subtract line 20 from line 10 (not less than zero)                                                                 • 22                   1456
        REV 04/06/21 INTUIT.CG.CFP.SP
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                Utah Individual Income Tax Return (continued)                                                                    NTUIT          TC-40                            Pg. 2
40002           SSN                  9938                             Last name      WILLIAMS                                                   2020

 23 Enter tax from TC-40, page 1, line 22                                                                                                     23                            1456
 24 Apportionable nonrefundable credits from TC-40A, Part 3 (attach TC-40A, page 1)                                                         • 24


 25 Full-year resident, subtract line 24 from line 23 (not less than zero)                                                                  • 25                                797
    Non or Part-year resident, complete and enter the UTAH TAX from TC-40B, line 37
 26 Nonapportionable nonrefundable credits from TC-40A, Part 4 (attach TC-40A, page 1)                                                      • 26


 27 Subtract line 26 from line 25 (not less than zero)                                                                                        27                                797
 28 Voluntary contributions from TC-40, page 3, Part 4 (attach TC-40, page 3)                                                               • 28


 29 AMENDED RETURN ONLY - previous refund                                                                                                   • 29


 30 Recapture of low-income housing credit                                                                                                  • 30


 31 Utah use tax                                                                                                                            • 31


 32 Total tax, use tax and additions to tax (add lines 27 through 31)                                                                         32                                797
 33 Utah income tax withheld shown on TC-40W, Part 1 (attach TC-40W, page 1)                                                                • 33                                426
 34 Credit for Utah income taxes prepaid from TC-546 and 2019 refund applied to 2020                                                        • 34


 35 Pass-through entity withholding tax shown on TC-40W, Part 3 (attach TC-40W, page 2)                                                     • 35


 36 Mineral production withholding tax shown on TC-40W, Part 2 (attach TC-40W, page 2)                                                      • 36


 37 AMENDED RETURN ONLY - previous payments                                                                                                 • 37


 38 Refundable credits from TC-40A, Part 5 (attach TC-40A,page 2)                                                                           • 38


 39 Total withholding and refundable credits - add lines 33 through 38                                                                        39                                426
 40 TAX DUE - subtract line 39 from line 32 (not less than zero)                                                                            • 40                                371
 41 Penalty and interest (see instructions)                                                              41
 42 TOTAL DUE - PAY THIS AMOUNT - add line 40 and line 41                                                                                  • 42                                 371
 43 REFUND - subtract line 32 from line 39 (not less than zero)                                                                            • 43


 44 Voluntary subtractions from refund (not greater than line 43)                                        • 44
    Enter the total from page 3, Part 5
 45 DIRECT DEPOSIT YOUR REMAINING REFUND - provide account information (see instructions for foreign accounts)        checking                                                  savings
    • Routing number                               • Account number                                   Account type: •                                                       •


Under penalties of perjury, I declare to the best of my knowledge and belief, this return and accompanying schedules are true, correct and complete.
 SIGN Your signature                                                      Date               Spouse’s signature (if filing jointly)                                      Date
 HERE
 Third Party    Name of designee (if any) you authorize to discuss this return                           Designee’s telephone number        Designee PIN
 Designee                                                                                                                                       •
                Preparer’s signature                                      Date                           Preparer’s telephone number        Preparer’s PTIN
   Paid           SELF-PREPARED                                                                                                                 •
 Preparer’s     Firm’s name                                                                                                                 Preparer’s EIN
 Section        and address                                                                                                                     •


Attach TC-40 page 3 if you: are filing for a deceased taxpayer, are filing a fiscal year return, filed IRS form 8886, are making voluntary contributions, want to deposit into a
my529 account, want to apply all/part of your refund to next year’s taxes, want to direct deposit to a foreign account, or no longer qualify for a homeowner’s exemption.
                           9:23-ap-09001-BPH Doc#: 35-27 Filed: 11/15/23 Page 115 of 166                                                                      REV 04/06/21 INTUIT.CG.CFP.SP
               Non and Part-year Resident Schedule                                                              NTUIT                TC-40B
40006          SSN                  -9938                       Last name     WILLIAMS                                               2020

Residency Status:         •       Nonresident: Home state abbreviation:                •   X     Part-year resident from: 01/01/20 to     05/31/20
                                                                                                                          mm/dd/yy             mm/dd/yy


Income                                                                                                Col. A - UTAH                     Col. B - TOTAL
1    Wages, salaries, tips, etc. (1040 line 1)                                                              29182                             78029
2    Taxable interest income (1040 line 2b)
3    Ordinary dividends (1040 line 3b)
4    IRAs, pensions and annuities - taxable amount (1040 lines 4b and 5b)
5    Social Security benefits - taxable amount (1040 line 6b)
6    Taxable refunds/credits/offsets of state/local income taxes (1040, Schedule 1, line 1)                           0                             0
7    Alimony received (1040, Schedule 1, line 2a)
8    Business income or (loss) (1040, Schedule 1, line 3)                                                             0                   -24478
9    Capital gain or (loss) (1040, line 7)
10   Other gains or (losses) (1040, Schedule 1, line 4)
11   Rental real estate, royalties, partnerships, S corps, trusts, etc. (1040, Schd 1, line 5)
12   Farm income or (loss) (1040, Schedule 1, line 6)
13   Unemployment compensation (1040, Schedule 1, line 7)
14   Other income (1040, Schedule 1, line 8)
15   Additions to income from TC-40A, Part 1 (Utah portion only in Utah column)                                       0
16    Total income (loss) - add lines 1 through 15 for both columns A and B                                 29182                             53551

Adjustments                                                                                           Col. A - UTAH                     Col. B - TOTAL
17    Educator expenses (1040, Schedule 1, line 10)
18    Certain bus. expenses of reservists, performing artists, etc. (1040, Schd 1, line 11)
19    Health savings account deduction (1040, Schedule 1, line 12)
20    Moving expenses (1040, Schedule 1, line 13) - col. A only expenses moving into Utah
21    Deductible part of self-employment tax (1040, Schedule 1, line 14)
22    Self-employed SEP, SIMPLE and qualified plans (1040, Schedule 1, line 15)
23    Self-employed health insurance deduction (1040, Schedule 1, line 16)
24    Penalty on early withdrawal of savings (1040, Schedule 1, line 17)
25    Alimony paid (1040, Schedule 1, line 18a)
26    IRA deduction (1040, Schedule 1, line 19)
27    Student loan interest deduction (1040, Schedule 1, line 20)
28    Tuition and fees (1040, Schedule 1, line 21)
29    Reserved                                                                                                        0                         250
30    Taxable refunds/credits/offsets of state and local income taxes (1040, Schd 1, line 1)                          0                           0
31    Subtractions from income from TC-40A, Part 2 (Utah portion only in Utah column)
32    (see instructions):


33    Total adjustments - add lines 17 through 32 for both columns A and B                                            0                         250

34     Subtract line 33 from line 16 for both columns A and B                                    •          29182               •             53301
       Line 34, column B must equal TC-40, line 9


Non or Part-year Resident Utah Tax
35   Divide line 34 column A by line 34 column B (to 4 decimal places)                                                        35           0.5475
     Do not enter a number greater than 1.0000 or less than 0.0000
36   Subtract TC-40, line 24 from TC-40, line 23 and enter the result (not less than zero) here                               36              1456
37     UTAH TAX - Multiply line 36 by the decimal on line 35. Enter on TC-40, page 2, line 25                               • 37                797

                                                        Submit this page ONLY if data entered.
                                              Attach completed schedule to your Utah Income Tax Return.
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                                                  REV 04/06/21 INTUIT.CG.CFP.SP
               Part 1 - Utah Withholding Tax Schedule                                                       INTUIT            TC-40W               Pg. 1
40009          SSN              -9938                      Last name     WILLIAMS                                             2020


    Line Explanations                                                       IMPORTANT


    1   Employer/payer ID number from W-2 box “b” or 1099                   Do not send your W-2s or 1099s with your return. Instead enter
    2   Utah withholding ID number from W-2 box “15” or 1099                W-2 or 1099 information below, but only if there is Utah withholding
        (14 characters, ending in WTH, no hyphens)                          on the form.
    3   Employer/payer name and address from W-2 box “c” or 1099
    4   Enter “X” if reporting Utah withholding from form 1099              Use additional forms TC-40W if you have more than four W-2s and/or
    5   Employee’s Social Security number from W-2 box “a” or 1099          1099s with Utah withholding tax.
    6   Utah wages or income from W-2 box “16” or 1099
    7   Utah withholding tax from W-2 box “17” or 1099                      Enter mineral production withholding from TC-675R in Part 2 of TC-40W;
                                                                            enter pass-through entity withholding in Part 3 of TC-40W.


First W-2 or 1099                                                           Second W-2 or 1099
1 860860478                                                                 1


2       12288282003WTH                     (14 characters, no hyphens)      2                                           (14 characters, no hyphens)


3       PRIMARY RESIDENTIAL MORTGAGE INC                                    3
        1480 N 2200 W

        SALT LAKE CITY                    UT84116
4                                                                           4


5               9938                                                        5


6       29182.                                                              6


7       426.                                                                7


 Third W-2 or 1099                                                          Fourth W-2 or 1099
1                                                                           1


2                                          (14 characters, no hyphens)      2                                           (14 characters, no hyphens)


3                                                                           3




4                                                                           4


5                                                                           5


6                                                                           6


7                                                                           7



                                     Enter total Utah withholding tax from all lines 7 here and on TC-40, page 2, line 33:   426.
                                                        Submit page ONLY if data entered.
                                           Attach completed schedule to your Utah Income Tax Return.
                                                 Do not attach W-2s or 1099s to your Utah return.



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                         Tax Summary                2020
                      G Keep for your records

Name
Candy & Scott Williams

Federal AGI                                          53,301.
Other additions
Other deductions
Utah taxable income                                  53,301.
Standard/Itemized deductions                         24,800.
Utah tax                                              1,456.
Other taxes
Total taxes                                           1,456.
Total taxes and contributions                           797.
Total withholding and refundable credits                426.
Tax due                                                 371.
Refund
Deposited to UESP account(s)
Applied to next year’s taxes
Net Refund                                                 0.




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                                         Utah Information Worksheet                                 2020
                                              G Keep for your own records

Part I ' Personal Information

Taxpayer:                                          Spouse:
 First Name          Candy                          First Name            Scott
 Middle Initial                 Suffix              Middle Initial                 Suffix
 Last Name           Williams                       Last Name             Williams
 Social Security No.         -9938                  Social Security No.           -0922
 Occupation          Manager                        Occupation            Retired
 Daytime Phone No. (801)694-5409                    Daytime Phone No.
 Date of Birth              /1973 (mm/dd/yyyy)      Date of Birth                /1957 (mm/dd/yyyy)
 Date of Death                       (mm/dd/yyyy)   Date of Death                         (mm/dd/yyyy)
 Home Phone
Check to print phone number on Form TC-40         Home         X Taxpayer daytime       Spouse daytime
Address         11423 Spotted Fawn Ln                                       Apt Number
City            Bigfork                    State MT    ZIP Code     59911-7335
Foreign Country                                          Evening Phone Number

Part II ' Resident Status

Indicate Utah Residency Status
 Taxpayer Spouse
                     Full-year resident                                                Form TC-40
                X    Nonresident        Taxpayer home state ID                         Form TC-40B
                                        Spouse home state ID         MT                Form TC-40S
     X               Part-year resident                from        01/01/2020        to    05/31/2020

Part III ' Filing Status

Indicate Utah Filing Status
        Single
        Head of household
  X Married filing joint return
        Married filing separate return
        Qualifying widow(er)

Part IV ' Worksheet for Computing Utah Use Tax (Line 31 of Form TC-40)

 1       Amount of purchases subject to use tax (except grocery food)                        1
 2       County/City for use tax rate                                       Use tax rate     2
 3       Use tax (line 1 multiplied by line 2)                                               3
 4       Amount of purchases for food and food ingredients                                   4
 5       Multiply line 4 by .03                                                              5
 6       Add line 3 and line 5                                                               6
 7       Credit for sales tax paid to another state                                          7
 8       Use tax due (line 6 less line 7). Enter on Form TC-40, line 31                      8




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Candy & Scott Williams                                                                           -9938       Page 2

Part V ' Election Campaign Fund

(Checking a party does not increase your tax or reduce your refund. You must have Utah tax liability of at
least $2, or $4 if married filing joint return, to contribute.)
  Taxpayer      Spouse
             C              C Constitution
             D              D Democrat
             M              M Independent American
              L              L Libertarian
             R              R Republican
             G              G Green
      X      N      X       N No Contribution
             U              U United Utah

Part VI ' Direct Deposit Information or Electronic Funds Withdrawal

 Yes No
          X    Do you want to elect direct deposit of state tax refund?
          X    Use electronic funds withdrawal of Utah payment for the tax return?

If you selected direct deposit or electronic funds withdrawal, fill out the information below:

Name of Financial Institution (optional)
Check the appropriate box:
Checking                                                          Routing number
Savings                                                           Account number
 Name(s) on account
 Payment date to withdraw from the account above
 Balance due from return

International ACH Transactions
  Yes No
             Will the funds for this refund (or payment) go to (or come from) an account outside the U.S.?
                                  Bank name for International ACH Transaction

Part VII ' Extension Status

 Yes No
       X Has the tax return due date been extended?
Extended due date

Part VIII ' Amended Return

        Filing a Utah amended return
Enter the tax year you are amending
Previous Utah payment made
Previous Utah refund received
QuickZoom to Explanation of Changes Worksheet

UTIW0134.SCR 03/04/21




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                                         Tax Payments Worksheet                            2020
                                          G Keep for your personal records

Name                                                                         Social Security Number
Candy & Scott Williams                                                                  -9938

                                                                             Date           Payment

 1     First Payment
 2     Second Payment
 3     Third Payment
 4     Fourth Payment
       Additional Payments
 5a    Payment
  b    Payment
  c    Payment
  d    Payment
  e    Payment

 6     Overpayment applied from previous year                                       6
 7     Amount paid with Form TC-546                                                 7
 8     Total tax payments                                                           8

 9     Date return will be filed and balance paid                                   9




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                                                                                         Tax Year
                                                                                         Amended
                                    Explanation of Changes


Name(s)                                                                        Social Security Number




Check this box to transfer the federal explanation from the Federal amended form




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Form 2–Page 2–2020        Social Security Number                9938
   Status 2a Payment Schedule
   ,I \RXU ¿OLQJ VWDWXV LV D \RX must complete this schedule only if there is an amount on page 1, line 26, and on page 1, line 27.
   8QGHU ¿OLQJ VWDWXV D \RXU RYHUSD\PHQW LV DSSOLHG WR WKH DPRXQW RZHG E\ \RXU VSRXVH EHIRUH \RX FDQ FODLP WKH QHW RYHUSD\PHQW RQ WKH 5HIXQG 6FKHGXOH
     1 Enter the amount from line 26, tax due                                                                                1                          00
     2 Enter the amount from line 27, tax overpaid                                                                           2                          00
     3 Subtract line 2 from line 1, enter the result but not less than zero               This is your net amount due. 3                                00
     4 Subtract line 1 from line 2, enter the result but not less than zero             This is your net overpayment. 4                                 00
   7KH DPRXQW RQ OLQH  DERYH PXVW EH HQWHUHG RQ 5HIXQG 6FKHGXOH OLQH  EHORZ  DQG LQ WKH FROXPQ RI WKH VSRXVH ZLWK DQ RYHUSD\PHQW RQ SDJH  OLQH 

   Refund Schedule
                                                                                                                               A                                   B
     1 (QWHU \RXU RYHUSD\PHQW IURP SDJH  OLQH  RU IURP WKH 6WDWXV D 3D\PHQW 6FKHGXOH OLQH              1                    391 00                              00
     2 Amount from line 1 you want applied to your 2021 estimated tax                                         2                      0 00                              00
     3 Amount from line 1 you want deposited into a 529 or 529A account (See page 12)                         3                                  00                    00
     4 Subtract lines 2 and 3 from line 1.                                      This is your REFUND Ź 4                          391 00                                00
                                 ,I \RX DUH ¿OLQJ D UHWXUQ LQ 0RQWDQD IRU WKH ¿UVW WLPH GLUHFW GHSRVLW LV QRW DYDLODEOH 6WRS KHUH DQG VLJQ \RXU UHWXUQ EHORZ
                                 ,I WKH GLUHFW GHSRVLW RSWLRQ LV DYDLODEOH DQG \RX ZLVK WR XVH LW SURYLGH \RXU EDQN DFFRXQW LQIRUPDWLRQ DQG VLJQ \RXU UHWXUQ EHORZ


            Your                 RTN# 324377516                                 ACCT#                         6141
            Direct               ,I XVLQJ GLUHFW GHSRVLW \RX DUH UHTXLUHG WR PDUN RQH ER[   X    &KHFNLQJ          6DYLQJV
           Depos t
           Account               If this deposit is going to an account located outside of the United States or its territories, mark this box.



REQUIRED
   Signature, Paid Preparer, and Third-Party Designee
     8QGHU SHQDOWLHV RI IDOVH VZHDULQJ , GHFODUH WKDW , KDYH H[DPLQHG WKLV UHWXUQ LQFOXGLQJ DFFRPSDQ\LQJ VFKHGXOHV DQG VWDWHPHQWV
     and to the best of my knowledge and belief, it is true, correct, and complete.
Your signature is required.                                                           Spouse’s signature
                                                      Date                                                                                               Date
X ____________________________________________                                        X ____________________________________________
                   Taxpayer daytime phone number       801 694 5409
Paid preparer’s signature
                                                       Preparer’s PTIN            Firm’s FEIN
SELF-PREPARED
_________________________________________                                                                      Mark if paid preparer is also a Third-Party Designee.
                Preparer daytime phone number
         Mark the box if you want to allow another person (other than a paid preparer) to discuss this return with us.
    Name                                                                                                               Phone number




    Amended Return Information
    Mark the appropriate box.                In the table below, indicate the reasons for the changes you made to your Montana tax return.
        a NOL carryback                      Form or Schedule                       Line or Box Reason
        b Federal audit
        c Amended federal return
        d Filing status
        e Other




                                                                                                                                          C9

                                                                             20CE02C9                                              REV 04/06/21 INTUIT.CG.CFP.SP
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Form 2–Page 3–2020                               Social Security Number                 9938
                           Schedule 1 (federal Form 1040 or 1040-SR)
                           Additional Income and Adjustments to Income
                            Enter your additional income and adjustments to income from Schedule 1                                             A                                   B
                            1 Taxable refunds, credits, or offsets of state and local income taxes                                      1                      00                      00
                           2a $OLPRQ\ UHFHLYHG                                                                                         2a                      00                      00
                           2b 'DWH RI RULJLQDO GLYRUFH RU VHSDUDWLRQ DJUHHPHQW              2b
  Additional Income




                            3 Business income or (loss). Include federal Schedule C.                                                    3    -24478 00                                 00
                            4 Other gains or (losses). Include federal Form 4797.                                                       4                      00                      00
                            5 Rental real estate, royalties, partnerships, S corporations, trusts, etc. Include federal Schedule E.     5                      00                      00
                            6 Farm income or (loss). Include federal Schedule F.                                                        6                      00                      00
                            7 Unemployment compensation                                                                                 7                      00                      00
                            8 Other income. List type and amount.                                                                       8                      00                      00
                            9 Combine lines 1 through 8. Enter the total on page 1, line 8.                                             9    -24478            00                      00
                           10 Educator expenses                                                                                        10                      00                      00
                           11 &HUWDLQ EXVLQHVV H[SHQVHV RI UHVHUYLVWV SHUIRUPLQJ DUWLVWV DQG IHHEDVLV JRYHUQPHQW RI¿FLDOV
                             Include federal Form 2106.                                                                                11                      00                      00
                           12 +HDOWK VDYLQJV DFFRXQW GHGXFWLRQ ,QFOXGH IHGHUDO )RUP                                              12                      00                      00
                           13 0RYLQJ H[SHQVHV IRU PHPEHUV RI WKH $UPHG )RUFHV ,QFOXGH IHGHUDO )RUP                               13                      00                      00
                           14 Deductible part of self-employment tax. Include federal Schedule SE.                                     14                      00                      00
  Adjustments to Income




                           15 6HOIHPSOR\HG 6(3 6,03/( DQG TXDOL¿HG SODQV                                                            15                      00                      00
                           16 Self-employed health insurance deduction                                                                 16                      00                      00
                           17 3HQDOW\ RQ HDUO\ ZLWKGUDZDO RI VDYLQJV                                                                   17                      00                      00
                          18a Alimony paid                                                                                             18a                     00                      00
                          18b Recipient’s SSN                                               18b
                          18c 'DWH RI RULJLQDO GLYRUFH RU VHSDUDWLRQ DJUHHPHQW              18c
                           19 IRA deduction                                                                                            19                      00                      00
                           20 Student loan interest deduction                                                                          20                      00                      00
                           21 Tuition and fees. Include Form 8917                                                                      21                      00                      00
                           22 Add lines 10 through 21. Enter the total on page 1, line 10a.
                                     Mark if including federal write-ins.                                                              22                      00                      00


                           Net Operating Loss Election for Tax Years 2018, 2019, and 2020
                           ,I \RX GR QRW ZDQW WR FDUU\ EDFN RQH RU PRUH RI \RXU QHW RSHUDWLQJ ORVVHV LQFXUUHG LQ   RU  PDUN WKH ER[ IRU WKH FRUUHVSRQGLQJ WD[ \HDU
                                       2018                           2019                            2020
                           ,I \RX LQFXUUHG VHYHUDO QHW RSHUDWLQJ ORVVHV GXULQJ WKLV WLPH SHULRG \RX PD\ HOHFW WR ZDLYH WKH FDUU\EDFN SHULRG IRU RQH \HDU DQG QRW WKH RWKHU



                             Montana Medical Savings Account (MSA) Schedule
                             ,I \RX KDYH DQ 06$ \RX PXVW UHSRUW \RXU EHJLQQLQJ DQG HQGLQJ EDODQFH HDFK \HDU                                  A                                   B
                              1 Beginning balance. If this is a new account, enter 0.                                                   1                      00                      00
           Subtraction




                              2 Total contributions for the year                                                                        2                      00                      00
                              3 (DUQLQJV IURP WKH DFFRXQW LQWHUHVW GLYLGHQGV FDSLWDO JDLQV HWF                                     3                      00                      00
                              4 Add lines 2 and 3. Enter the total on Subtractions Schedule, line 15. (See page 5)                      4                      00                      00
                              5 Ending balance. Enter your ending balance as shown on your year-end account statement.                  5                      00                      00

                              1 Total withdrawals made during the year                                                                  1                      00                      00
1RQTXDOLÀHG :LWKGUDZDO




                              2 Withdrawals for eligible expenses (See instructions)                                                    2                      00                      00
    and Penalty




                              3 1RQTXDOLÀHG ZLWKGUDZDOV Subtract line 2 from line 1. Enter the total on Additions Schedule, line 6.    3                      00                      00
                              4 1RQTXDOL¿HG ZLWKGUDZDOV QRW VXEMHFW WR WKH   SHQDOW\ 6HH LQVWUXFWLRQV                            4                      00                      00
                              5 1RQTXDOL¿HG ZLWKGUDZDOV VXEMHFW WR SHQDOW\ 6XEWUDFW OLQH  IURP OLQH                                 5                      00                      00
                              6 Penalty. Multiply line 5 by 10% (0.10) and include the total on
                                Contributions, Penalties, and Interest Schedule, line 5 (See page 11)                                   6                      00                      00



                                                                                                                                                          C9

                                                                                                       20CE03C9                                    REV 04/06/21 INTUIT.CG.CFP.SP
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Form 2–Page 5–2020                           Social Security Number             9938

                           Montana Subtractions Schedule
                           Enter your subtractions from Federal Adjusted Gross Income on the corresponding lines.               A                                   B
                            1 State income tax refunds included on Schedule 1, line 1 (See page 3)                          1               00                          00
  General Subtractions




                            2 ,QWHUHVW DQG PXWXDO IXQG GLYLGHQGV IURP IHGHUDO ERQGV QRWHV DQG REOLJDWLRQV                  2               00                          00
                            3 Partial interest exemption for taxpayers 65 and older                                         3               00                          00
                            4 Adjustment for larger federal estate and trust taxable distribution                           4               00                          00
                            5 Exemption for certain income of child taxed to parent                                         5               00                          00
                            6 5HFRYHULHV RI DPRXQWV GHGXFWHG LQ HDUOLHU \HDUV WKDW GLG QRW UHGXFH 0RQWDQD LQFRPH WD[        6               00                          00
                            7 Unemployment compensation                                                                     7               00                          00
                            8 Exempt tribal income. Include Form ETM.                                                       8               00                          00
  Employment




                            9 Certain taxed tips and gratuities                                                             9               00                          00
                           10 :RUNHUV¶ FRPSHQVDWLRQ EHQH¿WV                                                                10               00                          00
                           11 Certain health insurance premiums taxed to employee                                          11               00                          00
                          12a Student loan repayments for health care professional included in gross income               12a               00                          00
                          12b Student loan repayments for educator included in gross income                               12b               00                          00
                           13 0LOLWDU\ VDODU\ RI DFWLYH GXW\ VHUYLFHPHPEHUV                                                                 00                          00
  Military




                                                                                                                           13
                           14 /LIH LQVXUDQFH SUHPLXPV UHLPEXUVHPHQW RU GHDWK EHQH¿WV IRU 1DWLRQDO *XDUG DQG 5HVHUYLVW 14                    00                          00
                           15 0RQWDQD PHGLFDO VDYLQJV DFFRXQW GHSRVLWV DQG HDUQLQJV 6HH SDJH                              15               00                          00
                           16 )LUVWWLPH KRPH EX\HU VDYLQJV DFFRXQW GHSRVLWV DQG HDUQLQJV ,QFOXGH )RUP )7%               16               00                          00
Accounts
Savings




                           17 )DPLO\ HGXFDWLRQ VDYLQJV DFFRXQW  GHSRVLWV XS WR  SHU WD[SD\HU                      17               00                          00
                           18 $FKLHYLQJ D %HWWHU /LIH ([SHULHQFH $FW $%/( DFFRXQW GHSRVLWV
                              (up to $3,000 per taxpayer)                                                                  18               00                          00
                           19 &DUU\RYHU RI FDSLWDO ORVVHV LQFXUUHG SULRU WR                                            19               00                          00
  Status




                           20 &DUU\RYHU RI SDVVLYH ORVVHV LQFXUUHG SULRU WR                                            20               00                          00
                           21 Allocation of compensation to spouse in sole proprietorship                                  21               00                          00
                           22 0RQWDQD QHW RSHUDWLQJ ORVV FDUU\RYHU IURP 0RQWDQD 12/ 6FKHGXOH                               22               00                          00
                           23 Business-related expenses for purchasing recycled material. Include Form RCYL.               23               00                          00
  Business Subtractions




                           24 Business expenses not included on page 1, line 11, due to an existing federal credit taken.
                              (Do not include depreciation deductions)                                                     24               00                          00
                           25 &HUWDLQ H[SHQVHV LQFXUUHG E\ PHGLFDO PDULMXDQD SURYLGHUV 6HH LQVWUXFWLRQV                    25               00                          00
                           26 Sales of land to beginning farmers                                                           26               00                          00
                           27 &DSLWDO JDLQV DQG GLYLGHQGV IURP VPDOO EXVLQHVV LQYHVWPHQW FRPSDQLHV                         27               00                          00
                           28 Certain gains recognized by liquidating corporation                                          28               00                          00
                           29 Farm and ranch risk management account deposits. Include Form FRM.                           29               00                          00
                           30 Donation of mineral exploration information                                                  30               00                          00
                           31 Gain on eligible sale of mobile home park. Include Form MHPE.                                31               00                          00
                           32 Enter your total subtractions from Montana Schedules K-1 (PTE), part 3, column I, line 2     32               00                          00
                           33 Partial retirement disability income exemption for taxpayers under age 65                    33               00                          00
                           34 )HGHUDO WD[DEOH 7LHU ,, 5DLOURDG 5HWLUHPHQW EHQH¿WV HQWHUHG RQ SDJH  OLQH E               34               00                          00
  Retirement




                           35 Partial pension, annuity, and IRA income exemption (See page 6)                              35               00                          00
                           36 6XEWRWDO WR ¿JXUH WD[DEOH 6RFLDO 6HFXULW\ EHQH¿WV Combine lines 1 through 35.               36               00                          00
                           37 $GG \RXU VXEWUDFWLRQ IURP IHGHUDO WD[DEOH 6RFLDO 6HFXULW\ EHQH¿WV 6HH SDJH  DQG \RXU
                              7LHU , 5DLOURDG 5HWLUHPHQW EHQH¿WV                                                           37               00                          00
                           38 Add lines 36 and 37, and enter the total on page 1, line 13.
  Total




                                                 This is your total subtractions from Federal Adjusted Gross Income. 38                     00                          00




                                                                                                                                           C9
                                                                                             20CE05C9                               REV 04/06/21 INTUIT.CG.CFP.SP
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Form 2–Page 9–2020                                                          Social Security Number                      9938
                                                      Nonrefundable Credits Schedule
                                                      (QWHU \RXU QRQUHIXQGDEOH FUHGLWV LQFOXGLQJ DQ\ FDUU\RYHU FUHGLWV WKDW PD\ EH DYDLODEOH IURP                           A                                   B
                                                       1 Resident capital gains credit. 2% of capital gain entered on page 1, line 7.                                        1                00                          00
                                                       2 Nonresident/part-year resident capital gains credit.
  Single Year Credits - No Carryover Provision




                                                         2% of capital gain entered on Nonresident/Part-Year Resident Ratio Schedule, line 7. (See page 8)                   2                00                          00
                                                       3 Credit for an income tax liability paid to another state or country (See schedule below)                            3                00                          00
                                                       4 College contribution credit. Include Form CC.                                                                       4                00                          00
                                                       5 4XDOL¿HG HQGRZPHQW FUHGLW ,QFOXGH )RUP 4(&                                                                         5               00                          00
                                                       6 (QHUJ\ FRQVHUYDWLRQ LQVWDOODWLRQ FUHGLW ,QFOXGH )RUP (15*&                                                        6               00                          00
                                                       7 $OWHUQDWLYH IXHO FUHGLW ,QFOXGH )RUP $)&5                                                                          7               00                          00
                                                       8 Health insurance for uninsured Montanans credit. Include Form HI.                                                    8               00                          00
                                                       9 Elderly care credit. Include Form ECC.                                                                               9               00                          00
                                                      10 Recycle credit. Include Form RCYL.                                                                                  10               00                          00
                                                      11 ,QQRYDWLYH HGXFDWLRQDO SURJUDP FUHGLW                                                                               11               00                          00
                                                      12 Student scholarship organization credit                                                                             12               00                          00
                                                      13 Apprenticeship credit                                                                                               13               00                          00
                                                      14 Biodiesel blending and storage credit. Include Form BBSC.                                                           14               00                          00
                                                      15 Contractor’s gross receipts tax credit. If multiple CGR accounts, mark here.
  1RQUHIXQGDEOH &UHGLWV ZLWK &DUU\RYHU 3URYLVLRQ




                                                         &*5 $FFRXQW ,'                                                                                                     15               00                          00
                                                      16 Geothermal systems credit. Include Form ENRG-A.                                                                     16               00                          00
                                                      17 $OWHUQDWLYH HQHUJ\ V\VWHPV FUHGLW 5HFRJQL]HG QRQIRVVLO IRUP RI HQHUJ\ JHQHUDWLRQ                                  17               00                          00
                                                      18 $OWHUQDWLYH HQHUJ\ V\VWHPV FUHGLW /RZ HPLVVLRQ ZRRG RU ELRPDVV FRPEXVWLRQ GHYLFH
                                                         Include Form ENRG-B if you are claiming a credit on lines 17 or 18.                                                 18               00                          00
                                                      19 $OWHUQDWLYH HQHUJ\ SURGXFWLRQ FUHGLW ,QFOXGH )RUP $(3&                                                            19               00                          00
                                                      20 Dependent care assistance credit. Include Form DCAC.                                                                20               00                          00
                                                      21 +LVWRULF SURSHUW\ SUHVHUYDWLRQ FUHGLW ,QFOXGH IHGHUDO )RUP                                                    21               00                          00
                                                      22 Infrastructure users fee credit. Include Form IUFC.                                                                 22               00                          00
                                                      23 Empowerment zone credit                                                                                             23               00                          00
                                                      24 ,QFUHDVLQJ UHVHDUFK DFWLYLWLHV FUHGLW ,QFOXGH D GHWDLOHG VFKHGXOH RI WKH FUHGLW FDUU\IRUZDUG                      24               00                          00
                                                      25 0LQHUDO DQG FRDO H[SORUDWLRQ LQFHQWLYH FUHGLW ,QFOXGH )RUP 0,1(&5('                                              25               00                          00
                                                      26 Adoption credit. Include federal Form 8839.                                                                         26               00                          00
                                                      27 Media credit. Include Form MEDIA-CLAIM                                                                              27               00                          00
                                                      28 Add lines 1 through 27, and enter the total on page 1, line 19.
  Total




                                                                                                                   This is your total nonrefundable credits. 28                               00                          00

                                                       Credit for Income Tax Paid to Another State or Country Schedule
                                                       <RX PD\ KDYH SDLG LQFRPH WD[ RQ LQFRPH VRXUFHG WR DQRWKHU VWDWH ZKLOH D 07 UHVLGHQW 8VH WKLV VFKHGXOH
                                                       to calculate this credit. You cannot claim this credit if a foreign tax credit is claimed for federal tax purposes.        A                                   B
                                                       1 Enter your income sourced and taxable to another state or country that is included in your Montana
                                                         Adjusted Gross Income or in your Montana source income if a part-year resident. (See instructions) 1                                 00                          00
  Credit for Taxes Paid to Another State or Country




                                                       2 Enter all income sourced and taxable to the other state or country.
                                                         (QWHU VWDWH¶V DEEUHYLDWLRQ                                                                                         2                00                          00
                                                       3 Enter your income sourced and taxable to Montana.
                                                         If a full-year resident, enter page 1, line 14.
                                                         If a part-year resident, enter Nonresident/Part-Year Resident Ratio Schedule, line 16. (See page 8) 3                                00                          00
                                                       4 Enter your total income tax liability paid to the other state or country (See instructions)         4                                00                          00
                                                       5 Enter your Montana tax liability (See instructions)                                                 5                                00                          00
                                                       6 'LYLGH OLQH  E\ OLQH  (QWHU WKH SHUFHQWDJH KHUH EXW QRW PRUH WKDQ                          6
                                                       7 Multiply line 4 by line 6                                                                           7                                00                          00
                                                       8 'LYLGH OLQH  E\ OLQH  (QWHU WKH SHUFHQWDJH KHUH EXW QRW PRUH WKDQ                          8
                                                       9 0XOWLSO\ OLQH  E\ OLQH  ,I \RX KDYH FDSLWDO JDLQV LQFOXGHG RQ OLQH  VHH LQVWUXFWLRQV          9                                00                          00
                                                      10 Enter the smaller of the amounts on lines 4, 7, or 9 here and on Nonrefundable Credits Schedule,
                                                         OLQH  6HH DERYH            This is your credit for income tax paid to another state or country. 10                                 00                          00



                                                                                                                                                                                            C9

                                                                                                                                       20CE09C9                                       REV 04/06/21 INTUIT.CG.CFP.SP
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                             Charitable Deduction Limits Worksheet                                      2020
                                For Current Year Contributions
                                              G Keep for your records

Name(s) Shown on Return                                                                 Social Security Number
Candy & Scott Williams                                                                           -9938

Step 1 ' Enter your other charitable contributions made during the year.
 1   Enter your cash contributions to 100% limit organizations                               1
 2   Enter your contributions of capital gain property "for the use of" any qualified
     organization                                                                            2
 3   Enter your other contributions "for the use of" any qualified organization.
     Don’t include any contributions you entered on a previous line                          3
 4   Enter your other contributions to qualified organizations that aren’t 50% limit
     organizations. Don’t include any contributions you entered on a previous line           4
 5   Enter your contributions of capital gain property to 50% limit organizations
     deducted at fair market value. Don’t include any contributions you entered on
     a previous line.                                                                        5
 6   Enter your noncash contributions to 50% limit organizations other than capital
     gain property you deducted at fair market value. Be sure to include
     contributions of capital gain property to 50% limit organizations if you reduced
     the property’s fair market value. Don’t include any contributions you entered
     on a previous line                                                                      6                   484.
 7   Enter your cash contributions to 50% limit organizations. Don’t include any
     contributions you entered on a previous line                                            7

Step 2 ' Figure your deduction for the year (if any result is zero or less, enter -0-)
 8      Enter your adjusted gross income (AGI)                                           8                53,301.
A Cash contributions subject to the limit based on 60% of AGI
   (If line 7 is zero, leave lines 9 through 11 blank)
 9      Multiply line 8 by 0.6                                         9
10      Deductible amount. Enter the smaller of line 7 or line 9      10
11      Carryover. Subtract line 10 from line 7                       11
B Noncash contributions subject to the limit based on 50% of AGI
   (If line 6 is zero, leave lines 12 through 15 blank)
12      Multiply line 8 by 0.5                                        12           26,651.
13      Subtract line 10 from line 12                                 13           26,651.
14      Deductible amount. Enter the smaller of line 6 or line 13     14               484.
15      Carryover. Subtract line 14 from line 6                       15                                           0.
C Contributions (other than capital gain property) subject to limit based on 30% of AGI
   (If lines 3 and 4 are both zero, leave lines 16 through 22 blank)
16      Multiply line 8 by 0.5                                        16
17      Add lines 5, 6, and 7                                         17
18      Subtract line 17 from line 16                                 18
19      Multiply line 8 by 0.3                                        19
20      Add lines 3 and 4                                             20
21      Deductible amount. Enter the smallest of line 18, 19, or 20   21
22      Carryover. Subtract line 21 from line 20                      22
D Contributions of capital gain property subject to limit based on 30% of AGI
   (If line 5 is zero, leave lines 23 through 28 blank)
23      Multiply line 8 by 0.5                                        23
24      Add lines 6 and 7                                             24
25      Subtract line 24 from line 23                                 25
26      Multiply line 8 by 0.3                                        26
27      Deductible amount. Enter the smallest of line 5, 25, or 26    27
28      Carryover. Subtract line 27 from line 5                       28
E Contributions subject to the limit based on 20% of AGI
   (If line 2 is zero, leave lines 29 through 37 blank)
29      Multiply line 8 by 0.5                                        29
30      Add lines 10, 14, 21, and 27                                  30
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31      Subtract line 30 from line 29                                   31
32      Multiply line 8 by 0.3                                          32
33      Subtract line 21 from line 32                                   33
34      Subtract line 27 from line 32                                   34
35      Multiply line 8 by 0.2                                          35
36      Deductible amount. Enter the smallest of line 2, 31, 33, 34,
        or 35                                                           36
37      Carryover. Subtract line 36 from line 2                         37
F Qualified contributions subject to limit based on 100% of AGI
   (If line 1 is zero, leave lines 38 through 42 blank)
38      Enter the amount from line 8                                    38
39      Add lines 10, 14, 21, 27, and 36                                39
40      Subtract line 39 from line 38                                   40
41      Deductible amount. Enter the smaller of line 1 or line 40       41
42      Carryover. Subtract line 41 from line 1                         42
G Deduction for the year
43      Add lines 10, 14, 21, 27 and 36. Enter the total here
        and include the deductible amounts on Schedule A (Form
        1040), line 11 or line 12 whichever is appropriate. Also,
        enter the amount from line 41 on the dotted line next to the
        line 11 entry space                                             43               484.
44      Carryover to next year. Add lines 11, 15, 22, 28 and 37         44                               0.
Note: Any amounts in the carryover column are not deductible this year but can be carried over to next
year. See Carryovers, later, for more information about how you will use them next year.




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                             Charitable Deduction Limits Worksheet                                      2020
                                  For Carryover Contributions
                                              G Keep for your records

Name(s) Shown on Return                                                                 Social Security Number
Candy & Scott Williams                                                                           -9938

Step 1 ' Enter your other charitable contributions made during the year.
 1   Enter your cash contributions to 100% limit organizations                               1
 2   Enter your contributions of capital gain property "for the use of" any qualified
     organization                                                                            2
 3   Enter your other contributions "for the use of" any qualified organization.
     Don’t include any contributions you entered on a previous line                          3
 4   Enter your other contributions to qualified organizations that aren’t 50% limit
     organizations. Don’t include any contributions you entered on a previous line           4
 5   Enter your contributions of capital gain property to 50% limit organizations
     deducted at fair market value. Don’t include any contributions you entered on
     a previous line.                                                                        5
 6   Enter your noncash contributions to 50% limit organizations other than capital
     gain property you deducted at fair market value. Be sure to include
     contributions of capital gain property to 50% limit organizations if you reduced
     the property’s fair market value. Don’t include any contributions you entered
     on a previous line                                                                      6
 7   Enter your cash contributions to 50% limit organizations. Don’t include any
     contributions you entered on a previous line                                            7

Step 2 ' Figure your deduction for the year (if any result is zero or less, enter -0-)
 8      Enter your adjusted gross income (AGI)                                          8   53,301.
                                                       Percentage           Used in
                                                         of line 8        Current Year
    a 60% AGI limit to line 9                             31,981. Less               0.   a 31,981.
    b 50% AGI limit to line 12                            26,651. Less            484.    b 26,167.
    c 30% AGI limit, Section C to line 19                 15,990. Less               0.   c 15,990.
    d 30% AGI limit, Section D to line 26                 15,990. Less               0.   d 15,990.
    e 20% AGI limit to line 35                            10,660. Less               0.   e 10,660.
A Cash contributions subject to the limit based on 60% of AGI
   (If line 7 is zero, leave lines 9 through 11 blank)
 9      Multiply line 8 by 0.6                                         9
10      Deductible amount. Enter the smaller of line 7 or line 9      10
11      Carryover. Subtract line 10 from line 7                       11
B Noncash contributions subject to the limit based on 50% of AGI
   (If line 6 is zero, leave lines 12 through 15 blank)
12      Multiply line 8 by 0.5                                        12
13      Subtract line 10 from line 12                                 13
14      Deductible amount. Enter the smaller of line 6 or line 13     14
15      Carryover. Subtract line 14 from line 6                       15
C Contributions (other than capital gain property) subject to limit based on 30% of AGI
   (If lines 3 and 4 are both zero, leave lines 16 through 22 blank)
16      Multiply line 8 by 0.5                                        16
17      Add lines 5, 6, and 7                                         17
18      Subtract line 17 from line 16                                 18
19      Multiply line 8 by 0.3                                        19
20      Add lines 3 and 4                                             20
21      Deductible amount. Enter the smallest of line 18, 19, or 20   21
22      Carryover. Subtract line 21 from line 20                      22
D Contributions of capital gain property subject to limit based on 30% of AGI
   (If line 5 is zero, leave lines 23 through 28 blank)
23      Multiply line 8 by 0.5                                        23
24      Add lines 6 and 7                                             24
25      Subtract line 24 from line 23                                 25
26      Multiply line 8 by 0.3                                        26
27      Deductible amount. Enter the smallest of line 5, 25, or 26    27
28      Carryover. Subtract line 27 from line 5                       28
E Contributions subject to the limit based on 20% of AGI
   (If line 2 is zero, leave lines 29 through 37 blank)
29      Multiply line 8 by 0.5                                        29
30                  9:23-ap-09001-BPH
        Add lines 10,  14, 21, and 27             Doc#: 35-27 Filed:3011/15/23 Page 136 of 166
31      Subtract line 30 from line 29                                   31
32      Multiply line 8 by 0.3                                          32
33      Subtract line 21 from line 32                                   33
34      Subtract line 27 from line 32                                   34
35      Multiply line 8 by 0.2                                          35
36      Deductible amount. Enter the smallest of line 2, 31, 33, 34,
        or 35                                                           36
37      Carryover. Subtract line 36 from line 2                         37
F Qualified contributions for certain disaster relief efforts (Not applicable for carryovers)
   (If line 1 is zero, leave lines 38 through 42 blank)
38      Enter the amount from line 8                                    38
39      Add lines 10, 14, 21, 27, and 36                                39
40      Subtract line 39 from line 38                                   40
41      Deductible amount. Enter the smaller of line 1 or line 40       41
42      Carryover. Subtract line 41 from line 1                         42
G Deduction for the year
43      Add lines 10, 14, 21, 27 and 36. Enter the total here
        and include the deductible amounts on Schedule A (Form
        1040), line 11 or line 12 whichever is appropriate. Also,
        enter the amount from line 41 on the dotted line next to the
        line 11 entry space                                             43
44      Carryover to next year. Add lines 11, 15, 22, 28 and 37         44
Note: Any amounts in the carryover column are not deductible this year but can be carried over to next
year. See Carryovers, later, for more information about how you will use them next year.




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                                  Montana Information Worksheet                                2020
                                         G Keep for your own records

Part I ' Personal Information

Taxpayer:                                              Spouse:
 First Name           Candy                              First Name           Scott
 Middle Initial                                          Middle Initial
 Last Name            Williams                           Last Name            Williams
 Suffix                                                  Suffix
 Social Security No.           -9938                     Social Security No.         -0922
 Date of Birth                /1973                      Date of Birth              /1957
 Date of Death                                           Date of Death
 Daytime Phone          (801)694-5409 * X                Daytime Phone                             *
 Home Phone                                   *
 * Check one of these boxes to print daytime phone number on the government forms.

 Street Address       11423 Spotted Fawn Ln                    Apartment
 City                 Bigfork               State MT        ZIP Code     59911-7335
 Foreign province/county                       Foreign Postal Code
 Foreign country

Part II ' Resident Status

    Full-Year Resident filing Form 2
    Nonresident filing Form 2
  X Part-Year Resident filing Form 2
     Nonresidents and Part-Year residents must complete page 7, Nonresident/Part-Year
     Resident Ratio Schedule
     Date of change                  06/01/2020      State moved to       MT
                                                     State moved from     UT

Part III ' Filing Status

     Single
  X Married filing joint return
     Married and both filing separate returns on the same form
     Married filing separately on separate forms
     Married filing separate return and spouse not filing
     Head of Household

Part IV ' Other Information

 Number of adopted children
     Mail Montana state tax forms and instructions to you next year?
     Extend Montana tax return? This does not extend the time to pay
     Is taxpayer legally blind?
     Is spouse legally blind?
     Is at least 2/3 of your gross income from farming or ranching?
     Do you want the MT DOR to calculate the underpayment penalty?
     Married filing separately and spouse itemizes deductions?
 Third Party Designee:
 Yes        No
             X Do you want to allow another person to discuss your return with the Montana Department of
 Revenue? If yes, enter the person’s name
                                       Telephone




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Candy & Scott Williams                                                                         -9938        Page 2



Part V ' Direct Deposit Information or Direct Debit Information

 Yes No
  X          Use direct deposit for state refund
             Use direct debit of state tax payment (Electronic Filing Only)
  If you selected either of the options above, fill out the information below:
  Name of Financial Institution (optional)               America First
  Check the appropriate box:
    X Checking                                                  Routing number   324377516
       Savings                                                  Account number              6141
  Enter the payment date to withdraw from the account above
  State balance-due amount from this return
International ACH Transactions
  Yes No
          X Will the funds for this refund (or payment) go to (or come from) an account outside the U.S.?

Part VI ' Extension Status

 Yes No
       X Tax return due date extended?    Date of extension
 QuickZoom here to IT-EXT: Extension Payment Voucher

Part VII ' Amended Return

     Is this a Montana amended return?
 Tax Year amending
 Previous Montana payment made
 Previous Montana refund received
 QuickZoom here to Form 2: Amended Return Information

 QuickZoom here to Form 2: Individual Income Tax Return

MTIW0101.SCR 12/04/19




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                                         Tax Payments Worksheet                                   2020
                                               G Keep for your records

Name                                                                                Social Security Number
Candy & Scott Williams                                                                      -9938

Tax Payments for the Current Year

                                                                                          State

                                                                                  Date          Payment

 1     First Payment
 2     Second Payment
 3     Third Payment
 4     Fourth Payment

       Additional Payments
 5     Payment
       Payment
       Payment
       Payment
       Payment
 6     Overpayment from previous year applied to current year
 7     Amount paid with current year extension

 8     Total tax payments



Income Taxes Withheld for the Current Year

                                                                 Taxpayer                       Spouse
 9     State withholding on Forms W-2                                    1,230.
10     State withholding on Forms W-2G
11     State withholding on Forms 1099-R
12 a   State withholding on Forms 1099-MISC
   b   State withholding on Forms 1099-NEC
   c   State withholding on Forms 1099-G
   d   State withholding on Forms 1099-K
13     Other state tax withholding

14     Total income tax withheld                                         1,230.

15     Date return will be filed and balance paid                                    15

othv0501.SCR 07/06/20




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           Form                        Estimated Tax Worksheet                                   2021
           ESW                               G Keep for your records

Name(s) Shown on Return                                                            Your Social Security Number
Candy & Scott Williams                                                                     -9938

Part I         2021 Estimated Tax Amount Options

  1   Select One of Five Ways to Calculate the Required Annual Payment for 2021 Estimates:
    a 100% of 2020 taxes (default, see Tax Help)                                 X                      839.
    b 100% of tax on 2021 estimated taxable income                                                    1,835.
    c 90% of tax on 2021 estimated taxable income                                                     1,652.
    d Equal to 100% of overpayment (no vouchers)                                                        391.
    e Enter total amount you want to use for estimates and check box
  2   Selected estimated tax amount:
    a 2021 Required Annual Payment based on your choice above                                             839.
    b Estimated amount of 2021 state income tax withholding and renter or
      homeowner credit                                                                                1,230.
    c Total of estimated tax payments required for 2021 (line 2a less line 2b)                            0.
  3   Select Estimated Tax Payment option:
    a Calculate estimates if $500 or more (default)                              X
    b Calculate estimates if               (specify amount) or more
    c Calculate estimates regardless of amount
    d Do not calculate estimates

Part II        Overpayment Application Options

  1   Amount of overpayment available (Form 2)                                                            391.
  2   Select Overpayment Application Amount Option:
    a Apply none (refund entire overpayment)                                           X
    b Apply all (increase estimate if required)
    c Apply to extent of total estimated tax and refund excess
    d Apply to extent of first quarter amount and refund excess
    e Enter amount you want to apply                                             0.
    f Amount applied to 2021 estimated tax                                                                  0.
    g Overpayment to be refunded (line 1 less line 2f)                                                    391.
  3   Select Overpayment Application Sequence:
    a X H Consecutively           b      H Evenly

Part III       Rounding and Printing Options

  1   Select Rounding Option:
    a X H Round up to             b      H Round up to      c      H Round up to   d     H Round to
             next $1                         next $10                 next $100             nearest $1
  2   Select Voucher Printing Option:
    a     H Print (per Part I, lines 3a - c)      b   H Print only name, etc. c X H Do not print vouchers

Part IV        Estimated Tax Payment Summary

                                         1              2              3               4             Total
                                   Apr 15, 2021   Jun 15, 2021    Sep 15, 2021   Jan 18, 2022

1 If you have already
  made payments,
  enter amounts
2 Indicate which payment is
  due next. (e.g. if it is now
   April 25, 2021, check col. 2)         X

3 Required Payment
4 Overpayment applied
5 Net payment due

6 Voucher amounts
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Candy & Scott Williams                                                                                -9938     Page 2

Part V            Changes to Income, Deductions and Withholding for 2021

 2020 income and deductions are shown in the ’2020 Actual’ column below.
 *Caution: For each line in the ’2021 Estimated’ column, enter the estimated 2021 amount if different from
           2020. Otherwise, the ’2020 Actual’ amount will be used for that line. If zero, you must enter zero.

                                                                                     2020 Actual       *2021 Estimated
     1   Montana adjusted gross income                                                    53,301.
     2   Montana itemized deductions or standard deduction                                12,951.
     3a  Total number of exemptions                                                         2
       b Multiply exemptions on line 3a by $2,560                                          5,120.
     4   Lump-sum distribution tax (10% of federal lump-sum
         distribution tax)
     5   Credits against tax (do not include income
         tax withholding or refundable credits)
     6 a Montana tax withholding                                                           1,230.
       b Refundable credits
       c Total amount of Montana income tax withholding and refundable
         credits (Total of 6a and 6b)                                                      1,230.

Part VI           2021 Estimated Taxable Income and Tax

 1         Enter total amount of Montana adjusted gross income expected in 2021                   1           53,301.
 2         Enter estimated amount of:
     a     2021 itemized deductions or standard deduction*                  2a          12,951.
     b     Enter 2021 exemption amount, $2,560 for each
           allowable exemption                                                b          5,120.
           Total of 2a and 2b                                                                     2           18,071.
 3         Calculated by subtracting line 2 from line 1. If zero or less, do not go any
           further. You are not subject to estimated tax, Do not send in coupons                  3           35,230.
 4         Tax.
     a     Figure tax on the amount on line 3 by using
           the tax table in the instructions                                4a           1,835.
     b     Lump-sum distribution tax (10% of federal lump-
           sum distribution tax)                                              b
           Total of 4a and 4b                                                                     4            1,835.
 5         Credits against tax. Do not include income tax withholding on this line                5
 6         Subtract line 5 from line 4                                                            6            1,835.


MTIW3112.SCR 11/21/20




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                        Tax Summary                         2020
                     G Keep for your records

Name(s)                                                  SSN
Candy & Scott Williams                                          -9938

                                        Taxpayer             Spouse
                                                           (If married
                                                               filing
                                                          separate on
                                                           combined
                                                               form)


Federal
Adjusted Gross Income                          53,301.
Additions to income                                 0.
Reductions to income                                0.
Montana
Adjusted Gross Income                          53,301.
Itemized
or standard deduction                          12,951.
Exemptions                                      5,120.
Taxable income                                 35,230.
Total tax                                         839.
Total payments and credits                      1,230.

Penalty, interest                                   0.
Contributions                                       0.
Amount overpaid                                    391
Amount credited to estimate                         0.
Refunded to you                                   391.
Balance due




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                                               MONTANA
                                     Pro Delegation Worksheet            2020


 Check this box if you are PRO



Enter preparer code from Firm/Preparer Info (See Help)




PDF ATTACHMENTS




   Attachment        Type      File Name           PDF Name     Entity   Version
   Description                                                  Key




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Candy & Scott Williams                                                                                    -9938   1



Smart Worksheets From 2020 Montana Tax Return

SMART WORKSHEET FOR: Form 2 (Copy 1)

                                     Montana Earned Income Tax Credit Reduction Worksheet
             IMPORTANT: If prior year income is being used in the federal return for the calculation of the
             EITC then prior year income amounts are required for this worksheet.
                  Used Prior Year Income for Federal EITC              Yes            No
             This worksheet is used ONLY if one or more of the following situations apply. Check any box
             that is applicable. If the prior year income "Yes" box is checked above, then check any box
             applicable in the PRIOR tax year.
             A      X      Part-year resident of Montana
             B             Enrolled tribal member with Montana tax exempt income
             C             Member of an agricultural organization provided for in section 501(d)
             D             Service member of the armed forces with Montana tax exempt income

            1   Federal EITC from line 23a
            2   Multiply line 1 by 3% (.03)
            3   Federal Earned income used for the calculation of the credit                        0.
           4a   Part year resident MT earned income
           4b   Enrolled tribal member MT tax exempt income
           4c   Agriculture org section 501(d) MT tax exempt income
           4d   Armed forces service member MT tax exempt income
            5   Montana Earned income (see tax help)
            6   Divide line 5 by line 3
            7   Multiply line 2 by line 6. Result is your MT EITC (to line 23b)




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Candy & Scott Williams                                                                           -9938      2


SMART WORKSHEET FOR: Form 2 (Copy 1)

                                       Federal Tax Paid/Withheld Smart Worksheet

                                                                                  A          B
          A      Federal income tax withholding from Forms W-2,
                 W-2G, 1099-G, 1099-NEC, 1099-MISC and 1099-R                      1,943.
          B      Federal income tax withheld on Schedules K-1
          C      Federal income tax withheld on Forms 1099-INT,
                 1099-DIV and 1099-OID
          D      Federal income tax withheld on Social Security, Railroad
          E      Other federal income tax withheld
          F      Self-employment taxes included on lines A - E
          G      Total 2020 federal income tax withheld                            1,943.

          H      Federal estimated tax payments made in 2020
           I     Federal estimated tax from Schedules K-1
          J      Other federal estimated tax payments
          K      Self-employment taxes included on lines H - J
          L      Total federal estimated tax payments made in 2020

          M      Balance of your 2019 federal income tax paid in 2020                 908.
          N      Self-employment taxes included on line M
          O      Total 2019 federal income tax paid in 2020                           908.

          P      Other back year federal income tax paid in 2020
          Q      Other back year self employment taxes included in P
          R      Other back year taxes included in P (see instructions).
          S      Total back year federal income tax paid in 2020




SMART WORKSHEET FOR: Form 2 (Copy 1)

                            Deductible 2020 Federal Income Tax Smart Worksheet*
         T       Federal Form 1040 line 22 (tax after nonrefundable credits)                       2,911.
         U       Less Federal Schedule 2 Part I line 2 (repayment of HCTC excess payments)
         V       Add Taxes from Federal Schedule 2 Part II line 8
         W       Less Taxes from Federal Form 8959 line 18 (Additional Medicare Tax)
         X       Add IRC 965 net tax liability from Federal Schedule 2 Part II line 9
         Y       Total Federal Income Tax for purposes of Montana Deduction                        2,911.
               * Payments for federal income taxes that are calculated in this worksheet
                 are allowed as a Montana itemized deduction.




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Candy & Scott Williams                                                                                        -9938         3


SMART WORKSHEET FOR: Form 2 (Copy 1)

                                           Line 4A and Line 4B Reduction Worksheet**

          Z       2020 Overpayment is reduction amount (G + L - Y but not less than 0)                                 0.

                                                  Original A          Original B          Reduced A            Reduced B
          i       Line 4a (tax withheld)                1,943.                                  1,943.
          ii      Line 4b (estimated pay)
               ** The line 4a and 4b amount(s) will be reduced by any overpayment of the federal income
                  taxes (line Y). The reduction is applied in the order (1) line 4b column A, (2) line 4b column B,
                  (3) line 4a column A, (4) line 4a column B.




SMART WORKSHEET FOR: Form 2 (Copy 1)

                         Motor Vehicle And Other Personal Property Taxes Smart Worksheet

                                                                                   Column A            Column B

          A      Motor vehicle(s) taxes                                                     890.
          B      Light Vehicle Registration Fee
          C      Other Personal Property Taxes




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Candy & Scott Williams                                                                                   -9938          4


SMART WORKSHEET FOR: Form 2 (Copy 1)

                     Lines 11 and 12 Charitable Contribution Limitation Using Montana AGI

                         Limited to % of AGI                  Contribution      After Limitation       Carryover

            Note: Row A and B cash contribution
            amounts will be reduced by page 1, line 10b
            when the standard deduction is taken on the
            federal return.
            Page 1, line 10b amount            250.

          A Cash Contributions 100%
                              less
          B Cash Contributions 60%
                              less
          C Non Cash Contributions 50%                                  484.                484.                   0.
          D Contributions 30% (Non Cap Gain)
          E Capital Gain Property 30%
          F Capital Gain Property 20%
          G Total                                                       484.                484.                   0.

                    Line 13 Charitable Contribution Carryover Limitation Using Montana AGI
            If Montana contribution carryover amounts from previous years differ from the federal amounts,
            enter updated amounts in the "Contribution" column below.

                         Limited to % of AGI                  Contribution      After Limitation       Carryover
          H Cash Contributions 60%
          I Non Cash Contributions 50%
          J Contributions 30% (Non Cap Gain)
          K Capital Gain Property 30%
          L Capital Gain Property 20%
          M Total




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SCHEDULE 1
                                   Additional Income and Adjustments to Income
                                                                                                                                         OMB No. 1545-0074
(Form 1040)
Department of the Treasury
                                                  a Attach to Form 1040, 1040-SR, or 1040-NR.                                             2020
                                                                                                                                         Attachment
                                    a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                                 Sequence No. 01
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                             Your social security number
Candy & Scott Williams                                                                                                              -9938
 Part I        Additional Income
  1      Taxable refunds, credits, or offsets of state and local income taxes . . . . . . .                                         1                      0.
  2a Alimony received . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         2a
    b Date of original divorce or separation agreement (see instructions) a
  3      Business income or (loss). Attach Schedule C                 . . . . . . . . . . . . . . .                                 3          -24,478.
  4      Other gains or (losses). Attach Form 4797 . . . . . . . . . . . . . . . . .                                                4
  5      Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E                                5
  6      Farm income or (loss). Attach Schedule F . . . . . . . . . . . . . . . . .                                                 6
  7      Unemployment compensation . . . . . . . . . . . . . . . . . . . . . .                                                      7
  8      Other income. List type and amount a
                                                                                                                                    8
  9      Combine lines 1 through 8. Enter here and on Form 1040, 1040-SR, or 1040-NR,
         line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     9          -24,478.
 Part II Adjustments to Income
10       Educator expenses . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      10
11       Certain business expenses of reservists, performing artists, and fee-basis government
         officials. Attach Form 2106 . . . . . . . . . . . . . . . . . . . . . . .                                                  11
12       Health savings account deduction. Attach Form 8889 . . . . . . . . . . . .                                                 12
13       Moving expenses for members of the Armed Forces. Attach Form 3903 . . . . .                                                13
14       Deductible part of self-employment tax. Attach Schedule SE                      . . . . . . . . .                          14
15       Self-employed SEP, SIMPLE, and qualified plans . . . . . . . . . . . . . .                                                 15
16       Self-employed health insurance deduction . . . . . . . . . . . . . . . . .                                                 16
17       Penalty on early withdrawal of savings              . . . . . . . . . . . . . . . . . .                                    17
18a Alimony paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         18a
    b Recipient’s SSN             . . . . . . . . . . . . . . . . . . . . a
    c Date of original divorce or separation agreement (see instructions) a
19       IRA deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      19
20       Student loan interest deduction . . . . . . . . . . . . . . . . . . . . .                                                  20
21       Tuition and fees deduction. Attach Form 8917 . . . . . . . . . . . . . . .                                                 21
22       Add lines 10 through 21. These are your adjustments to income. Enter here and
         on Form 1040, 1040-SR, or 1040-NR, line 10a . . . . . . . . . . . . . . .                                                  22
For Paperwork Reduction Act Notice, see your tax return instructions.       BAA             REV 09/17/21 Intuit.cg.cfp.sp         Schedule 1 (Form 1040) 2020




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SCHEDULE 3
                                             Additional Credits and Payments
                                                                                                                                         OMB No. 1545-0074
(Form 1040)
Department of the Treasury
                                                  a Attach to Form 1040, 1040-SR, or 1040-NR.                                             2020
                                                                                                                                         Attachment
                                    a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                                 Sequence No. 03
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                             Your social security number
 Candy & Scott Williams                                                                                                              -9938
 Part I        Nonrefundable Credits
  1      Foreign tax credit. Attach Form 1116 if required                . . . . . . . . . . . . . .                                1
  2      Credit for child and dependent care expenses. Attach Form 2441                         . . . . . . .                       2
  3      Education credits from Form 8863, line 19 . . . . . . . . . . . . . . . . .                                                3
  4      Retirement savings contributions credit. Attach Form 8880 . . . . . . . . . .                                              4                117.
  5      Residential energy credits. Attach Form 5695                 . . . . . . . . . . . . . . .                                 5
  6      Other credits from Form:            a     3800       b     8801      c                                                     6
  7      Add lines 1 through 6. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 20                                           7                117.
 Part II Other Payments and Refundable Credits
  8      Net premium tax credit. Attach Form 8962 . . . . . . . . . . . . . . . . .                                                 8
  9      Amount paid with request for extension to file (see instructions) . . . . . . . .                                          9
10       Excess social security and tier 1 RRTA tax withheld . . . . . . . . . . . . .                                              10
11       Credit for federal tax on fuels. Attach Form 4136 . . . . . . . . . . . . . .                                              11
12       Other payments or refundable credits:
    a Form 2439 . . . . . . . . . . . . . . . . . . . . . 12a
    b Qualified sick and family leave credits from Schedule(s) H and
      Form(s) 7202 . . . . . . . . . . . . . . . . . . . . 12b
    c Health coverage tax credit from Form 8885                    . . . . . . . .            12c
    d Other:                                                                                  12d
    e Deferral for certain Schedule H or SE filers (see instructions)                    .    12e
    f Add lines 12a through 12e . . . . . . . . . . . . . . . . . . . . . . .                                                      12f
13       Add lines 8 through 12f. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 31                                         13
For Paperwork Reduction Act Notice, see your tax return instructions.          BAA              REV 09/17/21 Intuit.cg.cfp.sp     Schedule 3 (Form 1040) 2020




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SCHEDULE C                                               Profit or Loss From Business                                                                                        OMB No. 1545-0074

                                                                                                                                                                                 2020
(Form 1040)                                                                 (Sole Proprietorship)
                                            a Go to www.irs.gov/ScheduleC for instructions and the latest information.
Department of the Treasury                                                                                                                                                   Attachment
Internal Revenue Service (99) a Attach to Form 1040, 1040-SR, 1040-NR, or 1041; partnerships generally must file Form 1065.                                                  Sequence No. 09
Name of proprietor                                                                                                                                     Social security number (SSN)
Candy Williams                                                                                                                                                          -9938
A         Principal business or profession, including product or service (see instructions)                                                            B Enter code from instructions
          Consulting                                                                                                                                                a    5 4 1 6 0 0
C         Business name. If no separate business name, leave blank.                                                                                    D Employer ID number (EIN) (see instr.)
          Viking Investment
E         Business address (including suite or room no.) a        11423 Spotted Fawn Ln
          City, town or post office, state, and ZIP code        Bigfork, MT 59911-7335
F         Accounting method:       (1)      Cash      (2)     Accrual      (3)     Other (specify) a
G         Did you “materially participate” in the operation of this business during 2020? If “No,” see instructions for limit on losses                                      .     Yes         No
H         If you started or acquired this business during 2020, check here . . . . . . . . . . . . . . . . .                                                                 a

I         Did you make any payments in 2020 that would require you to file Form(s) 1099? See instructions .                                    .   .    .       .   .    .   .     Yes         No
J         If “Yes,” did you or will you file required Form(s) 1099? . . . . . . . . . . . . . .                                                .   .    .       .   .    .   .     Yes         No
    Part I    Income
     1    Gross receipts or sales. See instructions for line 1 and check the box if this income was reported to you on
          Form W-2 and the “Statutory employee” box on that form was checked . . . . . . . . . a                                                            1                             275.
     2    Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . .                                                                          2
     3    Subtract line 2 from line 1 . . . . . . . . . . . . . . . . . . . . . . . .                                                                       3                             275.
     4    Cost of goods sold (from line 42) . . . . . . . . . . . . . . . . . . . . . .                                                                     4
     5    Gross profit. Subtract line 4 from line 3 . . . . . . . . . . . . . . . . .                                                      .   . .          5                             275.
     6    Other income, including federal and state gasoline or fuel tax credit or refund (see instructions) .                             .   . .          6
     7    Gross income. Add lines 5 and 6 . . . . . . . . . . . . . . . . . . .                                                            .   . a          7                             275.
 Part II      Expenses. Enter expenses for business use of your home only on line 30.
     8    Advertising .     .   .   .   .       8                                     18       Office expense (see instructions)                            18                            282.
     9    Car and truck expenses (see                                                 19       Pension and profit-sharing plans .                           19
          instructions) . . . . .               9                      4,016.         20       Rent or lease (see instructions):
    10    Commissions and fees .                10                                         a   Vehicles, machinery, and equipment                        20a
    11    Contract labor (see instructions)     11                                         b   Other business property . . .                             20b
    12    Depletion . . . . .                   12                                    21       Repairs and maintenance . . .                                21                            836.
    13    Depreciation and section 179                                                22       Supplies (not included in Part III) .                        22                            327.
          expense      deduction   (not
          included in Part III) (see                                                  23       Taxes and licenses . . . . .                                 23
          instructions) . . . . .               13                                    24       Travel and meals:
    14    Employee benefit programs                                                        a   Travel . . . .                    .     .   .   .   .     24a                         14,760.
          (other than on line 19) . .           14                                         b   Deductible meals (see
    15    Insurance (other than health)         15                                             instructions) . . . . . . .                               24b                             761.
    16    Interest (see instructions):                                                25       Utilities . . . . . . . .                                  25                           3,771.
      a   Mortgage (paid to banks, etc.)       16a                                    26       Wages (less employment credits) .                          26
      b   Other . . . . . .           16b                                27a Other expenses (from line 48) . .                                           27a
    17    Legal and professional services
                                       17                                  b Reserved for future use . . .                                               27b
    28    Total expenses before expenses for business use of home. Add lines 8 through 27a . . . . . . a                                                  28                        24,753.
    29    Tentative profit or (loss). Subtract line 28 from line 7 .    .     .   .   .    .   .   .   .    .      .      .      .     .   .   .   .        29                     -24,478.
    30    Expenses for business use of your home. Do not report these expenses elsewhere. Attach Form 8829
          unless using the simplified method. See instructions.
          Simplified method filers only: Enter the total square footage of (a) your home:           3196
          and (b) the part of your home used for business:                                             280 . Use the Simplified
          Method Worksheet in the instructions to figure the amount to enter on line 30                .    .      .      .      .     .   .   .   .        30




                                                                                                                                               }
    31    Net profit or (loss). Subtract line 30 from line 29.
          • If a profit, enter on both Schedule 1 (Form 1040), line 3, and on Schedule SE, line 2. (If you
          checked the box on line 1, see instructions). Estates and trusts, enter on Form 1041, line 3.                                                     31                     -24,478.
          • If a loss, you must go to line 32.




                                                                                                                                               }
    32    If you have a loss, check the box that describes your investment in this activity. See instructions.
          • If you checked 32a, enter the loss on both Schedule 1 (Form 1040), line 3, and on Schedule
          SE, line 2. (If you checked the box on line 1, see the line 31 instructions). Estates and trusts, enter on                                     32a            All investment is at risk.
          Form 1041, line 3.                                                                                                                             32b            Some investment is not
                                                                                                                                                                        at risk.
          • If you checked 32b, you must attach Form 6198. Your loss may be limited.
For Paperwork Reduction Act Notice, see the separate instructions.                         BAA             REV 09/17/21 Intuit.cg.cfp.sp                            Schedule C (Form 1040) 2020
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Schedule C (Form 1040) 2020                                                                                                                                               Page 2
Part III      Cost of Goods Sold (see instructions)

 33     Method(s) used to
        value closing inventory:              a           Cost             b           Lower of cost or market             c           Other (attach explanation)
 34     Was there any change in determining quantities, costs, or valuations between opening and closing inventory?
        If “Yes,” attach explanation . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    .       Yes     No


 35     Inventory at beginning of year. If different from last year’s closing inventory, attach explanation .                            .   .       35


 36     Purchases less cost of items withdrawn for personal use                        .   .   .   .   .   .   .   .   .   .   .   .     .   .       36


 37     Cost of labor. Do not include any amounts paid to yourself .                       .   .   .   .   .   .   .   .   .   .   .     .   .       37

 38     Materials and supplies        .   .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       38


 39     Other costs .   .     .   .   .   .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       39


 40     Add lines 35 through 39 .         .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       40

 41     Inventory at end of year .        .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       41

 42     Cost of goods sold. Subtract line 41 from line 40. Enter the result here and on line 4 .                           .   .   .     .   .       42
Part IV       Information on Your Vehicle. Complete this part only if you are claiming car or truck expenses on line 9
              and are not required to file Form 4562 for this business. See the instructions for line 13 to find out if you must
              file Form 4562.

 43     When did you place your vehicle in service for business purposes? (month/day/year)                                 a   01/01/2016

 44     Of the total number of miles you drove your vehicle during 2020, enter the number of miles you used your vehicle for:


    a   Business                          6,985               b Commuting (see instructions)                                                 c Other                           0

 45     Was your vehicle available for personal use during off-duty hours?                         .   .   .   .   .   .   .   .   .     .   .   .   .    .   .   Yes     No


 46     Do you (or your spouse) have another vehicle available for personal use?.                          .   .   .   .   .   .   .     .   .   .   .    .   .     Yes   No


 47a    Do you have evidence to support your deduction?                        .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .    .   .     Yes   No


    b   If “Yes,” is the evidence written?            .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .    .   .     Yes   No
 Part V       Other Expenses. List below business expenses not included on lines 8–26 or line 30.




 48     Total other expenses. Enter here and on line 27a .                         .   .   .   .   .   .   .   .   .   .   .   .   .     .   .       48
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                                                 REV 09/17/21 Intuit.cg.cfp.sp                  Schedule C (Form 1040) 2020
Form   8880                    Credit for Qualified Retirement Savings Contributions                                                                     OMB No. 1545-0074

                                                                                                                                                          2020
                                                    a Attach to Form 1040, 1040-SR, or 1040-NR.
Department of the Treasury                                                                                                                    Attachment
Internal Revenue Service                     a Go to www.irs.gov/Form8880 for the latest information.                                         Sequence No. 54
Name(s) shown on return                                                                                                             Your social security number
Candy & Scott Williams                                                                                                                                   -9938
        You cannot take this credit if either of the following applies.

F
CAUTION
               • The amount on Form 1040, 1040-SR, or 1040-NR, line 11, is more than $32,500 ($48,750 if head of household; $65,000 if
               married filing jointly).
               • The person(s) who made the qualified contribution or elective deferral (a) was born after January 1, 2003; (b) is claimed as a
               dependent on someone else’s 2020 tax return; or (c) was a student (see instructions).
                                                                                                                              (a) You                     (b) Your spouse
  1      Traditional and Roth IRA contributions, and ABLE account contributions by the
         designated beneficiary for 2020. Do not include rollover contributions . . . . .                      1
  2      Elective deferrals to a 401(k) or other qualified employer plan, voluntary employee
         contributions, and 501(c)(18)(D) plan contributions for 2020 (see instructions) . .                   2                    1,167.
  3      Add lines 1 and 2 . . . . . . . . . . . . . . . . . . . . . .                                         3                    1,167.
  4      Certain distributions received after 2017 and before the due date (including
         extensions) of your 2020 tax return (see instructions). If married filing jointly, include
         both spouses’ amounts in both columns. See instructions for an exception . . .                      4
  5      Subtract line 4 from line 3. If zero or less, enter -0- . . . . .          .   .   .    .   .   .   5       1,167.
  6      In each column, enter the smaller of line 5 or $2,000 . . . .              .   .   .    .   .   .   6       1,167.
  7      Add the amounts on line 6. If zero, stop; you can’t take this credit       .   .   .    .   .   . . . . . . .   7                                        1,167.
  8      Enter the amount from Form 1040, 1040-SR, or 1040-NR, line 11*             .   .   .    .       8      53,301.
  9      Enter the applicable decimal amount from the table below.

                   If line 8 is—                                And your filing status is—
                                                  Married                Head of                Single, Married filing
                               But not
              Over—                            filing jointly           household                  separately, or
                               over—
                                                          Enter on line 9—                      Qualifying widow(er)
               ---          $19,500                0.5                    0.5                0.5
             $19,500        $21,250                0.5                    0.5                0.2
             $21,250        $29,250                0.5                    0.5                0.1                                                     9          x0    .1
             $29,250        $31,875                0.5                    0.2                0.1
             $31,875        $32,500                0.5                    0.1                0.1
             $32,500        $39,000                0.5                    0.1                0.0
             $39,000        $42,500                0.2                    0.1                0.0
             $42,500        $48,750                0.1                    0.1                0.0
             $48,750        $65,000                0.1                    0.0                0.0
             $65,000           ---                  0.0                   0.0                0.0
                                 Note: If line 9 is zero, stop; you can’t take this credit.
 10      Multiply line 7 by line 9 . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           10                 117.
 11      Limitation based on tax liability. Enter the amount from the Credit Limit Worksheet in the instructions                                 11               3,028.
 12      Credit for qualified retirement savings contributions. Enter the smaller of line 10 or line 11 here
         and on Schedule 3 (Form 1040), line 4 . . . . . . . . . . . . . . . . . . . . .                                                         12                  117.

         * See Pub. 590-A for the amount to enter if you claim any exclusion or deduction for foreign earned income, foreign housing, or income from
           Puerto Rico or for bona fide residents of American Samoa.
For Paperwork Reduction Act Notice, see your tax return instructions.                                                REV 09/17/21 Intu t.cg.cfp.sp          Form 8880 (2020)
                                                                                            BAA




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Form    8995                               Qualified Business Income Deduction
                                                   Simplified Computation
                                                                                                                                                OMB No. 1545-2294



                                                               a Attach to your tax return.
                                                                                                                                                 2020
Department of the Treasury                                                                                                                      Attachment
Internal Revenue Service            a Go to www.irs.gov/Form8995 for instructions and the latest information.                                   Sequence No. 55

Name(s) shown on return                                                                                                        Your taxpayer identification number
 Candy & Scott Williams                                                                                                                    -9938
Note. You can claim the qualified business income deduction only if you have qualified business income from a qualified trade or
business, real estate investment trust dividends, publicly traded partnership income, or a domestic production activities deduction
passed through from an agricultural or horticultural cooperative. See instructions.
Use this form if your taxable income, before your qualified business income deduction, is at or below $163,300 ($326,600 if married
filing jointly), and you aren’t a patron of an agricultural or horticultural cooperative.

  1                                 (a) Trade, business, or aggregation name                                           (b) Taxpayer          (c) Qualified business
                                                                                                                   identification number        income or (loss)



    i     Viking Investment                                                                                                   -9938               -24,478.

   ii

  iii

  iv

   v

  2     Total qualified business income or (loss). Combine lines 1i through 1v,
        column (c)     . . . . . . . . . . . . . . . . . . . . . .                            2       -24,478.
  3     Qualified business net (loss) carryforward from the prior year . . . . . . .          3 (      25,997. )
  4     Total qualified business income. Combine lines 2 and 3. If zero or less, enter -0-    4                0.
  5     Qualified business income component. Multiply line 4 by 20% (0.20) . . . . . . . . . . .                                            5                     0.
  6     Qualified REIT dividends and publicly traded partnership (PTP) income or (loss)
        (see instructions) . . . . . . . . . . . . . . . . . . . .                            6
  7     Qualified REIT dividends and qualified PTP (loss) carryforward from the prior
        year . . . . . . . . . . . . . . . . . . . . . . . . .                                7 (                 )
  8     Total qualified REIT dividends and PTP income. Combine lines 6 and 7. If zero
        or less, enter -0- . . . . . . . . . . . . . . . . . . . .                            8
  9     REIT and PTP component. Multiply line 8 by 20% (0.20) . . . . . . . . . . . . . . .                                                 9
 10     Qualified business income deduction before the income limitation. Add lines 5 and 9 . . . . . .                                    10                     0.
 11     Taxable income before qualified business income deduction . . . . . .                11         28,501.
 12     Net capital gain (see instructions) . . . . . . . . . . . . . . .                    12                0.
 13     Subtract line 12 from line 11. If zero or less, enter -0- . . . . . . . .            13         28,501.
 14     Income limitation. Multiply line 13 by 20% (0.20) . . . . . . . . . . . . . . . . . .                                              14             5,700.
 15     Qualified business income deduction. Enter the lesser of line 10 or line 14. Also enter this amount on
        the applicable line of your return . . . . . . . . . . . . . . . . . . . . . . a                                                   15                0.
 16     Total qualified business (loss) carryforward. Combine lines 2 and 3. If greater than zero, enter -0- . .                           16 (        50,475. )
 17     Total qualified REIT dividends and PTP (loss) carryforward. Combine lines 6 and 7. If greater than
        zero, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          17 (                  0. )
For Privacy Act and Paperwork Reduction Act Notice, see instructions.                         REV 09/17/21 Intuit.cg.cfp.sp                        Form 8995 (2020)




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                                      Tax History Report                                   2020
                                        G Keep for your records


Name(s) Shown on Return
Candy & Scott Williams

                                                   Five Year Tax History:

                           2016            2017             2018              2019              2020

Filing status                                                           MFS               MFJ

Total income                                                                35,103.          53,551.

Adjustments to income                                                                              250.

Adjusted gross income                                                       35,103.          53,301.

Tax expense                                                                   3,448.            4,013.

Interest expense                                                                 109.           7,258.

Contributions                                                                    480.              484.

Misc. deductions

Other itemized ded’ns

Total itemized/
standard deduction                                                          12,200.          24,800.

Exemption amount                                                                     0.                0.

QBI deduction                                                                        0.                0.

Taxable income                                                              22,903.          28,501.

Tax                                                                           2,557.            3,028.

Alternative min tax

Total credits                                                                                      117.

Other taxes

Payments                                                                      2,426.            3,743.

Form 2210 penalty

Amount owed                                                                      131.

Applied to next
year’s estimated tax

Refund                                                                                             832.

Effective tax rate %                                                             7.28              5.46

**Tax bracket %                                                                  12.0              12.0

                              **Tax bracket % is based on Taxable income.
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Candy & Scott Williams                                                                        -9938   1



Smart Worksheets From 2020 Montana Tax Return Attachment

SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                                     Business Address Information Smart Worksheet

             Business street address      11423 Spotted Fawn Ln
             City, State, and ZIP Code (do not enter State and ZIP Code if foreign address)
             Bigfork                                     MT    59911-7335
             Or, foreign country information:




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Candy & Scott Williams                                                                                     -9938           2


SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                                  Qualified Business Income Deduction Smart Worksheet
                   Completing this worksheet is generally only necessary if Form 8995A must be filed (i.e., taxable
                           income is above threshold amounts or qualified coop payments are present).

          A    QBI worksheet to report (double-click to link)                                     Viking Investment
          B    Trade or Business Name                                Viking Investment
          C    Trade or Business ID Number
          D 1 Is this a Specified Service Trade or Business (SSTB)?             Yes          No
             2 If No, is income attributable to a SSTB? (see Help)              Yes          No
             3 QBI worksheet for SSTB income (this will auto-populate if Yes)
             4 Percentage of qualified income attributable to SSTB                                             %
          E 1 Tentative Sch C profit (loss) from this business                                          -24,478.
             2 Adjustments to qualified business income                                                         0.
             3 Tentative Sch C profit (loss) from qualified business                                    -24,478.
             4 a Calculated QBI allowed after passive/at-risk limits                     -24,478.
               b Adjustments to allowed QBI
               c Allowable QBI after loss limits                                                        -24,478.
             5 Self employed deductions connected to this business
               a Self employed health insurance for this business                              0.
               b Total deduction for 1/2 self employment tax
               c Deduction for 1/2 S.E. tax connected to this business                         0.
               d Total deduction for S.E. retirement contributions
               e S.E. retirement deduction connected to this business                          0.
               Total self employed deductions connected to this business                                        0.
             6 Sch C profit (loss) after S.E. deductions                                                -24,478.
             7 Additional deductions related to this business reported on separate schedules
             8 Net profit (loss) after adjustments, limitations, and deductions                         -24,478.
             9 Allowable Sch C profit (loss) allocated to SSTB                                                  0.
            10 Allowable Sch C profit (loss) from this business                                         -24,478.

          F 1 Ordinary gain (loss) from business assets                                                               0.
            2 Ordinary gain (loss) adjustments
            3 Qualified ordinary gain (loss)                                                                          0.
            4 a Calculated QBI allowed after passive/at-risk limits                                0.
              b Adjustments to allowed QBI
              c Allowable short-term qualified gain (loss) after passive/at-risk limits                               0.
            5 Allowable ordinary gain (loss) allocated to SSTB                                                        0.
            6 Allowable ordinary gain (loss)/recapture from this business                                             0.

          G 1 Section 1231 gain (loss) from business assets                                                           0.
            2 Section 1231 gain (loss) adjustments
            3 Section 1231 gain (loss) from qualified business                                                        0.
            4 a Calculated QBI allowed after passive/at-risk limits                                0.
              b Adjustments to allowed QBI
              c Allowable ordinary 1231 qualified gain (loss)                                                         0.
            5 Allowable ordinary 1231 gain (loss) allocated to SSTB                                                   0.
            6 Allowable ordinary 1231 gain (loss) from this business                                                  0.




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SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                          Qualified Business Income Deduction Smart Worksheet, Continued

          H 1 Allowable QBI (E10 plus F6 plus G6)                                                    -24,478.
            2 Qualified business income allocated to SSTB                                                  0.
            3 a Previously disallowed losses freed up in current year
              b Adjustments to previously disallowed losses
              c Previously disallowed QBI losses to be reported as separate business                       0.
              d QBI wksht for previously disallowed losses, if present

           I 1 Tentative wages                                                                             0.
             2 Adjustments
             3 Qualified wages                                                                             0.
             4 Qualified wages allocated to SSTB                                                           0.

          J 1 Tentative Unadjusted Basis Immediately after Acquisition (UBIA)                              0.
            2 Adjustments
            3 Qualified UBIA                                                                               0.
            4 Qualified UBIA allocated to SSTB                                                             0.

          K 1 Net income allocable to qualified payments from agricultural or horticultural coop
            2 Wages allocable to qualified payments from coop
            3 Form 1099PATR line 6 (DPAD) from coop(s) w/ tax year starting before 1/1/2018
            4 Form 1099PATR line 6 (DPAD) from coop(s) w/ tax year starting after 12/31/17




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SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                                           Carryovers to 2020 Smart Worksheet
                                              Enter carryovers from prior year below.

                                                                      Regular Tax           QBI             Alternative
                                                                                                           Minimum Tax

          A Section 179 carryover (enter as positive amount)
             At-Risk Loss Carryovers (enter as negative amts)
          B Schedule C suspended loss
          C Schedule D short-term suspended loss
          D Schedule D long-term suspended loss
          E Form 4797 ordinary suspended loss
          F Form 4797 long-term suspended loss
             Passive Loss Carryovers (enter as negative amts)
          G Schedule C suspended loss
          H Schedule D short-term suspended loss
           I Schedule D long-term suspended loss
          J Form 4797 ordinary suspended loss
          K Form 4797 long-term suspended loss

                            Carryovers to 2020 Additional Info for Section 199A Deduction
              Section 199A (QBI deduction) requires first-in-first-out use of previously disallowed losses. Businesses
                  qualified under Section 199A must complete this section for any previously disallowed losses.

                                                        Percentage of SSTB income (by category)
                                                   Enter 100 for businesses that were SSTBs in the year
                                                    in question. If non-SSTB with income attributable to
                                                     SSTB, enter the % attributable to SSTB. Otherwise,
                                                       enter 0. (Not required if applicable % is 100%.)

                               Applicable %         Operating %       Form 4797 ord        Form 4797 l/t
         2018
         2019                          100.00                0.00                0.00                0.00




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SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                                 Carryovers to 2020 Smart Worksheet, Continued

                                                                     Regular Tax   QBI
         Disallowed Section 179 Deduction by Year
         Before 2018       A Section 179 carryover
         2018              B Section 179 carryover
         2019              C Section 179 carryover
         Disallowed At-Risk Losses by Year and Type
         Before 2018       A Operating loss                                                0.
                           B Form 4797 ordinary loss                                       0.
                           C Form 4797 long-term loss                                      0.
         2018              D Operating loss
                           E Form 4797 ordinary loss
                           F Form 4797 long-term loss
         2019              G Operating loss
                           H Form 4797 ordinary loss
                           I Form 4797 long-term loss
         Disallowed Passive Losses by Year and Type
         Before 2018       A Operating loss                                                0.
                           B Form 4797 ordinary loss                                       0.
                           C Form 4797 long-term loss                                      0.
         2018              D Operating loss
                           E Form 4797 ordinary loss
                           F Form 4797 long-term loss
         2019              G Operating loss
                           H Form 4797 ordinary loss
                           I Form 4797 long-term loss




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SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business


                                           Activity Summary Smart Worksheet
                         Supporting information provided by program. NO ENTRIES ARE NEEDED.




                                                           Regular Tax        QBI          Alternative
                                                                                          Minimum Tax

          A    Ownership                                 Taxpayer
          B    At risk status                            All
          C    Passive status                            Nonpassive
               Schedule C
          D    Tentative profit (loss)                        -24,478.        -24,478.        -24,478.
          E    Other adjustments
          F    At risk disallowed loss
          G    Passive carryover loss
          H    Passive disallowed loss
           I   Net profit (loss) allowed                      -24,478.        -24,478.        -24,478.
               Related Dispositions
          J    Tentative profit (loss)                                               0.
          K    At risk disallowed loss
          L    Passive carryover loss
          M    Passive disallowed loss
          N    Net profit (loss) allowed                                             0.




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SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                         QBI (Section 199A) Losses by Year Smart Worksheet, Continued

         At-risk losses                                                   Regular Tax   QBI
         Previously disallowed at-risk losses by year
         Operating Loss               A Total loss in 2020
                                      B Total allowed loss (all years)
                                      C Allowed loss in 2020
                                      D Freed up loss from before 2018
                                      E Freed up loss from 2018
                                      F If SSTB, reduced loss from 2018
                                      G Freed up loss from 2019
                                      H If SSTB, reduced loss from 2019
         Form 4797 ordinary loss      I Total loss in 2020
                                      J Total allowed loss (all years)
                                      K Allowed loss in 2020
                                      L Freed up loss from before 2018
                                      M Freed up loss from 2018
                                      N If SSTB, reduced loss from 2018
                                      O Freed up loss from 2019
                                      P If SSTB, reduced loss from 2019
         Form 4797 long term loss Q Total loss in 2020
                                      R Total allowed loss (all years)
                                      S Allowed loss in 2020
                                      T Freed up loss from before 2018
                                      U Freed up loss from 2018
                                      V If SSTB, reduced loss from 2018
                                      W Freed up loss from 2019
                                      X If SSTB, reduced loss from 2019
         At-risk loss carryforwards to 2021
         Before 2018                  A Operating loss                                          0.
                                      B Form 4797 ordinary loss                                 0.
                                      C Form 4797 long-term loss                                0.
         2018                         D Operating loss
                                      E Form 4797 ordinary loss
                                      F Form 4797 long-term loss
         2019                         G Operating loss
                                      H Form 4797 ordinary loss
                                      I Form 4797 long-term loss
         2020                         J Operating loss
                                      K Form 4797 ordinary loss
                                      L Form 4797 long-term loss




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SMART WORKSHEET FOR: Schedule C (Consulting): Profit or Loss from Business

                         QBI (Section 199A) Losses by Year Smart Worksheet, Continued

         Passive losses                                                 Regular Tax     QBI
         Previously disallowed passive losses by year
         Operating Loss             A Total loss in 2020
                                    B Total allowed loss (all years)
                                    C Allowed loss in 2020
                                    D Freed up loss from before 2018
                                    E Freed up loss from 2018
                                    F If SSTB, reduced loss from 2018
                                    G Freed up loss from 2019
                                    H If SSTB, reduced loss from 2019
         Form 4797 ordinary loss    I Total loss in 2020
                                    J Total allowed loss (all years)
                                    K Allowed loss in 2020
                                    L Freed up loss from before 2018
                                    M Freed up loss from 2018
                                    N If SSTB, reduced loss from 2018
                                    O Freed up loss from 2019
                                    P If SSTB, reduced loss from 2019
         Form 4797 long term loss Q Total loss in 2020
                                    R Total allowed loss (all years)
                                    S Allowed loss in 2020
                                    T Freed up loss from before 2018
                                    U Freed up loss from 2018
                                    V If SSTB, reduced loss from 2018
                                    W Freed up loss from 2019
                                    X If SSTB, reduced loss from 2019
         Passive loss carryforwards to 2021
         Before 2018                A Operating Loss                                            0.
                                    B Form 4797 ordinary loss                                   0.
                                    C Form 4797 long-term loss                                  0.
         2018                       D Operating Loss
                                    E Form 4797 ordinary loss
                                    F Form 4797 long-term loss
         2019                       G Operating loss
                                    H Form 4797 ordinary loss
                                    I Form 4797 long-term loss
         2020                       J Operating loss
                                    K Form 4797 ordinary loss
                                    L Form 4797 long-term loss




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SMART WORKSHEET FOR: Form 8880: Credit for Retirement Contributions

                                                  Eligibility Smart Worksheet

              A The amount on Form 1040, 1040-SR, or Form 1040-NR, line 11, is more than $32,500
                ($48,750 if head of household; $65,000 if married filing jointly).       Yes                   No      X

              B Born after January 1, 2003.                                        Taxpayer         Yes        No      X
                                                                                   Spouse           Yes        No
              C Claimed as a dependent on someone else’s
                2020 tax return.                                                   Taxpayer         Yes        No      X
                                                                                   Spouse           Yes        No

              D A student in 2020 (see instructions)                               Taxpayer         Yes        No      X
                                                                                   Spouse           Yes        No

           Note:     If the ’Yes’ box on line A is checked, you are not eligible for the credit
                     and this form will not be completed.

                     Even if the ’No’ box on line A is checked, any retirement savings contribution the taxpayer
                     may have will not qualify for the credit if any ’Yes’ box is checked on line B, C, or D for the
                     taxpayer. If this is the case, lines 1 through 6 will not be completed for the taxpayer.

                     Similarly, any retirement savings contribution the spouse may have will not qualify for the
                     credit if any ’Yes’ box is checked on line B, C, or D for the spouse; in this case, lines 1
                     through 6 will not be completed for the spouse, even if the ’No’ box is checked on line A.




SMART WORKSHEET FOR: Form 8880: Credit for Retirement Contributions

                                                   Line 2 Smart Worksheet

         Elective deferrals                            Taxpayer                 1,167. Spouse
         After-tax voluntary employee
         contributions (See help)                      Taxpayer                             Spouse




SMART WORKSHEET FOR: Form 8880: Credit for Retirement Contributions

                                          Line 11 Credit Limit Smart Worksheet

          1    Enter the amount from Form 1040, 1040-SR, or Form 1040-NR, line 17                                 3,028.
          2    Form 1040 or
               1040-SR filers:           Enter the total of your credits from Schedule 3, lines 1
                                         through 3, and Schedule R, line 22.
               Form 1040-NR filers: Enter the total of your credits from Sch 3, lines 1 - 3.
          3    Subtract line 2 from line 1. Also enter this amount on Form 8880, line 11.
               But if zero or less, stop; you can’t take this credit--don’t file this form                        3,028.




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